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                                                             IN THE CIRCUIT COURT OF THE
                                                             ELEVENTH JUDICIAL CIRCUIT IN AND
                                                             FOR MIAMI-DADE COUNTY, FLORIDA
        FRABIAN ELI CARRION,
        an individual
                                                             Case No: 22-016738-CA-01 (CA06)
               Plaintiff,

        v.

        EMMANUEL GAZMEY SANTIAGO,
        an individual and REAL HASTA LA
        MUERTE, LLC., a Florida limited
        liability company,

              Defendants.
        ___________________________________/

        EMMANUEL GAZMEY SANTIAGO,
        an individual and REAL HASTA LA
        MUERTE, LLC., a Florida limited
        liability company,

               Counter-Plaintiffs,

        v.

        FRABIAN ELI CARRION,
        an individual

              Counter-Defendant.
        ___________________________________/

                DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                      COMPLAINT AND DEFENDANTS’ COUNTERCLAIM

               Defendants EMMANUEL GAZMEY SANTIAGO (“Artist”) and REAL HASTA LA

        MUERTE, LLC (“Company”) (collectively, “Defendants”), by and through undersigned counsel,

        hereby files their Answer and Affirmative Defenses to Plaintiff FRABIAN ELI CARRION’s

        (“Carrion” or “Plaintiff”) Complaint, and hereby files their Counterclaim, alleging as follows:
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                                          JURISDICTION 1

    1.    Admitted for jurisdictional purposes only, and denied as to liability.

                                              PARTIES

    2.    Defendants are without knowledge and therefore denied.

    3.    Admitted.

    4.    Admitted.

                                                 VENUE

    5.    This paragraph contains a legal conclusion and therefore no response is required.

                      CONDITIONS PRECEDENT & ATTORNEY’S FEES

    6.    Denied.

    7.    Denied.

                                    GENERAL ALLEGATIONS

    8.    Denied.

    9.    Admitted.

    10.   Denied as stated.

    11.   Denied.

    12.   Admitted in that Artist recorded and released music while incarcerated, and otherwise

    denied.

    13.   Admitted in that Artist released his debut album on or about July 17, 2018 following his

    release from prison, and otherwise denied.

    14.   Admitted.

    15.   Denied as stated.


1
  Defendants adopt the headings provided by Plaintiff in his Complaint for convenience and
reference purposes only.



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16.   Admitted.

17.   Admitted that Plaintiff was a member of Company and its Chief Executive Officer, and

otherwise denied.

18.   Admitted that Artist has had success in the music industry, engaged in strategic business

partnerships and purchased a professional basketball team in Puerto Rico, and otherwise denied.

19.   Admitted that Artist terminated the Management Agreement (attached as Exhibit A to

Plaintiff’s Complaint), and otherwise denied.

20.   Admitted that Plaintiff was removed as member of Company on or about August 22, 2022,

and otherwise denied.

21.   Admitted that Plaintiff was also removed from Company’s bank account, and otherwise

denied.

22.   Denied.

                COUNT I – BREACH OF MANAGEMENT AGREEMENT
                               (Against the Artist)

23.   Defendants reaffirm their responses to paragraph 1-22 above and further responds:

24.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

25.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

26.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

27.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.




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                             COUNT II – UNJUST ENRICHMENT
                    (Against the Artist and the Company- In the Alternative)

28.   Defendants reaffirm their responses to paragraph 1-22 above and further responds:

29.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

30.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

31.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

                             COUNT III – CONSTRUCTIVE TRUST
                                     (Against the Artist)

32.   Defendants reaffirm their responses to paragraph 1-22 above and further responds:

33.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

34.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

35.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

36.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.

37.   This paragraph contains a legal conclusion and therefore no response is required. To the

extent a response is required, such allegations are denied.




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                                    COUNT IV – ACCOUNTING
                                 (Against the Artist and the Company)

 38.   Defendants reaffirm their responses to paragraph 1-22 above and further responds:

 39.   This paragraph contains a legal conclusion and therefore no response is required. To the

 extent a response is required, such allegations are denied.

 40.   This paragraph contains a legal conclusion and therefore no response is required. To the

 extent a response is required, such allegations are denied.

 41.   This paragraph contains a legal conclusion and therefore no response is required. To the

 extent a response is required, such allegations are denied.

                                 AFFIRMATIVE DEFENSES

                                    First Affirmative Defense

       Plaintiff’s claims are barred, in whole or in part, by estoppel and/or waiver to the extent

Plaintiff failed to comply with its contractual and/or professional obligations to Defendants.

Specifically, Plaintiff breached the Management Agreement at issue by, among other things,

executing documents in Defendants’ name without Artist’s knowledge, written consent or

ratification, as required by the Management Agreement, as well as transferring and converting

significant funds from the Company’s accounts without authorization, which Plaintiff used to fund

his own extravagant lifestyle; to satisfy his and his family’s personal and professional obligations

unrelated to the Defendants; and otherwise to benefit himself to the detriment of the Defendants.

                                  Second Affirmative Defense

       The injuries and damages sustained by Plaintiff, if any, as a result of the purported

occurrences set forth in Plaintiff’s Complaint were caused, in whole or in part, by Plaintiff’s own

fraudulent acts and omissions, and/or other illegal acts and omissions of Plaintiff, including but

not limited to, Plaintiff breaching the Management Agreement at issue by, among other things,




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executing documents in Defendants’ name without Artist’s knowledge, written consent or

ratification, as required by the Management Agreement, as well as transferring and conversion

significant funds from the Company’s accounts without authorization, which Plaintiff used to fund

his own extravagant lifestyle; to satisfy his and his family’s personal and professional obligations

unrelated to the Defendants; and otherwise to benefit himself to the detriment of the Defendants.

                                    Third Affirmative Defense

       The injuries and damages sustained by Plaintiff, if any, as a result of the purported

occurrences set forth in Plaintiff’s Complaint were caused, in whole or in part, by Plaintiff’s breach

of contract, fault, and failure to act. Examples of such include but are not limited to, Plaintiff

breaching the Management Agreement at issue by, among other things, executing documents in

Defendants’ name without Artist’s knowledge, written consent or ratification, as required by the

Management Agreement, as well as transferring and converting significant funds from the

Company’s accounts without authorization, which Plaintiff used to fund his own extravagant

lifestyle; to satisfy his and his family’s personal and professional obligations unrelated to the

Defendants; and otherwise to benefit himself to the detriment of the Defendants.

                                   Fourth Affirmative Defense

       Depending on Plaintiff’s claims at trial, and to the extent Plaintiff alleges oral discussions

and/or modifications, Plaintiff’s claims are barred, in whole or in part, by the parol evidence rule

and/or the statute of frauds to the extent the alleged oral discussions and/or modifications were not

reduced to writing. In fact, the Management Agreement explicitly states that “no modification,

amendment, waiver, or change shall be valid except in a writing signed by both parties hereto.”

See Exhibit A to Plaintiff’s Complaint.




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                                   Fifth Affirmative Defense

       Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

Examples of such include but are not limited to, Plaintiff breaching the Management Agreement

at issue by, among other things, executing documents in Defendants’ name without Artist’s

knowledge, written consent or ratification, as required by the Management Agreement, as well as

transferring and converting significant funds from the Company’s accounts without authorization,

which Plaintiff used to fund his own extravagant lifestyle; to satisfy his and his family’s personal

and professional obligations unrelated to the Defendants; and otherwise to benefit himself to the

detriment of the Defendants.

                                   Sixth Affirmative Defense

       Plaintiff has failed to state a cause of action upon which relief can be granted. Plaintiff’s

claim for breach of contract against Defendants fails to state a cause of action against Defendants

as Plaintiff committed blatant fraud and unequivocally materially breached the Management

Agreement, prior to Artist’s termination thereof, such that immediate termination, notwithstanding

the notice provision of the Management Agreement was sufficient and equitable. Notwithstanding,

there is no provision in the Management Agreement regarding Defendants being obligated not to

remove Plaintiff as a manager of the Company or not to remove Plaintiff from the Company bank

account. As it relates to Plaintiff’s claim for damages from Artist’s alleged breach of the

Management Agreement and from unjust enrichment, it is axiomatic that Plaintiff cannot, either

legally or equitably, be permitted to make such assertions considering Plaintiff is currently in

possession of, and has already used and converted, millions of dollars belonging to the Defendants

for his own personal and professional benefit to Defendants’ detriment. As a result of Plaintiff’s




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acts, as outlined above, Plaintiff cannot be entitled to a constructive trust and/or an accounting

from Defendants.

                                   Seventh Affirmative Defense

       Plaintiff’s claims are barred, in whole or in part, because of lack of consideration. Plaintiff

conveyed no consideration, or insufficient consideration, to Defendants to support its present

contract-based claims or equitable claims. Plaintiff so blatantly failed to perform his contractual

obligations to Artist under the Management Agreement, and his fiduciary duties to Defendants as

Artist’s manager and the CEO of the Company, that Defendants have lost millions of dollars

already, and may be required to spend significant sums of money to rectify issues created by

Plaintiff. Considering the Management Agreement, obligated Plaintiff “to do all things necessary

and desirable to promote Artist’s career and maximize earnings therefrom,” Plaintiff provided no

consideration, or at minimum insufficient consideration, to supports his current claims.

                                   Eighth Affirmative Defense

       To the extent that Plaintiff alleges any recoverable damages in this action, such damages

are subject to set-off. Plaintiff breached the Management Agreement at issue by, among other

things, executing documents in Defendants’ name without Artist’s knowledge, written consent or

ratification, as required by the Management Agreement, as well as transferring and converting

significant funds from the Company’s accounts without authorization, which Plaintiff used to fund

his own extravagant lifestyle; to satisfy his and his family’s personal and professional obligations

unrelated to the Defendants; and otherwise to benefit himself to the detriment of the Defendants.

In doing so, Plaintiff has caused Defendants to lose millions of dollars for which Defendants are

rightfully entitled, and thus, even if Plaintiff is entitled to damages in connection with his claims,

such damages will be far less than the damage Plaintiff’s acts have caused to Defendants.




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       RESERVATION OF RIGHTS TO AMEND AFFIRMATIVE DEFENSES

       Defendants reserve the right to allege additional affirmative defenses as they may present

themselves in the future or otherwise may be learned through discovery.

                                       JURY DEMAND

       Defendants demand a jury trial on all issues so triable.

 DEFENDANTS’/COUNTER-PLAINTIFFS’ COUNTERCLAIM AGAINST CARRION

       Defendants/Counter-Plaintiffs’ EMMANUEL GAZMEY SANTIAGO (“Artist”) and

REAL HASTA LA MUERTE, LLC (“Company”) (collectively, “Counter-Plaintiffs”), by and

through undersigned counsel, and pursuant to Rule 1.170 of the Florida Rules of Civil Procedure,

hereby file their Counterclaim against Plaintiff/Counter-Defendant FRABIAN ELI CARRION

(“Carrion”), alleging as follows:

                                    NATURE OF THE CASE

1.     This is an action for, among other things, fraud, breach of contract, breach of fiduciary

duty, and conversion stemming from the unequivocal failures of Carrion to perform his

contractual obligations to, and act in the best interest of, the Counter-Plaintiffs. The contract at

the forefront of this action––i.e., the contract which expressly set forth Carrion’s obligations to,

and authority to act on behalf of, the Counter-Plaintiffs, and through which Carrion carried out

his fraudulent scheme to exploit the Counter-Plaintiffs by, among numerous other acts and

omissions, grossly exceeding his authority––is the Management Agreement between Artist and

Carrion dated March 8, 2019 (the “Management Agreement”). See Plaintiff’s Complaint, at

Exhibit A.

2.     In fact, in complete and utter contravention of his contractual and fiduciary duties; all

reasonable sense of morality; and his years long friendship with Artist, which led Artist to place




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his full trust in Carrion, Carrion (i) entered into contracts, and executed binding documents in

connection therewith, on behalf of the Counter-Plaintiffs without Artist’s knowledge, and Artist’s

written consent or ratification, as required by the Management Agreement and otherwise; (ii)

conspired with third parties to hike prices on, among other things, real estate, private jets and

automobiles in return for “kickbacks”; and (iii) ultimately, bilked Counter-Plaintiffs out of

millions of dollars for which they are rightfully entitled.

3.    Carrion thereafter used the stolen monies to fund his own extravagant lifestyle; to satisfy

his and his family’s personal and professional obligations unrelated to the Counter-Plaintiffs; and

otherwise to benefit himself to the detriment of the Counter-Plaintiffs.

                          PARTIES, JURISDICTION, and VENUE

4.    Artist, known professionally as Anuel AA, is an individual resident of the State of Florida,

and a widely acclaimed recording artist in the Latin trap music genre. Artist is otherwise sui juris.

5.    Company is a Florida limited liability company organized pursuant to the laws of the State

of Florida, with its principal place of business located in Miami, Florida.

6.    Carrion is an individual resident of the State of Florida, and is otherwise sui juris.

7.    This Court has jurisdiction over this Counterclaim because it arises out of the same

transaction or occurrence that is the subject matter of the Plaintiff’s Complaint, and because the

Counter-Plaintiffs seek recovery in excess of the jurisdictional threshold, exclusive of attorneys’

fees and costs.

8.    Venue is appropriate in Miami-Dade County, Florida pursuant to the express terms of the

Management Agreement, and because a significant amount of the events and transactions

underling this Counterclaim, as well as the damages suffered as a result of Carrion’s acts and

omissions, as outlined herein, occurred in this judicial district.




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    9.    All conditions precedent to maintaining this action have occurred, been performed or

    waived, or are otherwise futile.

                                       GENERAL ALLEGATIONS

    10.   Artist began his rise to superstardom in approximately 2010. He released his first album,

    entitled “Real Hasta la Muerte,” in July of 2017. 2 In fact, Artist was “one of the Boricua,” i.e.,

    native Puerto Rican, rappers, “who spearheaded the Latin trap movement.” Id,

    11.   The album was wildly successful, leading to Artist being named the Artist of the Year,

    Favorite Male Artist and Favorite Urban Artist, and the album being named the Album of the

    Year and Favorite Urban Album, at the 2019 Latin American Music Awards. 3

    12.   Artist was also named the New Artist of the Year at the 2019 Billboard Latin Music

    Awards, as well as being nominated as the Top Latin Artist at the 2019 Billboard Music Awards,

    with the album also being nominated for Top Latin Album of the Year by both publications. 4

    13.   Artist has continued to have significant financial success, both in the music industry, and

    through alternative business endeavors, and has been nominated for a number of other awards

    over the last few years.

    14.   Artist and Carrion had been friends for some time, yet despite their friendship, and despite

    Carrion having earned significant sums of money over the years acting as Artist’s representative


2
 See Paul Simpson, Anuel AA – Artist Biography, https://www.allmusic.com/artist/anuel-aa-
mn0003551236/biography (last visited November 10, 2022).
3
 See Jessica Rolz, Latin American Music Awards 2019: See the Complete List of Nominees,
Billboard (September 4, 2019), https://www.billboard.com/music/latin/latin-amas-2019-
nominations-list-8528783/.
4
 See Jennifer Drysdale, Billboard Latin Music Awsrds 2019: All of the Best Performances,
Biggest Winners and Most Memorable Moments, ET Online (April 7, 2019),
https://www.etonline.com/billboard-latin-music-awards-live-updates-today-2019-04-25; see also
Joe Lynch, 2019 Billboard Music Award Winners: The Complete List, Billboard (May 1, 2019),
https://www.billboard.com/music/awards/billboard-music-awards-2019-winners-list-8509655/.



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      in the entertainment industry, and as a direct result of Artist’s personal successes, Carrion

      maliciously exploited that friendship, breached his obligations and fiduciary duties to the

      Counter-Plaintiffs, and conspired with third parties to defraud the Counter-Plaintiffs out of

      millions of dollars between 2018 and 2022, as further outlined herein.

 I.     The 2018 Letter of Intent

      15.   On or about June 20, 2018, Artist and Carrion first entered into a contractual agreement in

      connection with Carrion’s representation of Artist. The letter of intent, attached as Exhibit A

      hereto, entitled Carrion to act as Artist’s exclusive manager in the entertainment industry–defined

      as “all recording business, publishing, artistic presentations, tours, sponsorships, merchandise,

      and acting.” See Exhibit A.

      16.   In consideration for Carrion’s services thereunder, Artist agreed to pay Carrion ten percent

      (10%) of gross income earned from Artist’s endeavors in the entertainment industry. Notably,

      from the outset of the relationship, it was understood and agreed that Carrion was to “seek the

      consent or ratification of [Artist] for each business before approving it.” Id.

II.     The Creation of the Company and the SST Agreement

      17.   The Company, named after Artist’s first album, was created on or about July 30, 2018 for

      the purposes of performing certain functions, including acting as a loan-out entity, in connection

      with Artist’s music and business endeavors. As indicated by the Company’s Articles of

      Organization, Artist was the Company’s initial registered agent, sole authorized representative,

      and sole member/manager. See Exhibit B, Initial Articles of Organization for the Company.

      18.   On or about August 30, 2018, and based upon the advice of, and representations made by,

      Carrion, Counter-Plaintiffs entered into an Attorney-Client Contingency Agreement with the law

      firm Singh, Singh & Trauben (“SST”), and firm partner, Simran Singh (“Singh”), pursuant to




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       which Artist and Company agreed to pay SST seven percent (7%) of all Compensation (as defined

       therein) “earned or accrued by Client or Client’s affiliated companies, arising out of or in

       connection with any agreement for which Attorney [SST] has rendered any services” during the

       term of the agreement. See Exhibit C, SST Agreement.

       19.   At Carrion’s urging, and based on Simran’s representations, Artist eventually acquiesced

       in entering into the SST Agreement, which was drafted by Singh and/or one of Singh’s associates

       at SST. See Id.

III.     Counter-Plaintiffs Enter Into The Kobalt Agreement

       20.   On or about October 25, 2018, the Counter-Plaintiffs entered into an Administration

       Agreement with Kobalt Music Services America, Inc. (“Kobalt”), through which Kobalt was

       granted specified rights, including the right to administer and exploit certain musical

       compositions written and/or produced by Artist. See Exhibit D, Kobalt Agreement.

       21.   The Kobalt Agreement required all payments made to Kobalt, and/or otherwise owed to

       Artist thereunder, to be made directly to the Company, with Carrion being named an authorized

       representative of the Company solely as it related to granting or withholding approval for

       Kobalt’s uses of Artist’s musical compositions contemplated therein. Id. (emphasis added).

       22.   Counter-Plaintiffs received an advance deposit from Kobalt in connection with the Kobalt

       Agreement on or about November 14, 2018, and approximately one-week later, ten percent (10%)

       of the advance deposit was paid by the Company to Carrion, as agreed pursuant to the Letter of

       Intent, see Exhibit A. In actuality, Carrion was overpaid in that he received ten percent (10%) of

       Artist’s earnings prior to deductions for production costs, and other necessary expenses.




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IV.         Artist and Carrion Expand Their Professional Relationship

          23.   On or about March 8, 2019, Artist and Carrion entered into a long form Management

          Agreement to govern the parties’ relationship. See Plaintiff’s Complaint, at Exhibit A.

          24.   Significantly, the impetus to approach Artist regarding entering into the long form

          Management Agreement came from Singh, who subsequently induced Artist into entering into

          the agreement by representing to Artist that he would personally review, and advise and act as

          Artist’s fiduciary with regard to, the Management Agreement,

          25.   The Management Agreement provided, in pertinent part, as follows:

                               (a) Artist hereby engages Manager [Carrion] to serve as Artists’ exclusive
                                   manager in the Entertainment Business 5 … commencing on the
                                   Effective Date hereof and continuing for a period of seven (7) years (the
                                   “Term”); 6

                               (b) Manager agrees to use best efforts to devote himself to Artist’s career
                                   in the entertainment business and to do all things necessary and
                                   desirable to promote Artist’s career and maximize earnings therefrom;
                                   and

                               (c) Artist hereby authorizes and empowers Manager, and Manager agrees
                                   subject to the limitations set forth herein this Agreement: to [among
                                   other things] (a) to represent, advise and assist Artist in fixing the terms
                                   governing all manner of disposition, use, employment or exploitation of
                                   Artist’s talent and the products thereof … (c) to supervise Artist’s
                                   professional employment in the Entertainment Business on Artist’s
                                   behalf and consult with employers and prospective employers so as to
                                   assure the proper use and continued demand for Artist’s services … (i)
                                   to generally promote the best interest, professional and artistic value,
      5
        The “Entertainment Business” is defined in the Management Agreement as “music, live
      performance, personal engagements, amusement, motion picture, television, endorsements and
      branding, theatrical and advertising fields and all similar areas throughout the music industry in
      which Artist’s artistic talents are developed and exploited. Id.
      6
        Crucially, as it relates to this action, Carrion’s services under the Management Agreement were
      not exclusive to Artist, however, the Management Agreed specifically stated that Carrion’s
      representation of other artists and performers could “not adversely affect ... Artist’s career and/or
      earnings,” or otherwise create a “conflict of interest.” Id. The Management Agreement further
      specified that in the event of such Artist had the “right and power to terminate th[e] Agreement
      effective immediately.” Id.



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                        profit, benefit and advantage of Artist, and to advise and consult with
                        regards to general practices in the Entertainment Business and with
                        respect to such matters of which Manager may have knowledge
                        concerning compensation and privileges for similar artistic value

Id. (emphasis added).

26.   While Artist permitted Manager to publicly hold himself out to be Artist’s exclusive

manager in the Entertainment Business, the only express agency powers granted to Manager by

way of the Management Agreement were as follows:

                            (a) sign agreements on Artist’s … behalf provided that Artist has
                                approved the terms of such agreements in writing;

                            (b) approve and permit the use of Artist’s name (actual and
                                professional), approved likeness, approved photographs and
                                approved biographical material in marketing and promotion of
                                Artist’s career (subject to prior approval of Artist);

                            (c) collect and receive all Gross Earnings payable to Artist; deposit
                                or cash any and all checks or other instruments payable to Artist;
                                and retain all sums owing to Manager; it being understood and
                                agreed however that such rights and power shall not be
                                extended beyond Gross Earnings earned by Artist as a result
                                of Artist’s activities in and throughout the Entertainment
                                Business and shall not relate to any personal property owned
                                by Artist; and

                            (d) audit and examine and records of parties with whom Artist has
                                contractual or other rights to audit and examine books and
                                records

Id. (emphasis added).

27.   As it related to Carrion’s compensation in consideration for sufficient performance of his

contractual obligations, the Management Agreement stated:

                            (a) As compensation for Manager’s services rendered hereunder,
                                and except as otherwise provided expressed herein, Artist
                                hereby agrees to pay Manager a sum equal to ten percent (10%)
                                of Artist’s “Gross Earnings” … that are earned and received
                                during the Term (the “Commission”);




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                          (b) The term “Gross Earnings,” as used herein refers to the total of
                              all monetary earnings, whether in the form of salaries, earnings,
                              fees, bonuses, royalties, advances against royalties, sponsorship
                              fees, endorsement fees, residuals, deferred compensation, shares
                              of profits, or any other kind or type of income which is directly
                              related to Artist’s career in the Entertainment Business.

                          (c) Notwithstanding anything to the contrary herein, Gross Earnings
                              shall specifically exclude: (i) bona fide recording costs paid by
                              Artist, including any monies paid from part of an “advance” or
                              recording fund received by Artist, or paid to third parties on
                              behalf of Artist … (iii) any income derived from any business
                              investments and entrepreneurial activities unrelated to Artist’s
                              career in the Entertainment Business … (x) any monies or other
                              consideration paid or credited to Artist (or on Artist’s behalf)
                              and required to be paid and actually used by Artist to pay
                              unaffiliated third-party co-publishers, co-writers, and
                              songwriters or their designees … and (xvii) any sums paid to
                              Artist’s so-called “loan-out” companies as specific
                              reimbursement for payroll taxes, guild or union pension and
                              welfare payments;

                          (d) Artist shall reimburse Manager for reasonable, out-of-pocket,
                              verifiable expenses incurred by Manager during the Term that
                              are necessary for the performance of Manager’s duties
                              hereunder, but in no event shall Artist be responsible for any
                              expenses related directly to Manager’s general overhead
                              expenses, operating expenses or any other costs or expenses
                              incurred by Manager except as expressly provided for herein;
                              and

                          (e) Notwithstanding the foregoing, Artist shall not be responsible
                              for paying or reimbursing Manager for any expenses, cost or
                              charge incurred by Manager whatsoever in excess of five
                              hundred dollars ($500) (either single or expense or in the
                              aggregate during any calendar month)(“Manager Expense(s)”),
                              unless such Manager Expense(s) are approved in writing by
                              Artist prior to such Manager Expense(s) being incurred and
                              unless Manager provides all receipts, vouchers, and/or other
                              documentation as may be requested [by] Artist in its sole
                              discretion, evidencing the expense, cost or charge

Id. (emphasis added).

28.   The Management Agreement further explained:




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                                    In the event that any party actually pays any Gross Earnings to
                                   Manager instead of Artist, Manager agrees to immediately pay
                                   Artist (or Artist’s designee [e.g., Artist’s legal counsel]) the entire
                                   amount of those Gross Earnings so that Artist’s designee can carry
                                   out the terms of this Agreement with respect to the Commission,
                                   unless Artist gives written approval for Manager to retain his
                                   Commission … and pay the balance to Artist accompanied with a
                                   copy of any statements received by Manager in connection
                                   therewith

     Id. (emphasis added).

     29.   Shortly after entering into the Management Agreement, and based on the express and

     implied representations made by Carrion therein, as well as in reliance on their years long

     friendship, Artist showed his trust in Carrion by adding him as a manager of the Company (see

     Exhibit E, Company’s 2019 Annual Report); naming him the Chief Executive Officer of the

     Company; and making him an authorized individual with respect to the Company’s bank account

     at Chase Bank (the “Company Account”).

     30.   Carrion was never an equity owner in the Company, despite being added as a manager, and

     significantly, never contributed any financial capital whatsoever toward the Company.

V.     Carrion Uses Stolen Company Funds and Receives Kickbacks In Furtherance of His
       Fraudulent Scheme

       (a) Real Estate Purchases

     31.   In April of 2019, Artist purchased a condo in Sunny Isles, Florida, and in September of

     2019, Artist purchased a home for his parents in Miami, Florida.

     32.   Upon information and belief, Carrion agreed, and conspired, with real estate agent, Rafael

     Zuzolo (“Zuzolo”) of Realty ONE Group Evolution, such that Carrion would assist Zuzolo in




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    getting Counter-Plaintiffs to pay a higher than necessary price for the real estate, and in return,

    Zuzolo would pay Carrion a percentage of the purchase price, or a flat fee, as a “kickback.” 7

    33.   In November of 2020, Carrion purchased a home in Doral, Florida for a purchase price of

    approximately $3.17 million. Upon information and belief, between November of 2020 and

    present day no less than $1 million from the Company Account was used by Carrion, or at

    Carrion’s direction, in connection with the purchase and remodeling of his home. See Exhibit F,

    Warranty Deed for Carrion’s Home; see also Exhibit G, Company Account Statement for October

    31, 2020 to November 30, 2020 (showing payment of $613,528.51 from the Company Account

    to the law firm Weisburg, Eisen & Possenti, P.A; the firm that prepared the warranty deed); see

    also Exhibit H, Checks from the Company to the Grand Floridian. Indeed, the payments were

    made without Artist’s knowledge, and without written consent or ratification.

      (b) Automobile Purchases

    34.   In January of 2019, Carrion purchased a 2018 Range Rover from Irenko Auto Sales, Inc.

    (“Irenko”), paying the entirety of the $21,000 down payment from the Company Account without

    Artist’s knowledge, consent or ratification. See Exhibit I, Company Account Statement for

    January of 2019. Upon information and belief, a number of other payments towards Carrion’s

    Range Rover have been made from the Company Account and/or from other accounts belong to

    the Counter-Plaintiffs.

    35.   And, on or about August 21, 2020, Carrion––naming the Company as the buyer and himself

    as the co-buyer––purchased a 2012 Lamborghini Aventador from Irenko for a total purchase price

    of $354,536.20 without Artist’s knowledge, consent or ratification. See Exhibit J, Retail



7
 Notably, without Artist knowledge, consent or ratification, on or about February 24, 2022,
Carrion unilaterally added Zuzolo as a Registered Agent for the Company. See Exhibit F,
Company’s 2022 Annual Report.



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      Installment Contract. Between September of 2020 and August of 2022, at least $191,814.48 was

      paid from the Company to Irenko and a related finance company named RBI Alliance, LLC

      towards the purchase price for the Lamborghini, which upon information and belief, Carrion

      gifted to one of his other clients, artist Kendo Kaponi (“Kaponi”), who is affiliated with Carion’s

      solely owned company Eli Entertainment, LLC, and not affiliated in anyway with the Company.

        (c) Jewelry Loans and Private Jet Rentals

      36.   Further, Carrion took out a loan of more than $1 million from a jewelry company named

      One of One Timepieces, Inc. (“One of One”). And, despite the loan being provided to Carrion,

      and not the Company, the entirety of the $1 million loan was repaid by the Company without

      Artist’s knowledge, consent or ratification.

      37.   Upon information and belief, Carrion frequently engaged in similar fraudulent acts,

      including using Company funds without Artist’s knowledge, consent or ratification, in connection

      with private jet rentals for himself, his family, and other clients of his who were not associated

      with the Company. Upon information and belief, Carrion used a number of different companies

      to do so, including Global Jet.

VI.     Carrion Defrauds the Company Out of Excess Monies Paid to Him in Connection With
        the Orchard Agreements

      38.   On or about November 7, 2019, the Counter-Plaintiffs entered into a global distribution

      agreement with Orchard Enterprises NY, Inc. ("Orchard"), pursuant to which Orchard and Sony

      Music Entertainment US Latin LLC became the exclusive distributors of certain music recorded

      by Artist, and were granted specified rights, including exclusive rights to sell, copy, distribute,

      perform, sublicense, monetize and otherwise exploit Artist’s recordings (the “First Orchard

      Agreement”).




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    39.    In connection with the First Orchard Agreement, Orchard paid Artist a delivery advance,

    and in accordance with the terms of the Management Agreement, Carrion was paid ten percent

    (10%) of the advance by the Company, with Carrion, once again, being overpaid in that necessary

    deductions were not made to Artist’s earnings prior to Carrion receiving his ten percent (10%)

    fee.

    40.    Despite Carrion being paid all monies owed to him in connection with the First Orchard

    Agreement, and in fact being overpaid, directly from Orchard, Carrion was paid an additional

    $775,656.40 from the Company in 2020 in connection with the First Orchard Agreement. Carrion

    never disclosed, or accounted for, the excess payments to the Counter-Plaintiffs, as such payments

    were a part of Carrion’s scheme to defraud Counter-Plaintiffs out of monies for which they are

    rightfully entitled.

    41.    On or about January 26, 2021, Counter-Plaintiffs entered into a second global distribution

    agreement with Orchard pertaining to the distribution, exploitation, and administration of certain

    Artist recordings. See Exhibit K, Second Orchard Agreement. 8

    42.    And, despite Orchard (and Broadcast Music, Inc.) 9 paying all monies owed to Carrion in

    connection with the Second Orchard Agreement directly to Carrion, and in fact overpaying

    Carrion as explained above, Carrion was paid an additional $745, 550 in 2020, and an additional

    1.145 million in 2021, in connection with the Second Orchard Agreement. Carrion never

    disclosed, or accounted for, the excess payments to the Counter-Plaintiffs, as such payments were




8
 The First and Second Orchard Agreements are collectively referred to herein as the “Orchard
Agreements.”
9
  Broadcast Music, Inc., or BMI as it is generally referred to, is a performance rights organization
that collects license fees on behalf of Artist’s and their affiliated entities, retaining a small fee for
the services before transferring the remainder to an artist and/or an artist’s designee.



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       a part of Carrion’s scheme to defraud Counter-Plaintiffs out of monies for which they are

       rightfully entitled.

VII.      Carrion Defrauds the Company Out of Excess Monies Paid to Him in Connection With
          the Kobalt Agreement and Amendment

       43.    On or about July 27, 2022, Carrion electronically executed an amendment to the Kobalt

       Agreement without Artist’s knowledge, consent or ratification, as required by the Management

       Agreement (the “Kobalt Amendment”). See Exhibit L, Kobalt Amendment. Further, pursuant to

       a letter of direction attached to the Kobalt Amendment, which was also electronically executed

       by Carrion without Artist’s knowledge, consent or ratification, ten percent (10%) of all monies

       earned in connection therewith was to be paid by Kobalt directly to Carrion’s solely owned entity

       Eli Entertainment. Id.

       44.    Upon information and belief, in contravention of its internal policies and/or the duties it

       undoubtedly owes to Counter-Plaintiffs due to the parties’ business and contractual relationship,

       Kobalt failed to take any steps whatsoever to verify the validity of Carrion’s fraudulent electronic

       signature.

       45.    In connection with the Kobalt Agreement and Amendment, Counter-Plaintiffs earned

       multi-million dollars in 2022, all of which was paid directly to Eli Entertainment and SST, and

       all, or at least a significant amount, of which was never transferred by Carrion and/or Singh to the

       Company.

       46.    Upon information and belief, Carrion and Singh had agreed, and conspired, to withhold

       and retain those monies for their own personal and professional use and benefit.

       47.    In addition to wrongfully withholding and retaining the monies referenced above, which

       were paid to Carrion and Singh directly from Kobalt and intended for Counter-Plaintiffs, Carrion

       was paid an additional $505,000 from the Company in connection with the Kobalt Agreement




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        and Amendment during 2022. In furtherance of his fraudulent scheme, Carrion never disclosed,

        or accounted for, the excess payments to the Counter-Plaintiffs.

VIII.     Carrion Steals and Retains Monies Set-Aside at Artist’s Direction for the Payment of
          Taxes, Leaving Counter-Plaintiffs With Significant Tax Liability

        48.   From 2018 to 2022, Artist entrusted Carrion––as his manager and the CEO of the

        Company––with deciding on when and how to structure Counter-Plaintiffs’ tax payments so as

        to maximize Counter-Plaintiffs’ annual earnings, but Carrion was specifically told to set aside

        millions of dollars each year for satisfaction of Counter-Plaintiffs’ tax liabilities.

        49.   Disregarding explicit instructions, as well as the best interests of the Counter-Plaintiffs,

        Carrion instead decided against setting aside funds for payment of Counter-Plaintiffs’ taxes, and

        instead, purportedly allocated a majority of the set aside funds towards other investments and

        business opportunities, leaving Counter-Plaintiffs with significant tax liabilities for those years.

        50.   Carrion did so without Artist’s knowledge, consent or ratification, and upon information

        and belief, Carrion (and likely, Singh and/or SST) remain in actual or constructive possession of

        millions of dollars which were set aside specifically to be used towards Counter-Plaintiffs’ tax

        payments, and/or has otherwise used the monies to fund his continued extravagance, to pay

        personal and professional expenses unrelated to Counter-Plaintiffs, and otherwise to benefit

        himself to the detriment of the Counter-Plaintiffs.

 IX.      Carrion, On Behalf of the Counter-Plaintiffs, Purchases a Professional Basketball Team
          in Puerto Rico

        51.   On or about June 8, 2021, based on the advice of, and representations made by, Carrion,

        Artist acquiesced in purchasing a Puerto Rican professional basketball team named Capitanes de

        Arecibo. Despite approaching Artist and making numerous representations to him regarding the

        viability of the investment, at no time prior or subsequent to the purchase did Carrion ever notify

        Artist of the terms of the purchase, or advise him as to the significant additional expenses the



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     Counter-Plaintiffs would, and in fact did, incur in connection with funding and operating a

     professional basketball team.

     52.   Shortly following Carrion’s agreement, on behalf of the Counter-Plaintiffs, to purchase the

     team, the Company paid the former owner, Luis R. Monrouzeau ("Monrouzeau"), at least

     $786,000, and paid an additional approximately $834,343.35 towards team payroll, taxes, and

     other team expenses.

     53.   Upon information and belief, Carrion had a secret agreement with Monrouzeau whereby

     Counter-Plaintiffs would overpay to purchase the team, and in return, Carrion would receive a

     “kickback” based on the percentage of the purchase price, or a flat fee. Upon information and

     belief, and without Artist’s knowledge, consent or ratification, Carrion used Company and team

     funds to purchase gifts, property, and other assets for himself and others.

X.     Carrion Enters into Fraudulent Agreements with CMN and Zuffa, and Receives
       “Kickbacks” In Connection Therewith

     54.   On or about January 11, 2022, without Artist’s knowledge, consent or ratification, Carrion

     executed a term sheet with Cardenas Marketing Network (“CMN”) on behalf of Counter-

     Plaintiffs, pursuant to which CMN was to act as Counter-Plaintiffs’ exclusive promoter for a

     specified number of concert tours during the term (the “CMN Term Sheet”). See Exhibit M, CMN

     Term Sheet.

     55.   And, on or about April 27, 2022, Carrion, on behalf of Counter-Plaintiffs, entered into an

     unauthorized verbal handshake agreement with Jose Max Torres Perez (“Perez”) and his company

     Buena Vibra Group ("BVP"), whereby Perez and BVP would execute a sponsorship deal with

     Zuffa LLC d/b/a Ultimate Fighting Championship (the “Zuffa Agreement”) that required Artist

     to perform certain obligations on behalf of Zuffa, see Exhibit N, Zuffa Agreement.




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       56.    At no time did Carrion inform, or seek the consent of, Artist as to his agreement with Perez

       or the Zuffa Agreement, and further, shortly after the Zuffa Agreement was finalized, either

       Carrion himself, or someone else at Carrion’s direction, transferred $950,000 to Zuffa from the

       Company, and another $254,565.89 to Jose Max Torres Perez (“Perez”) from the Company

       shortly after the Zuffa Agreement was finalized. Upon information and belief, this was another

       “kickback” scheme orchestrated by Carrion to Counter-Plaintiffs’ detriment.

       57.    Upon information and belief, the payment to Perez was in consideration of a secret

       agreement between Carrion and Perez, pursuant to which each would receive a cut of monies in

       connection with the Zuffa Agreement. Upon information and belief, Carrion entered into a similar

       agreement with CMN and/or an agent or representative of CMN, which precipitated him

       fraudulent entering into the CMN Term Sheet on behalf of the Counter-Plaintiffs. 10

XI.        Other Miscellaneous Fraudulent Acts By Carrion

       58.    Between September 23, 2020 and June 21, 2020, approximately $234, 350 was transferred

       from the Company Account directly to Carrion and/or Eli Entertainment, either by Carrion or at

       his direction, and without Artist’s knowledge, consent or ratification. Upon information and

       belief, the monies were used to pay certain personal and professional obligations of Carrion and/or

       Eli Entertainment, including numerous payments to Kaponi and Carrion’s personal

       assistant/Company security guard, Alexis Parra (“Parra”), who was aware of, and conspired with

       Carrion in furtherance of, the fraudulent scheme outlined herein.

       59.    Upon information and belief, and without Artist’s knowledge, consent or ratification,

       Carrion also provided Kaponi and Parra with Company credit cards, which he told them could be



      10
        Upon information and belief, Carrion engaged in another similar “kickback” scheme with
      someone at Wolfe Law Miami, and either by Carrion himself, or at Carrion’s direction, the
      Company paid $250,000 to Wolfe Law Miami on or about December 23, 2020.



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 used without limitation, and that all payments would be made by the Company. This is in addition

 to the Company credit card Carrion maintained possession of, and used at will and to excess, for

 a number of years.

 60.   In addition to those acts outlined above, between 2019 and present day, Carrion used

 significant Company funds to, among other things, fund his own extravagant lifestyle and

 professional endeavors not associated with the Counter-Plaintiffs; purchase gifts and necessities

 for, and pay other personal obligations of, his family and other artists which he manages; and to

 otherwise benefit himself to the detriment of Artist.

 61.   Upon information and belief, and without Artist’s knowledge, consent or ratification,

 Carrion stole and utilized Company funds, as follows:

                            (a) Payment of approximately $40,483.11 for goods and merchandise
                                at, among other places, Dolce & Gabanna, Hugo Boss, Luis
                                Vuitton, Best Buy, and Apple;

                            (b) Payment of approximately $133,516.10 towards his wife, Priscilla
                                Carrasco’s (“Priscilla”) 11 expenses, such as her phone, internet,
                                utilities, and credit card bills;

                            (c) Payment of more than $20,000 towards Carrion’s personal
                                expenses and expenses of Eli Entertainment, including for phone
                                Internet, utilities, car insurance, and essentially daily Ubers and
                                food deliveries through Uber Eats;

                            (d) Withdrawing at least $238,000 in cash; 12

                            (e) Payment of approximately $87,500 to Cervera Real Estate Inc. for
                                the deposit on a Penthouse Beach Club;

11
  For a few years prior to Parra being hired as Carrion’s assistant, Priscilla worked as a secretary
for the Company and acted as Carrion’s assistant, being paid, upon information and belief, an
exorbitant amount (i.e., approximately $12,000 per month) in salary throughout that time
12
   See, e.g., Exhibit O, Withdrawal Receipts from September 24, 2019, and December 6, 2019.
Upon information and belief, Carrion, without authorization, withdrew significantly more money
from the Company Account between approximately 2018 and present day to be used for his
personal and professional benefit.



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                            (f) Payment of approximately $29,700 to Quetglas Law Firm in
                                Guaynabo, Puerto Rico for an unknown purpose;

                            (g) Payment of approximately $15,000 to Dorado Owners LLC for
                                Carrion’s personal villa;

                            (h) Payment of approximately $40,000 to MAS Capital Investments as
                                a consulting fee; and

                            (i) Payment of approximately $61,971 to Build Up Construction &
                                Management in San Juan, Puerto Rico for an unknown purpose. 13

 62.   Upon information and belief, Carrion also used Company funds to repay $222,101.52 in

 outstanding credit card debt in connection with a credit card issued by Banco Popular

 Dominicano, S.A. in Santo Domingo, Dominican Republic, and to satisfy $141,000 in personal

 financial obligations Carrion owed to Banco De Reservas in Santo Domingo, Dominican

 Republic related to gifts, business expenses, and personal travel.

 63.   Carrion’s fraudulent scheme, and unequivocal breach of the Management Agreement and

 his fiduciary duties to the Counter-Plaintiffs, as outlined herein, have resulted, and will result, in

 Counter-Plaintiffs losing millions of dollars for which they are rightfully entitled.

                                            COUNT I
                                              (Fraud)
                                         (against Carrion)

 64.   Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

 paragraphs 1 through 63 as if fully set forth herein.




13
   Counter-Plaintiffs are informed and believe that there are a number of other fraudulent
unauthorized uses of Company funds by Carrion between approximately 2018 and present day,
which Counter-Plaintiffs are unaware of at this time. Counter-Plaintiffs reserve the right to amend
this Countercomplaint at such time as Counter-Plaintiff becomes aware of said additional
fraudulent unauthorized uses through discovery, as well as through Counter-Plaintiffs’ ongoing
investigation into, including discussions with third parties in connection with, Carrion’s acts.



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65.    In connection with the foregoing scheme, and as outlined above, Frabian made numerous

false statements of material fact, including but not limited to, informing third parties that he had

authority to perform certain actions and transfer funds from the Company Account without

Artist’s knowledge, written consent or approval.

66.    Further, among other things, Carrion fraudulently executed the Kobalt Amendment and

letter of direction attached thereto in Counter-Plaintiffs’ name, and purchased vehicles in

Counter-Plaintiffs’ name, including the 2012 Lamborghini Aventador from Irenko, without

Artist’s knowledge, consent or ratification.

67.    Indeed, Carrion was aware at all times that his statements, and his authority to execute

those documents in Counter-Plaintiffs’ name, was false and/or did not exist.

68.    Carrion intended that his representations, as outlined herein, would be relied on by third

parties, and purposely hid his actions from Plaintiff, for the sake of inducing third parties to act

or not act, and inducing Plaintiff into, among other things, not terminating the Management

Agreement, keeping Carrion on as the CEO of the Company, and keeping Carrion as an

authorized person on the Company’s Account.

69.    As a result of the foregoing fraudulent scheme, Counter-Plaintiffs were damaged in an

amount to be determined at trial.

       WHEREFORE, Counter-Plaintiffs request that this Court find the conduct of Carrion

constitutes fraud, and award Counter-Plaintiffs appropriate damages, including monetary and

punitive damages, interest, costs, attorney’s fees and other expenses incurred by Defendants as a

result of the foregoing, including significant expenses incurred, and to be incurred, in investigating

the extent of the financial harm caused by Plaintiff, as well as any other legal or equitable relief

this Court deems just and proper.




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                                               COUNT II
                                          (Constructive Fraud)
                                            (against Carrion)

70.    Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

71.    As Artist’s manager in the entertainment industry, and as the CEO, and a manager, of the

Company, Carrion was in a confidential and fiduciary relationship with the Counter-Plaintiffs.

72.    Carrion’s acts, as outlined herein, unequivocally constitute an abuse of those relationships,

and evidence Carrion taking unconscionable advantage of those relationships, and the trust Artist

placed in him.

73.    In doing so, Carrion caused the Counter-Plaintiffs to suffer significant damages, in an

amount to be determined at trial.

       WHEREFORE, Counter-Plaintiffs request that this Court find the conduct of Carrion

constitutes constructive fraud, and award Counter-Plaintiffs appropriate damages, including

monetary and punitive damages, interest, costs, attorney’s fees and other expenses incurred by

Defendants as a result of the foregoing, including significant expenses incurred, and to be incurred,

in investigating the extent of the financial harm caused by Plaintiff, as well as any other legal or

equitable relief this Court deems just and proper.

                                         COUNT III
                                (Fraudulent Misrepresentation)
                                      (against Carrion)

74.    Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

75.    In furtherance of his fraudulent scheme, and as outlined above, Frabian made numerous

false statements of material fact, including but not limited to, informing third parties that he had




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authority to perform certain actions and transfer funds from the Company Account without

Artist’s knowledge, written consent or approval.

76.    Carrion was aware at all times that his statements, and his authority to execute documents

in Counter-Plaintiffs’ name, was false and/or did not exist.

77.    Carrion intended that his representations, as outlined herein, would be relied on by third

parties, and purposely hid his actions from Plaintiff, for the sake of inducing third parties to act

or not act, and inducing Plaintiff into, among other things, not terminating the Management

Agreement, keeping Carrion on as the CEO of the Company, and keeping Carrion as an

authorized person on the Company’s Account.

78.    As a result of the foregoing fraudulent representations, Counter-Plaintiffs were damaged

in an amount to be determined at trial.

       WHEREFORE, Counter-Plaintiffs request that this Court find the conduct of Carrion

constitutes fraudulent misrepresentation, and award Counter-Plaintiffs appropriate damages,

including monetary and punitive damages, interest, costs, attorney’s fees and other expenses

incurred by Defendants as a result of the foregoing, including significant expenses incurred, and

to be incurred, in investigating the extent of the financial harm caused by Plaintiff, as well as any

other legal or equitable relief this Court deems just and proper.

                                           COUNT IV
                                      (Breach of Contract)
                                        (against Carrion)
79.    Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

80.    The Management Agreement was a valid contract between Artist and Carrion.

81.    By, among other things, executing documents in Counter-Plaintiffs’ name without Artist’s

knowledge, written consent or ratification, and transferring significant funds from the Company



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Account, which Carrion used to fund his own extravagant lifestyle; to satisfy his and his family’s

personal and professional obligations unrelated to the Counter-Plaintiffs; and otherwise to benefit

himself to the detriment of the Counter-Plaintiffs, Carrion materially breached the Management

Agreement.

82.    As a result of Carrion’s numerous breaches of the Management Agreement, Counter-

Plaintiffs were damaged in an amount to be determined at trial.

       WHEREFORE, Counter-Plaintiffs request that this Court find that Carrion breached the

 Management Agreement, and award Counter-Plaintiffs appropriate damages, including

 monetary and punitive damages, interest, costs, attorney’s fees and other expenses incurred by

 Defendants as a result of the foregoing, including significant expenses incurred, and to be

 incurred, in investigating the extent of the financial harm caused by Plaintiff, as well as any other

 legal or equitable relief this Court deems just and proper.

                                          COUNT V
                                   (Breach of Fiduciary Duty)
                                       (against Carrion)
83.    Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

84.    Counter-Plaintiffs placed significant trust and confidence in Carrion by allowing him to act

as Artist’s manager and representative in the entertainment industry, adding him as a manager,

and naming him the CEO of the Company, and adding him as an authorized person on the

Company Account.

85.    Carrion accepted the responsibility and Counter-Plaintiffs’ trust in him, and assumed a

number of duties, including the duty to advise, protect, and act in the best interests of the Counter-

Plaintiffs.




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86.   By engaging in the acts herein alleged, Carrion breached those duties to Counter-Plaintiffs

and as a result, caused Counter-Plaintiffs to suffer damages in an amount to be determined at trial.

      WHEREFORE, Counter-Plaintiffs request that this Court find that Carrion breached his

fiduciary duties to the Counter-Plaintiffs, and award Counter-Plaintiffs appropriate damages,

including monetary and punitive damages, interest, costs, attorney’s fees and other expenses

incurred by Defendants as a result of the foregoing, including significant expenses incurred, and

to be incurred, in investigating the extent of the financial harm caused by Plaintiff, as well as

any other legal or equitable relief this Court deems just and proper.

                                           COUNT VI
                                          (Conversion)
                                        (against Carrion)
87.   Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

88.   Carrion’s acts, including transferring significant funds from the Company Account to

himself and other third parties were unauthorized in that each occurred without Artist’s

knowledge, consent or ratification, and in contravention of his obligations under the Management

Agreement, as CEO of the Company, and otherwise.

89.   By engaging in the foregoing conduct, Carrion deprived Counter-Plaintiffs of millions of

dollars for which they are rightfully entitled, and Carrion maintains possession of, or has already

expended significant funds belonging to Counter-Plaintiffs such that Counter-Plaintiffs have been

deprived of such funds.

90.   As a result, Counter-Plaintiffs have been damaged in an amount to be determined at trial.

      WHEREFORE, Counter-Plaintiffs request that this Court find that Carrion converted

funds rightfully belonging to the Counter-Plaintiffs, and award Counter-Plaintiffs appropriate

damages, including monetary and punitive damages, interest, costs, attorney’s fees and other



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expenses incurred by Defendants as a result of the foregoing, including significant expenses

incurred, and to be incurred, in investigating the extent of the financial harm caused by Plaintiff,

as well as any other legal or equitable relief this Court deems just and proper.

                                          COUNT VII
                                       (Civil Conspiracy)
                                        (against Carrion)
91.   Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

92.   Upon information and belief, Carrion conspired with a number of third parties, including

but not limited to, SST, Singh, Zuzolo, Parra, Kobalt and others, to carry out his fraudulent

scheme and to convert monies rightfully belonging to Plaintiffs, as outlined herein.

93.   In further of the fraudulent scheme, Carrion, among other things, executed agreements on

behalf of the Counter-Plaintiffs without Artist’s knowledge, consent or ratification, and converted

millions of dollars in Company funds for his own use, as well as for use by other third parties

unassociated with the Counter-Plaintiffs.

94.   As a result of Carrion’s conspiracy with the above parties and others, Counter-Plaintiffs

have been damaged in an amount to be determined at trial.

      WHEREFORE, Counter-Plaintiffs request that this Court find that Carrion engaged in a

civil conspiracy to Counter-Plaintiffs detriment, and award Counter-Plaintiffs appropriate

damages, including monetary and punitive damages, interest, costs, attorney’s fees and other

expenses incurred by Defendants as a result of the foregoing, including significant expenses

incurred, and to be incurred, in investigating the extent of the financial harm caused by Plaintiff,

as well as any other legal or equitable relief this Court deems just and proper.




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                                            COUNT VIII
                                            (Accounting)
                                          (against Carrion)
95.   Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

96.   As Artist’s manager in the entertainment industry, and as the CEO, and a manager, of the

Company, Carrion was in a confidential and fiduciary relationship with the Counter-Plaintiffs.

97.   As explained above, Carrion actively failed to disclose, and instead to hide, his acts, as

provided above, from Counter-Plaintiffs at all times.

98.   Because of such, a remedy at law is inadequate, and Carrion must account to Counter-

Plaintiffs for all funds rightfully belonging to Counter-Plaintiffs, as well as any tangible and/or

intangible things Carrion is in possession of as a result of his unauthorized use of Company funds

and exploitation of Counter-Plaintiffs.

      WHEREFORE, Counter-Plaintiffs request that this Court find that Carrion must account

to Counter-Plaintiffs, as described above, and award Counter-Plaintiffs any other legal or

equitable relief this Court deems just and proper.

                                           COUNT IX
                                      (Constructive Trust)
                                        (against Carrion)
99.   Counter-Plaintiffs hereby incorporate by reference each and every allegation set forth in

paragraphs 1 through 63 as if fully set forth herein.

100. As Artist’s manager in the entertainment industry, and as the CEO, and a manager, of the

Company, Carrion was in a confidential and fiduciary relationship with the Counter-Plaintiffs.

101. Through such confidential and fiduciary relationship, Carrion owed a number of duties,

and made a number of expressed and implied promises to Counter-Plaintiffs, including the




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promises that he would transfer monies rightfully belonging to Counter-Plaintiffs to the Counter-

Plaintiffs, and not convert such funds.

102. As a result of his actions, Carrion has been unjustly enriched to the detriment of the

Counter-Plaintiffs, thus justifying the imposition of a constructive trust.

      WHEREFORE, Counter-Plaintiffs request that this Court find that the imposition of a

 constructive trust is necessary under the circumstances described herein, and award Counter-

 Plaintiffs any other legal or equitable relief this Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Counter-Plaintiffs hereby request a trial by jury on all issues so triable.

Dated: November 11, 2022.

                                                      Respectfully Submitted:


                                                      LALCHANDANI SIMON PL
                                                      25 S.E. 2nd Avenue, Suite 1020
                                                      Miami, Florida 33131
                                                      (305) 999-5291
                                                      (305) 671-9282 (fax)
                                                      Attorneys for Defendants/Counter-Plaintiffs

                                                      By: /s/ Kubs Lalchandani
                                                              Kubs Lalchandani, Esq.
                                                              Florida Bar No.: 63966
                                                              kubs@lslawpl.com
                                                              Bibiana Pesant, Esq.
                                                              Florida Bar No.: 1011081
                                                              bibiana@lslawpl.com


                                                      SALZANO ETTINGER LAMPERT &
                                                      WILSON, LLP
                                                      275 Madison Ave., Floor 35
                                                      New York, New York 10016
                                                      Tel: (646) 863-1883
                                                      Fax: (646) 365-3119
                                                      Attorneys for Defendants/Counter-Plaintiffs




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                                    By: /s/ Frank Salzano
                                           Frank Salzano, Esq. (pro hac vice
                                           forthcoming)
                                           fsalzano@selwlaw.com




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished this

11th day of November, 2022, via the Florida e-filing portal to: Kendrick Almaguer, Esq.,

kendrick@hachargroup.com, counsel for Plaintiff/Counter-Defendant Frabian Eli Carrion.


                                                  By: /s/ Kubs Lalchandani
                                                          Kubs Lalchandani




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                     English Translation / Management Letter of Intent
                 between Frabian Eli Carrion and Emmanuel Gazmey Santiago



June 20, 2018

Emmanuel Gazmey Santiago

Miami Florida


Re: Letter of Intent


Dear Emma

According to our conversations, I attach the terms and conversations through which the
undersigned will work as exclusive manager (hereinafter the manager) of Emmanuel Gazmey-
Santiago, artistically known as Anuel AA (“Anuel”):

1. The term of this Agreement shall be 5 years from the date of this Agreement. The
effectiveness of the Agreement will be subject to pending litigation in Puerto Rico where it is
claimed if there is indeed a valid record management contract.

2. During the term of the Agreement, the undersigned will act as the sole and exclusive
representative and/or manager of all business in Anuel's entertainment industry. These
businesses include all recording business, publishing, artistic presentations, tours, sponsorships,
merchandise, acting and any other present or future business related to the entertainment
industry.

3. The manager will collect ten percent (10%) of the gross income earned by Anuel from the
businesses described in paragraph 2 once they have been collected.

4. The manager will seek the consent or ratification of Anuel for each business before approving
it.

5. The manager represents that it is not a Talent Agency as such term is known under the laws
of the State of Florida.

6. The laws of the State of Florida govern this Letter of Intent and only the courts in that state
shall have jurisdiction and venue to adjudicate any dispute arising under this Agreement.
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7. This letter of intent will be replaced by a Formal Agreement within the next 30 days.
Otherwise, this Letter of Intent will govern between the parties.


If you agree, please sign it.


Cordially,


Frabian Eli Carrion20 de Junio de 2018

Emmanuel Gazmey Santiago

Miami, Florida


Re: Carta de Intencion


Estimado Emma

Segun nuestras conversaciones adjunto los terminos y conversaciones mediante el cual el
subscribiente trabajara como manejador exclusive ( en adelante el manejador) de Emmanuel
Gazmey- Santiago artisticamente conocido como Anuel AA (“Anuel”):

    1. El termino de este acuerdo sera de 5 años partir de la fecha de este Acuerdo. La
       efectividad del Acuerdo estara sujeto al litigio pendiente en Puerto Rico donde se
       reclama si en efecto existe un contrato de manejo disquero valido.

    2. Durante el termino del Acuerdo el subscribiente fungira como el unico y exclusivo
       representante y/o manejador de todos los negocios en la industria de entretenimiento
       de Anuel. Estos negocios incluyen todo negocio discografico, editorial,presentaciones
       artisticas, giras, auspicios, mercaderia, actuacion y cualquier otro negocio presente o
       future relacionado a la industria de entretenimiento.

    3. EL manejador cobrara un diez porceinto (10%) de los ingresos brutos devengados por
       Anuel de los negocios descritos en el parrafo 2 una vez se hayan cobrado.

    4. El manejador procurara el consentimiento o ratificacion de Anuel para cada negocio
       antes de aprobarlo.
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   5. El manejador representa que no es una Agencia de Talento segun se conoce dicho
      termino bajo las leyes del Estado De Florida.

   6. Las leyes de Estado de Florida rigen esta Carta de Intencion y solo los tribunales en
      dicho estado tendran competencia y jurisdiccion para adjudicar cualquier contraversia
      que surja bajo este Acuerdo.




   7. Esta carta de intencion sera sustituida por un Acuerdo Formal dentro de los proximos 30
      dias. De lo contrario esta carta de Intencion regira entre la partes.


De usted estar de acuerdo favor de suscribir la misma.


Cordialmente,


Frabian Eli Carrion
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SIMRAN A. SINGH, ESQ. *
DAL SINGH, ESQ. ^
MICHAEL A. TRAUBEN, ESQ. +
THOMAS K. RICHARDS, ESQ. ~
JUSTIN R. TRAUBEN, ESQ.
DANIEL M. SILVERMAN, ESQ.
* Admitted in California and Florida.
~ Admitted in California and New York.
^ Admitted in California, Florida and Washington.
+ Admitted in California, Florida and Michigan.

                                                     August 30, 2018

        VIA ELECTRONIC MAIL
        Real Hasta La Muerte LLC and
        Mr. Emmanuel Gazmey Santiago
        p/k/a “Anuel AA”
        c/o Mr. Frabian Eli Carrion
        frabianeli@gmail.com

                                  ATTORNEY-CLIENT CONTINGENCY FEE AGREEMENT

                SINGH, SINGH & TRAUBEN, LLP (“Attorney”), on one hand, and Emmanuel Gazmey
        Santiago p/k/a “Anuel AA” and Real Hasta La Muerte LLC (hereinafter individually and collectively
        referred to as “Client”), on the other hand, hereby agree on this August 30, 2018, that Attorney will
        provide legal services to Client on the terms set forth below.

                 1.     LEGAL SIGNIFICANCE OF THIS AGREEMENT. Client understands and agrees
        that this Agreement has important legal significance. Client understands and agrees that Client should
        consider consulting with another attorney before signing this Agreement, as it would be inappropriate for
        Attorney to render legal advice concerning this Agreement.

                2.       CONDITIONS. This Agreement will not take effect, and Attorney will have no
        obligation to provide legal services, until Attorney receives a copy of this Agreement signed by Client.

                 3.     SCOPE OF SERVICES. Client is hiring Attorney to represent Client, and any affiliated
        entities owned or controlled by Client, in connection with any and all agreements and transactional
        matters (specifically excluding any and all litigation, securities, tax, estate planning, wills, trust,
        corporate, mergers & acquisitions, real estate, trademark, copyright, or patent representation (collectively
        “Other Matters”)), including the negotiation and review of such agreements.

                 4.      RESPONSIBILITIES OF THE PARTIES. Attorney will provide those legal services
        reasonably required to represent Client as described in Paragraph 3 and will take reasonable steps to keep
        Client informed of progress and developments, and to respond promptly to inquiries and communications.
        Client agrees to be truthful with Attorney, to cooperate, to keep Attorney informed of any information and
        developments which may come to Client’s attention, to abide by this Agreement, and to keep Attorney
        advised of Client’s address, telephone number and whereabouts.
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        5.      LEGAL FEES. Client shall pay Attorney a fee equal to seven percent (7%) of all
Compensation, earned or accrued by Client, or any of Client's affiliated companies, arising out of or in
connection with any agreement for which Attorney has rendered any services (the “Fee”) during
Attorney’s representation of Client hereunder. “Compensation” shall include any and all forms of
payments, consideration, compensation, salaries, bonuses, shares of stock, stock options, or sums,
including but not limited to all advances (whether or not recoupable) and royalties, whether paid as a to
you or applied to you or on your behalf directly or indirectly, as a lump sum or accrued over time.

        In the event of Attorney’s discharge or withdrawal as provided in Paragraph 8, Client agrees that,
upon payment of the settlement, arbitration award or judgment in Client’s favor in this matter, Attorney
shall be entitled to be paid by Client a reasonable fee for the legal services provided. Such fee shall be
determined by considering the following factors: (a) The actual number of hours expended by Attorney
in performing legal services for Client; (b) Attorney’s hourly rates: $525/hour for partners and $395/hour
for associates; (c) The extent to which Attorney’s services have contributed to the result obtained; (d) The
amount of the fee in proportion to the value of the services performed; (e) Time limitations imposed on
Attorney by Client or by the circumstances; (f) The amount of recovery obtained; and (g) The experience,
reputation and ability of personnel performing the services.

        6.     NEGOTIABILITY OF FEES. The rates set forth above are not set by law, but are
negotiable between an attorney and Client. Attorney believes that the fee arrangement set forth herein is
fair and reasonable under California law, including the California Rules of Professional Conduct.
Attorney urges Client to consult with an independent lawyer of Client’s choice about this fee
arrangement. Client acknowledges that Client has had the opportunity to consult with the counsel
of Client’s choice other than Attorney, and Client has done so or decided not to, even though
Attorney has encouraged Client to do so.

        7.      LIMITATION OF REPRESENTATION. Attorney is representing Client only on the
matter described in Paragraph 3. Attorney’s representation does not include independent or related
matters that may arise, including, among other things, litigation matters. This Agreement does not apply
to any other legal matters. If any such matters arise later, Attorney and Client will either negotiate a
separate agreement if Client and Attorney agree that Attorney will perform such additional legal work or
Client will engage separate counsel with respect to the cross-claim or counter-claim or additional legal
work.

         8.      DISCHARGE AND WITHDRAWAL. Client may discharge Attorney at any time,
upon written notice to Attorney. Attorney may withdraw from representation of Client with Client’s
consent or for good cause and upon reasonable notice to Client. Good cause includes Client’s breach of
this contract, Client’s refusal to cooperate with Attorney or to follow Attorney’s advice on a material
matter, or any other fact or circumstance that would render Attorney’s continuing representation in any
particular matter or transaction unlawful or unethical, or any circumstance where Attorney deems
withdrawal is warranted without materially adverse effect to Client. Notwithstanding Attorney’s
withdrawal or Client’s notice of discharge, and without regard to the reasons for the withdrawal or
discharge, Client will remain obligated to pay Attorney for all costs incurred prior to the termination and,
in the event that there is any Compensation, earned or accrued by Client, or any of Client's affiliated
companies, arising out of or in connection with any agreement for which Attorney has rendered any
services after conclusion of Attorney’s services, Client remains obligated to pay Attorney for the
reasonable value of all services rendered from the effective date of this Agreement to the date of
discharge (provided that such amount shall not exceed the Fee). Attorney is authorized to use any funds
held in Attorney’s trust account as a deposit against costs to apply to such unpaid charges. After any
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termination of this Agreement, upon request, Client’s file and property will be delivered to Client, or
Client’s other attorney, whether or not Client has paid any fees and/or costs owed to Attorney.

        9.       COSTS AND OTHER CHARGES. Attorney will incur various costs and expenses in
performing legal services under this Agreement. Client understands that these are actual hard costs, not
legal fees, and Client agrees to pay for all costs, disbursements and expenses incurred by Attorney in
furtherance of the services hereunder. The costs and expenses commonly include, document filing fees,
long distance telephone charges, messenger and other delivery fees, postage, photocopying and other
reproduction costs, and if any travel is requested and/or required, travel costs including parking, mileage,
transportation, meals and hotel costs. Attorney may, in its discretion (but shall not be obligated to), deduct
any costs and expenses owed to Attorney hereunder from the remaining balance of the Gross Receipts
payable to Client after deduction of the Fee.

         10.     LIEN. Client hereby grants Attorney a lien on any and all agreements and Compensation
that are the subject of Attorney’s representation under this Agreement. Attorney’s lien will be for any
sums owing to Attorney for any unpaid costs, or attorneys' fees, at the conclusion of Attorney’s services.
The lien will attach to any Compensation Client may obtain, whether by arbitration award, judgment,
settlement or otherwise. The effect of such a lien is that Attorney may be able to compel payment of fees
and costs from any such funds recovered on behalf of Client even if Attorney has been discharged before
the end of the matter/case. Because a lien may affect Client’s property rights, Client may seek the advice
of an independent lawyer of Client’s own choice before agreeing to such a lien. By initialing this
paragraph, Client represents and agrees that Client has had a reasonable opportunity to consult such an
independent lawyer and—whether or not Client has chosen to consult such an independent lawyer—
Client agrees that Attorney will have a lien as specified above.

        11.      RECEIPT OF COMPENSATION. Unless Attorney receives the Fee paid directly
from the applicable source of the Compensation, all Compensation derived by Client or any of Client’s
companies in connection with the subject agreements (i.e. agreements for which Attorney has rendered
services) shall be deposited into Attorney’s trust account. Specifically, Client shall direct all sources of
such Compensation to make all payments and/or compensation that is attributable to Client directly to
Attorney’s trust account. Upon Attorney’s receipt of any of Client’s Compensation, Attorney shall
deduct its Fee from such Compensation and remit the balance to Client. In the event that Client receives
any Compensation directly from third parties, Client will use best efforts to provide documentation from
such third party, to the extent available, which will verify all Compensation received directly by Client.
Likewise, Client will promptly pay the Fee to Attorney as and when any such Compensation is received
by Client.

        ______ (Client Initials Here)         ______ (Attorney Initials Here)

        12.     DISCLAIMER OF GUARANTEE. Nothing in this Agreement and nothing in
Attorney’s statements to Client will be construed as a promise or guarantee about the outcome of any
agreement or negotiation with which Attorney assists, the procurement of any agreements, or the success
of any project or endeavor related to any agreement with which Attorney assists. Attorney makes no such
promises or guarantees. Attorney’s comments about the outcome or the results of Attorney’s services
hereunder are expressions of opinion only, and should not be construed to promise or guarantee a specific
outcome or result with respect to such services. Client acknowledges that Attorney has made no promise
or guarantees about the outcome.
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        13.     ENTIRE AGREEMENT. This Agreement contains the entire agreement of the parties.
No other agreement, statement or promise made on or before the effective date of this Agreement will be
binding on the parties.

        14.      SEVERABILITY IN EVENT OF PARTIAL INVALIDITY. If any provision of this
Agreement is held in whole or in part to be unenforceable for any reason, the remainder of that provision
and of the entire Agreement will be severable and remain in effect.

        15.     MODIFICATION BY SUBSEQUENT AGREEMENT. This Agreement may be
modified by subsequent agreement of the parties only by an instrument in writing signed by both of them
or an oral agreement only to the extent that the parties carry it out.

     16.   ARBITRATION AND WAIVER OF JURY TRIAL. THIS SECTION EVIDENCES
AN ADDITIONAL AGREEMENT BETWEEN US TO ARBITRATE DISPUTES.

BOTH ATTORNEY AND CLIENT AGREE THAT ANY DISPUTE BETWEEN ATTORNEY AND
CLIENT (INCLUDING, WITHOUT LIMITATION, ANY INDIVIDUAL ATTORNEY AT THE FIRM)
ARISING OUT OF OR RELATING IN ANY WAY TO OUR REPRESENTATION OF CLEINT,
INCLUDING BUT NOT LIMITED TO DISPUTES REGARDING ATTORNEY’S SERVICES, FEES
AND COSTS, SHALL BE RESOLVED BY BINDING ARBITRATION.

THIS MEANS, AMONG OTHER THINGS, THAT ANY DISPUTE, BETWEEN ATTORNEY AND
CLIENT, INCLUDING, WITHOUT LIMITATION, IN CONTRACT OR TORT, BASED UPON,
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR TO THE RELATIONSHIP OF THE
PARTIES, ATTORNEY’S ENGAGEMENT AND/OR ATTORNEY’s PERFORMANCE OR FAILURE
TO PERFORM SERVICES (INCLUDING, WITHOUT LIMITATION, CLAIMS OF BREACH OF
FIDUCIARY DUTY OR PROFESSIONAL NEGLIGENCE) IS SUBJECT TO BINDING
ARBITRATION. IN ADDITION, ALL QUESTIONS REGARDING THE ARBITRABILITY OF THE
DISPUTE, INCLUDING WHETHER THE PARTIES HAVE AGREED TO ARBITRATE THE
DISPUTE, SHALL BE DECIDED BY SUCH ARBITRATION. THIS AGREEMENT TO ARBITRATE
ALL DISPUTES BETWEEN THE PARTIES APPLIES EVEN IF SOME PERSON OR ENTITY
CLAIMS THAT THIS AGREEMENT IS VOID, VOIDABLE OR UNENFORCEABLE FOR ANY
REASON.

BY AGREEING TO ARBITRATE, ALL PARTIES ARE WAIVING THEIR RIGHT TO JURY TRIAL
AND THEIR RIGHT TO CONDUCT DISCOVERY (EXCEPT AS THE ARBITRATOR MAY
PERMIT).

Further, by agreeing to arbitrate, all parties are agreeing to pay an equal portion of the arbitrator's
fees.

The arbitration shall be held in the County of Los Angeles, California before a retired California
superior or appellate court judge or federal court judge pursuant to the Standard Arbitration
Rules of ADR Services, Inc. and shall be administered by ADR Services, Inc. Client irrevocably and
unconditionally consent to personal jurisdiction in California and venue in Los Angeles, California,
in any action to compel arbitration and to enforce the arbitration award.

The arbitration, and all aspects thereof (arguments, testimony, evidence, the decision, etc.), shall be
confidential, except when used in the course of a judicial proceeding (e.g., to confirm, vacate or
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                                           Administration Agreement (“Agreement”)

            THIS AGREEMENT SHALL FORM A BINDING CONTRACT UNDER NEW YORK LAW
            BETWEEN THE PARTIES. THE SCHEDULES ATTACHED FORM AN INTEGRAL PART
            OF THE AGREEMENT FOR ALL PURPOSES. PLEASE NOTE THAT ANY DELAY IN
            COMPLETING THE INFORMATION SCHEDULES MAY DELAY THE REGISTRATION
            OF THE COMPOSITIONS AND THE COLLECTION AND PAYMENT OF MONIES
            RELATING THERETO.

            FROM:             Real Hasta La Muerte LLC f/s/o Emmanuel Gazmey-Santiago, p/k/a “Anuel AA”,
                              both individually and on behalf of its music publishing designee(s) and so-called
                              “d/b/as”, including but not limited to Gazmey Music Publishing (ASCAP) c/o Singh,
                              Singh & Trauben, LLP, ATTN: Simran Singh, Esq., 400 South Beverly Drive, Suite
                              240, Beverly Hills, CA 90212 (Owner including all successors in title/heirs)

            TO:               Kobalt Music Services America, Inc. of 2 Gansevoort Street, 6th Floor, New York, NY
                              10014 (Administrator)


            DATE:              October 25, 2018


            1        Territory

                     The World, which is made up of Territory One and Territory Two comprising:

                     (i)      Territory One (comprising those countries directly administered by Administrator):

                              United Kingdom, Eire, France, Germany, Austria, Switzerland, Luxembourg,
                              Netherlands, Belgium, Denmark, Norway, Sweden, Finland, Iceland, Latvia,
                              Lithuania, Estonia, Italy, Spain, Portugal, Mexico, Singapore, Vietnam, Brazil,
                              Australia, New Zealand, the Philippines, Thailand, Argentina, Peru, Chile, Ecuador,
                              Colombia, Uruguay, Hong Kong, Macau, China, the United States of America and
                              Canada.

                      (ii)    Territory Two (comprising those countries administered by Administrator via third
                              parties):

                              The rest of the world excluding Territory One.

                      If at any time during the Term hereunder Administrator directly administers the Compositions
                      and collects monies in any country in Territory Two and no longer via a third party publisher,
                      licensee or agent then as from the commencement of the next accounting period thereafter
                      such country shall be deemed part of Territory One hereunder for the purposes of the royalty
                      computation of monies which are directly collected and which relate to monies arising from
                      such country.

            2        Term

                      (i)     The term of this Agreement (the “Term”) shall be for a period (“the Initial Period”)
                              of three (3) years from the date hereof provided that if the last day of the Initial Period
                              shall not otherwise fall on 31st March, 30th June, 30th September or 31st December
                              (each an “Accounting Date”) then the Term shall be deemed extended until the next
                              such Accounting Date. In the absence of written notice from either party terminating
                              the Initial Period a minimum of thirty (30) days prior to the last date of the Initial



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                              Period the Term shall automatically continue until either party provides the other party
                              with thirty (30) days written notice of termination provided that if such notice would
                              not otherwise expire on an Accounting Date then it shall be deemed extended until the
                              next Accounting Date.

                              Notwithstanding the foregoing if at the date the Term would otherwise expire the
                              Advance (as defined in clause 5(i)) remains unrecouped (taking into account a bona
                              fide estimate of pipeline income which for the purposes of this clause shall mean
                              royalties and fees which the Administrator has actually received but not yet accounted
                              to the Owner for hereunder (“Pipeline Income”)) then the Term shall automatically
                              extend to the Accounting Date following recoupment of the Advance (taking into
                              account a bona fide estimate of Pipeline Income).

                               In such circumstances the Owner has the right to terminate the Term during the
                              extended period of the Term prior to recoupment of the Advance by making payment
                              to the Administrator of one hundred twenty five percent (125%) of the unrecouped
                              balance (taking into account a bona fide estimate of Pipeline Income) of the Advance
                              at any time following the date of expiry of the Initial Period of the Term. In such event
                              the Term shall automatically expire at the end of the Accounting Period in which such
                              repayment by the Owner to the Administrator takes place. For the avoidance of doubt
                              the Rights Period (if applicable) and the Collection Period (as defined below) shall
                              follow any such termination of the Term.

                     (ii)     Intentionally deleted.

                     (iii)    There shall be a collection period for two (2) years following the expiration of the
                              Term (or Rights Period, as applicable) during which the Administrator shall have the
                              right to collect monies which arise from the exploitation of the Compositions
                              occurring prior to or during the Term (or Rights Period) (the “Collection Period”).
                              Notwithstanding the foregoing, with respect to any synchronisation licenses which are
                              properly issued by the Administrator during the Term (or Rights Period), it is agreed
                              that if such license is renewed (or if an option is exercised under such license) during
                              the Term (or Rights Period) or the two (2) year period immediately following the
                              Term (or Rights Period), then the Administrator shall be entitled to collect such
                              monies and the Collection Period with respect to any payment to be made pursuant to
                              the renewal or option exercise shall be for two (2) years following the effective date of
                              the renewal or option exercise.

                     (iv)     If at the date the Initial Period would otherwise expire, the Owner’s account remains
                              unrecouped (taking into account a bona fide estimate of Pipeline Income), then the
                              Administrator shall be granted all exclusive rights hereunder in all Compositions for
                              the duration of the Rights Period. The “Rights Period” shall mean the Term with an
                              additional consecutive two (2) year period. Notwithstanding the foregoing, solely in
                              the event that Owner’s account is fully recouped (taking into account a bona fide
                              estimate of Pipeline Income) as of the end of the Initial Period, then the Rights Period
                              shall not apply. For the avoidance of doubt, the Collection Period shall follow
                              expiration of the Rights Period (if applicable) or the Term (if there is no Rights
                              Period).

                              During the Rights Period:

                              (a)       the Administrator shall continue to be entitled to any and all identifiable
                                        monies arising from the Compositions; and




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                              (b)       to continue to administer related rights thereto and all such monies in
                                        accordance with the terms of this Agreement (for example, if, during the
                                        Rights Period, a third party wished to exploit a Composition for a
                                        synchronisation use, the Administrator would have the exclusive right to issue
                                        the relevant synchronisation licence).


            3        Subject Matter

                     (i)       The Compositions shall mean each musical composition (both music and lyrics)
                               adapted, arranged, written and/or composed in whole or in part by the Writer (and if in
                               part to the extent of the Writer's interest therein) prior to and/or during the Term
                               (including those that may be unfinished), including without limitation those
                               compositions (both music and lyrics) which are set out in the attached Schedule One
                               Part (i), but specifically excluding the Excluded Compositions (as defined in clause
                               3(ii)). For the avoidance of doubt, all compositions adapted, arranged, written and/or
                               composed by the Writer during the Term shall be immediately notified to
                               Administrator by email by Owner or Owner’s Authorised Representatives (as defined
                               in clause 4(iv) hereof) as specified in clause 4(iv) hereof.

                     (ii)      Notwithstanding clause 3(i), it is hereby acknowledged that certain compositions (the
                               “Excluded Compositions”) set out in Schedule One Part (ii) shall not qualify as
                               “Compositions” and shall be excluded from this Agreement.

                     (iii)    The Writer shall mean Emmanuel Gazmey-Santiago, p/k/a “Anuel AA”.


            4        Grant of Rights

                      (i)     Subject to the provisions of clause 4(vii) below, the Owner hereby exclusively grants
                              and licences to the Administrator the full and entire copyright (and including any and
                              all possible renewals revivals reversions and extensions of copyright as may be
                              applicable in any country in the Territory which occur during the Term) and all other
                              rights of whatever kind and nature in the Compositions including without limitation
                              rental and lending rights, rights of communication to the public and the right to collect
                              and receive during the Term, Rights Period (where relevant) and Collection Period one
                              hundred per cent (100%) of moneys arising from any and all exploitation of the
                              Compositions (whether the exploitation of the Compositions takes place before or
                              during the Term or Rights Period (where relevant) unless otherwise expressly
                              provided herein) throughout the Territory including, without limitation, private
                              copying levies and any monies previously paid to or collected by third parties in error
                              and to authorise third parties to do the foregoing throughout the Territory for the
                              Term. Notwithstanding the foregoing, for avoidance of doubt, nothing contained
                              herein shall be construed to assign, transfer or grant any of Owner’s copyright
                              ownership in and to any of the Compositions to Administrator.

                      (ii)    The Administrator shall obtain the Owner’s prior written approval in respect of:

                              (a)      save with respect to short form videos released by an artist or label in
                                       conjunction with a bona fide commercial release of a recording embodying a
                                       Composition, the synchronisation of any Composition with any audio-visual
                                       media;

                              (b)      the exploitation of the title of any Composition separate from such
                                       Composition;



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                              (c)      any licence or permission for the use of any Composition as a so-called
                                       “sample” in another musical composition;

                              (d)      the authorisation of any fundamental change to the music and/or lyrics of any
                                       Composition but excluding arrangements, remixes and faithful translations
                                       where the arranger, remixer or translator does not claim a share of the
                                       copyright;

                              (e)      the grant by Administrator of a mechanical licence at less than one hundred
                                       percent (100%) of the prevailing or statutory rate unless issued pursuant to
                                       controlled compositions clauses as per clause 4(viii) below; and

                              (f)      any merchandising or product tie-ins.

                      (iii)   Notwithstanding anything to the contrary contained elsewhere in this Agreement
                              including, without limitation, clause 4(ii) above, the Administrator shall not be
                              required to obtain the Owner’s approval with respect to:

                              (a)       those rights and uses granted under licences issued to third parties by
                                        collection societies (including, without limitation, the American Music Rights
                                        Association, Inc. (“AMRA”)) or similar bodies including, without limitation,
                                        under so-called blanket licences; or

                              (b)       any license issued by Administrator which applies to all (or substantially all)
                                        musical works administered by Administrator (including the Compositions)
                                        for which Administrator controls the applicable right in the applicable territory
                                        covered by said license.

                     (iv)     The Owner shall act reasonably and in good faith in exercising its discretion in
                              granting or withholding approvals hereunder. Any written approval granted by those
                              representatives of the Owner whose details are set out in Schedule Two Part (iv) or
                              such other parties as may be reasonably notified to Administrator by Owner from time
                              to time in writing (the “Authorised Representatives”) shall constitute the Owner’s
                              approval hereunder.

                     (v)      Approval provided by email shall be sufficient evidence of any such approval being
                              granted hereunder.

                     (vi)     For the avoidance of doubt, subject to the approval provisions set out elsewhere in this
                              Agreement, licences may be granted by the Administrator hereunder (and by third
                              parties authorised by the Administrator) in which the relevant term of such licence(s)
                              exceeds the Term or Rights Period (if applicable) of this Agreement (e.g.
                              synchronisation licences). For clarity and subject to clause 2(iii), the fact that an
                              approved license granted by Administrator contains a term which exceeds the Term or
                              Rights Period (if any) of this Agreement, will not operate to extend the duration of
                              Administrator’s overall rights in and to the underlying Composition which is the
                              subject of such license.

                      (vii)   For the avoidance of doubt this Agreement constitutes the granting of an exclusive
                              licence of rights to the Administrator in respect of the Compositions and the copyright
                              ownership of all Compositions remains vested in the Owner hereunder.

                              The Owner hereby as between the Owner and the Administrator reserves to the Owner
                              the right to exercise all so-called “grand rights” with respect to the Compositions and
                              to collect all monies arising therefrom. As used herein, “grand rights” refers solely to



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                              the use of one or more Compositions in an opera, musical play or work of musical
                              theatre. For clarity, “grand rights” shall not extend to the use of any Composition(s) in
                              audiovisual works.

                     (viii)   Owner shall provide Administrator with complete copies of any so called “controlled
                              composition clause” contained in recording, production or licensing agreements
                              (whether in existence at the commencement of the Term or entered into during the
                              Term) with third parties which may affect the Compositions (each a “Controlled
                              Compositions Clause”). The Owner will not purport to grant rights directly pursuant
                              to any Controlled Compositions Clause entered into by Owner following the
                              commencement of the Term; rather, such Clause shall be phrased as an undertaking by
                              Owner to cause its administrator to grant the applicable license, which grant shall be
                              subject to the remaining terms of this subparagraph. On a case by case basis, provided
                              that Administrator has received a copy of it and that the mechanical rates payable
                              under the applicable Controlled Composition Clause are no worse than a per physical
                              unit rate of not less than the full statutory rate prevailing at the date of release payable
                              on not less than eleven (11) tracks per physical album (i.e. no caps for a digital album)
                              and that the rest of the provisions are on reasonable commercial terms (i.e in line with
                              the prevailing market rate) then Administrator agrees to grant licenses in accordance
                              with such Controlled Composition Clause.

                     (ix)     The Administrator shall, in accordance with Administrator's policy in effect from time
                              to time (currently, Administrator’s policy is to file a copyright registration with the
                              U.S. Copyright Office with respect to (a) any Composition that appears on the
                              Billboard Hot 100 chart or the Billboard Latin Airplay 50 Chart (each a “Charting
                              Composition”), (b) any other Compositions then administered by Administrator in the
                              United States which are likewise embodied on the same long-playing album on which
                              the Charting Composition is initially embodied and (c) all of the Compositions then
                              administered by Administrator in the United States which are embodied on any long-
                              playing album that appears in the top fifty (50) of the Billboard 200 chart), endeavour
                              to file copyright registrations on behalf of Owner                   in respect of
                              certain qualifying Compositions with the     U.S. Copyright      Office (Administrator's
                              inadvertent failure to do so not shall not be deemed a material breach of this
                              Agreement) and shall be entitled to recoup one hundred percent (100%) of any and all
                              verifiable out of pocket costs (such costs to be reflected in the relevant accounting
                              statement to Owner) incurred solely in connection therewith from any and all royalties
                              otherwise payable by the Administrator to the Owner hereunder (including, without
                              limitation, any filing fees charged by the US Copyright Office and the cost of
                              purchasing any so-called "deposit copies" of the applicable CD on which the
                              respective qualifying Composition is embodied, but specifically excluding legal fees).

            5        Advance and Royalties

                      (i)     (a)      In consideration of the Owner’s grant of rights herein the Administrator shall,
                                       during the Term, pay to the Owner an advance of up to Three Million Two
                                       Hundred Fifty Thousand U.S. Dollars ($3,250,000) (the “Advance”) which
                                       shall be fully recoupable against all royalties, fees and other monies payable to
                                       the Owner hereunder.

                              (b)       The Owner gives the following specific warranties with respect to the
                                        Advance:

                                        (I)     the Owner shall own or control and deliver to Administrator, for
                                                administration under this Agreement no less than the percentages of
                                                the Compositions attributed to Owner’s ownership as set forth on


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                                                Schedule One, attached hereto and made part hereof by this reference,
                                                as of the commencement of the Term and performed by the artists also
                                                set forth on Schedule One Part (i) (together the “Subject
                                                Compositions”);

                                        (II)    Administrator shall be able to collect, from inception, all royalties,
                                                fees and other monies (excluding only the so-called “writer’s share” of
                                                public performance income) arising in the Territory in connection with
                                                Owner’s share of the Subject Compositions. In the event that the
                                                Owner, or a licensee, assignee or representative of the Owner has
                                                previously collected any of the royalties, fees and/or other monies
                                                described in the foregoing, the Advance shall be reduced by the
                                                amount of the royalties collected; and

                                        (III)   the gross mechanical royalty rate payable in the USA and Canada in
                                                respect of the Subject Compositions shall be not less than one hundred
                                                percent (100%) of the minimum statutory rate per composition at the
                                                relevant time with no caps or restrictions whatsoever;

                                                If the warranty set out in clauses 5(i)(b)(I) or 5(i)(b)(II) are breached,
                                                the Advance shall be reduced by the amount that Administrator is
                                                unable to collect as a result. If any of the other warranties set out in
                                                this clause 5(i)(b) are breached, the Advance shall be reduced on a
                                                pro-rata basis. If, by the time it becomes clear that said warranty or
                                                warranties have been breached, the Advance has already been paid in
                                                full or the amount by which the Advance(s) is due to be reduced as a
                                                result of the such breach exceeds the amount of the Advance payments
                                                which are yet to be paid, the Administrator shall have the right to
                                                make a written demand upon Owner repayment of such amounts as are
                                                appropriate in the circumstances (and upon such written demand the
                                                Owner shall make such payment within twenty (20) business days
                                                after receipt of the written demand).

                              (c)       The Advance shall be payable during the Term and as follows:

                                        (I)     Two Million Two Hundred Fifty Thousand U.S. Dollars ($2,250,000),
                                                inclusive of a one hundred fifty-seven thousand five hundred U.S.
                                                dollar ($157,500) payment payable directly to SST as defined in and
                                                pursuant to the Override as defined in Schedule Five attached to this
                                                Agreement (the “Signing Advance”) shall be payable within fourteen
                                                (14) days of the later of

                                                (aa)    full execution of this Agreement;

                                                (bb)    Administrator’s receipt of confirmation, to its reasonable
                                                        satisfaction, that the warranties set out in paragraph 5(i)(b)
                                                        above are accurate; and

                                                (cc)    Administrator’s receipt of a completed W9 tax form; and as to

                                        (II)    One Million U.S dollars ($1,000,000) (the “Second Advance
                                                Payment”) shall be payable to Owner within fourteen (14) days of the
                                                provision by Administrator to the Owner (if at all) of the first
                                                accounting statement which shows that 75% (seventy-five percent) of
                                                the Signing Advance has been recouped (the “Qualifying
                                                Statement”), provided that such Qualifying Statement is provided by


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                                                Administrator to the Owner within the first thirty (30) months of the
                                                Initial Period. Owner may notify Administrator in writing that Owner
                                                elects to forego the Second Advance Payment in which case the
                                                Second Advance Payment will (notwithstanding the terms set forth
                                                herein) not be paid to Owner.

                               (d)      No payment of royalties to the Owner shall be made until one hundred percent
                                        (100%) of the Advance has been recouped by the Administrator out of
                                        royalties and other monies accruing to the Owner’s royalty account hereunder.
                                        For the purposes of this Agreement the Qualifying Recoupment Date shall
                                        mean the date of commencement of the Accounting Period in which the
                                        accounting statement provided to the Owner in respect of the previous
                                        Accounting Period shows that the Advance has been recouped by the Owner
                                        from royalties and fees arising hereunder relating to the exploitation of the
                                        Compositions throughout the Territory and not further or otherwise.

                      (ii)    Royalties are to be computed on an At Source basis where provided below.

                              At Source Revenue shall mean one hundred per cent (100%) of all moneys actually
                              received by Administrator or an Affiliate (as defined below) (or credited to
                              Administrator's or an Affiliate’s account in reduction of an advance against royalties)
                              which is directly and identifiably attributable to the exploitation of the Compositions
                              after deduction only of:

                              (a)       bona fide arm's length performing rights or mechanical rights societies (or the
                                        equivalent thereof, including, without limitation, the Harry Fox Agency, the
                                        Canadian Musical Rights Reproduction Agency Ltd and AMRA)
                                        commissions/fees (or the equivalent thereof); and

                              (b)       VAT and any other taxes properly required to be deducted in any part of the
                                        Territory; and

                              (c)      any amounts paid by way of remuneration to arrangers, adaptors and
                                       translators such deductions being subject to the Owner’s prior written approval
                                       or in accordance with local society rules or regulations or otherwise in
                                       accordance with statute in each instance.

                              As used herein, the term “Affiliate” refers to an entity which (i) is majority owned
                              and/or controlled by Administrator; (ii) owns a majority of the capital stock of
                              Administrator; or (iii) is under common majority ownership or control with
                              Administrator. Notwithstanding the foregoing AMRA will not be deemed an Affiliate
                              hereunder.

                              For the avoidance of doubt:-

                              (I)      any costs and expenses incurred by the Administrator or an Affiliate in
                                       providing its administration services as expressly set out hereunder (including
                                       monies payable to third parties in this regard) save as expressly provided under
                                       sub clauses (a), (b) and (c) above and sub-clause 5(iii)(b)(II) shall be the sole
                                       responsibility of Administrator hereunder; and

                              (II)     monies which are received by Administrator or an Affiliate which are net of
                                       any retained amounts by a sub publisher in respect of its share shall be grossed
                                       up by such netted amount in computing the At Source Revenue hereunder.




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                    (iii)     In consideration of the rights granted Administrator shall pay the Owner the following
                              royalties and fees in respect of the exploitation of the Compositions in the Territory:

                              (a)       Print: Seventy five percent (75%) of all receipts actually received by the
                                        Administrator from third parties which are attributable to the
                                        reproduction/representation of the musical score and/or lyrics of the
                                        Compositions as physical sheet music, in books/magazines or in digital
                                        reproduction services where such exploitation takes place/originates in
                                        Territory One or Territory Two (save that in respect of royalties received by
                                        the Administrator after the Qualifying Recoupment Date (regardless of when
                                        the exploitation took place) the rate in Territory One shall be increased to
                                        ninety per cent (90%) and the rate in Territory Two shall be increased to
                                        eighty five per cent (85%) in lieu of the foregoing.

                              (b)       Mechanicals (Originals):

                                       (I)      In connection with the manufacture of mechanical devices (whether
                                                embodying sound alone or sound synchronised with visual images) for
                                                sale to the public and/or from the sale lease grant or other disposition
                                                of mechanical electrical digital or electronic reproduction (including
                                                by means of so called downloading, streaming, ring tones or
                                                otherwise) to the public to the extent that royalties arising therefrom
                                                are attributable to the mechanical element therefrom, seventy five per
                                                cent (75%) of At Source Revenue where in all instances such royalties
                                                are attributable to exploitation taking place in Territory One or
                                                Territory Two (save that in respect of royalties received by the
                                                Administrator after the Qualifying Recoupment Date (regardless of
                                                when the exploitation took place) the rate in Territory One shall be
                                                increased to ninety per cent (90%) and the rate in Territory Two shall
                                                be increased to eighty five per cent (85%) in lieu of the foregoing,
                                                both of which shall be calculated based upon At Source Revenue.

                                       (II)     In addition to clause 5(iii)(b)(I) above, the parties hereby acknowledge
                                                that the Administrator (either directly or via an Affiliate) currently
                                                engages in direct mechanical licensing to record companies and
                                                certain digital service providers in the United States. In consideration
                                                of the Administrator providing such services, the Owner agrees that
                                                the Administrator shall be entitled to deduct five percent (5%) of any
                                                mechanical royalties which it collects directly from a record company
                                                or digital service provider to whom the Administrator has issued a
                                                direct license provided that reporting and accountings under the
                                                applicable license are made directly to the Administrator (and not via a
                                                third party royalty processing intermediary retained by the licensee
                                                (e.g., MRI or the Harry Fox Agency)) (hereinafter, a “Direct License”
                                                and the “Direct Licensing Fee”, respectively). Such deduction shall
                                                be made “off the top” from At Source Revenue.

                                                In the event that the Administrator retains a third party mechanical
                                                licensing agent (including but not limited to the Harry Fox Agency) to
                                                license any record company or digital service in the United States then
                                                no Direct Licensing Fee will be applied to the royalties collected by the
                                                Administrator from such agent (i.e. such collected royalties will be
                                                treated as At Source Revenue).




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                                                In the event that the Administrator enters into a license which would
                                                not otherwise qualify as a Direct License by reason of the licensee
                                                using a third party royalty processing intermediary, it is nonetheless
                                                agreed that if the Administrator is able to receive usage data which
                                                enables the Administrator to perform royalty processing analysis at a
                                                level of detail commensurate with the analysis the Administrator would
                                                be able to perform under a Direct License, then the Administrator will
                                                be entitled to deduct a Direct Licensing Fee (not to exceed 5% of At
                                                Source Revenue attributable to mechanical royalties under the
                                                applicable license), provided that such fee percentage is also applied by
                                                the Administrator to all or substantially all of the Administrator’s
                                                clients in connection with such license.

                              (c)       Synchronisation Fees:

                                        In respect of the use and synchronisation of the Compositions in connection
                                        with any audio-visual media where in all instances such fees arise from
                                        licences granted in respect of productions originating in either Territory One
                                        or Territory Two, eighty per cent (80%) of At Source Revenue provided that
                                        the issuing of synchronisation licences in respect of which Administrator
                                        would be due to earn a commission of one hundred U.S dollars ($100) or less
                                        (a “Low Value Synch Licence”) shall be at the Administrator’s absolute
                                        discretion. If Administrator elects not to issue a Low Value Synch Licence,
                                        Administrator shall refer the potential licensee under such Low Value Synch
                                        Licence to Owner within a reasonable period of receiving the request for such
                                        Low Value Synch Licence and Owner shall have the right to issue such Low
                                        Value Synch Licence and to retain one hundred per cent (100%) of the
                                        synchronisation fee related thereto. For the avoidance of doubt, Administrator
                                        shall remain exclusively entitled to collect and receive all mechanical and
                                        performing right (with respect to the so-called “publisher’s share”) royalties
                                        and fees with respect to any consequential exploitation of the Composition
                                        under the Low Value Synch Licence in the Territory.

                              (d)       Any other income (Originals): (excluding performance royalties)

                                       (I)      Seventy five percent (75%) of At Source Revenue (other than
                                                performing right fees) directly and identifiably from any other source
                                                whatsoever from use and/or exploitation of the Compositions where
                                                such royalties are attributable to exploitation taking place in Territory
                                                One or Territory Two (save that in respect of royalties received by the
                                                Administrator after the Qualifying Recoupment Date (regardless of
                                                when the exploitation took place) the rate in Territory One shall be
                                                increased to ninety per cent (90%) and the rate in Territory Two shall
                                                be increased to eighty five per cent (85%) in lieu of the foregoing,
                                                both of which shall be calculated based upon At Source Revenue.

                              (e)      Cover Recordings and Co- Written Compositions: in lieu of the rate set
                                       forth in sub clauses 5(iii)(b) and 5(iii)(d) with respect to royalties received
                                       after the Qualifying Recoupment Date, only - eighty per cent (80%) of At
                                       Source Revenue in the Territory. For the avoidance of doubt it is confirmed
                                       that it is only the exploitation of the Composition as it is embodied on the
                                       Cover Recording or Co-Written Composition that attracts the royalty rates set
                                       out in this sub clause (e);




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                                       “Cover Recordings” shall mean any recording of a Composition recorded by a
                                       recording artist during the Term or within a period of one (1) year following
                                       the last day of the Term and released for general sale to the public on record or
                                       by way of digital download or electronic methods or means which recording
                                       has been procured by the direct efforts of the Administrator and/or its licensees
                                       and/or sub-publishers and/or agents acting on its behalf;

                                       “Co Written Composition” shall mean any Composition written by the Writer
                                       with a third party which “co-write” results from the direct efforts of the
                                       Administrator and/or its licensees and/or sub-publishers and/or agents acting
                                       on its behalf.

                              (f)        Performance Fees: The so-called “writer's share” shall be fifty per cent
                                         (50%) and the so-called “publisher's share” shall be fifty per cent (50%) and
                                         the writer's share shall be paid to the Writer (it being understood that if the
                                         Administrator receives such writer’s share in any case, the same will be paid
                                         either to the Writer or to the Writer’s performing right organization (as more
                                         specifically referred to in clause 7(xii)(a) below), as appropriate in
                                         Administrator’s good faith business judgement) without regard to the
                                         recoupment status of the Owner’s account and without deduction of an
                                         administration fee by Administrator hereunder). Administrator shall receive
                                         the publisher's share and shall pay the Owner fifty per cent (50%) of At
                                         Source Revenue for such share hereunder where such monies are attributable
                                         to exploitation taking place in Territory One or Territory Two (save that in
                                         respect of royalties received by the Administrator after the Qualifying
                                         Recoupment Date (regardless of when the exploitation took place) the rate in
                                         Territory One shall be increased to eighty per cent (80%) and the rate in
                                         Territory Two shall be increased to seventy percent (70%), in lieu of the
                                         foregoing, both of which shall be calculated based upon At Source Revenue;
                                         save that where Administrator can identify performing right fees and royalties
                                         which are attributable to exploitation of Cover Recordings and Co-Written
                                         Compositions, Administrator agrees to credit the Owner's royalty account
                                         with seventy per cent (70%) of Administrator's share in lieu of the foregoing
                                         rates applicable to royalties received after the Qualifying Recoupment Date.

                              (g)        “Black Box Funds”

                                         (I)    The Relevant Percentage (as defined below) of gross monies collected
                                                or received by Administrator from any so-called “black box” funds or
                                                any funds paid by any collection society or otherwise to Administrator
                                                by way of general distribution on a country by country basis. In the
                                                event that such funds are not wholly identifiable and attributable to the
                                                Compositions then the proportion of such funds to which this sub-
                                                clause shall apply shall be calculated by multiplying such funds by a
                                                fraction the numerator of which shall be the total At Source Revenue
                                                received by Administrator arising from the applicable country in
                                                Territory in respect of the Compositions for the preceding twelve (12)
                                                month period and the denominator of which shall be the total income
                                                received by Administrator arising from the applicable country in
                                                Territory in respect of the Compositions and any other compositions
                                                not the subject of this Agreement for the preceding twelve (12) month
                                                period (the “Black Box Percentage”) such computation to be made on
                                                a twelve (12) monthly basis and otherwise accounted pursuant to the
                                                terms hereof.




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                                       (II)     The Relevant Percentage shall be the average royalty rate accounted to
                                                the Owner by Administrator for all the Compositions during the
                                                relevant twelve (12) month period from all forms of exploitation
                                                hereunder arising from the Territory excluding “Black Box” funds.

                                       (III)    For the avoidance of doubt no representation is made by Administrator
                                                to the Owner hereunder that Administrator will be entitled to such
                                                “Black Box” funds during the Term and will not be otherwise
                                                accountable for such funds save as arise hereunder.

                                       (IV)     Notwithstanding the provisions set out above if the Black Box
                                                Percentage as computed above would be less than one per cent (1%)
                                                for the relevant period of computation of the total At Source Revenue
                                                received by Administrator arising from the applicable country in
                                                Territory then no “Black Box” funds will be allocated or accounted to
                                                the Owner in respect of such period of computation.

                               (h)     Unallocated Advance Balances / Unallocated Minimum Income Guarantee
                                       Payment Balances

                                       (I)      If, at any time during the Term, there is an advance or a minimum
                                                income guarantee payment which the Administrator has received from
                                                a third party licensee which is not a collection society or similar body
                                                in respect of the catalogue of compositions which it controls and
                                                which, at the end of the relevant period of the license, has not been
                                                and cannot be attributed to the exploitation of one or more specific
                                                compositions forming part of the Administrator’s catalogue (each an
                                                “Unallocated Advance Balance” or “Unallocated Minimum
                                                Income Guarantee Payment Balance”, as appropriate), the
                                                Administrator will, subject to the following, distribute a portion of
                                                such Unallocated Advance Balance / Unallocated Minimum Income
                                                Guarantee Payment Balance to the Owner on the following basis:

                                                (aa)   To determine the portion of the relevant Unallocated Advance
                                                       Balance or Unallocated Minimum Income Guarantee Payment
                                                       Balance which may be distributed to the Owner (the “Shared
                                                       Unallocated Balance”), the Administrator shall multiply the
                                                       relevant Unallocated Advance Balance or Unallocated
                                                       Minimum Income Guarantee Payment by a fraction, the
                                                       numerator of which shall be the total At Source Revenue
                                                       received by Administrator under the relevant licence for the
                                                       period of exploitation to which the relevant advance or
                                                       minimum income guarantee payment related and the
                                                       denominator of which shall be the total income received by
                                                       Administrator under the relevant licence for the same period
                                                       (such fraction shall be known as the “Owner’s Pro-Rata
                                                       Fraction”);

                                                (bb)   Provided that the Owner’s Pro-Rata Fraction is larger than one
                                                       over two hundred (1/200), the Shared Unallocated Balance
                                                       shall be processed by the Administrator as though it were At
                                                       Source Revenue received under the relevant licence and the
                                                       Owner’s portion paid/credited to the Owner in the normal
                                                       accounting cycle set out in Clause 6(i) below;



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                                                (cc)   For the avoidance of doubt, no representation is made by
                                                       Administrator to the Owner hereunder that Unallocated
                                                       Advance Balances and/or Unallocated Minimum Income
                                                       Guarantee Payment Balances shall arise under this Agreement.

                                        (II)    Notwithstanding Clause 5(iii)(h)(I) above, if a licensee does not
                                                provide sufficient usage data to allow Administrator to calculate
                                                Owner’s Pro-Rata Fraction as contemplated, Administrator will have
                                                the right, acting in its reasonable discretion, to apply a different
                                                methodology for distributing the relevant Unallocated Advance
                                                Balance or Unallocated Minimum Income Guarantee Payment, and
                                                Administrator will disclose such methodology to Owner upon written
                                                request.

                     (iv)     Intentionally deleted.

                     (v)      Notwithstanding anything to the contrary contained in the foregoing, the parties hereto
                              acknowledge that it may be impossible for Administrator to collect one hundred per
                              cent (100%) (fifty per cent (50%) in the case of performance) of all royalties due in
                              respect of exploitation of the Compositions in various countries throughout the
                              Territory as a result of the rules or practices of the collection society of which the
                              Writer is a member. In each instance wherein the Administrator is paid less than one
                              hundred per cent (100%) (fifty per cent (50%) in the case of performance) of any
                              royalties due in respect of exploitation of the Compositions as a result of such rules or
                              practices, the Administrator shall be entitled to “gross up” the commission to be
                              deducted by Administrator when calculating the amount of such royalties to be paid to
                              the Owner hereunder to the effect that the Administrator shall always be entitled to
                              retain a percentage of the total gross royalties paid out by the relevant collection
                              society commensurate with the rates for the corresponding territory set out in clause
                              5(iii)(f) in respect of performance and the rates set out in clause 5(iii)(b) with respect
                              to all other exploitation of the Compositions.

            6        Accounting

                     (i)      Quarterly annual accounting within sixty five (65) days of each of the quarterly
                              periods ending on each Accounting Date (the “Accounting Period(s)”). The Owner
                              hereby requests and authorizes that the Administrator, solely as an accommodation to
                              the Owner, shall pay the Override as directed and defined in Schedule Five to the SST
                              (also as defined in Schedule Seven attached hereto).

                     (ii)     A statement of account shall be made available electronically to the Owner pursuant to
                              clause 6(i) by way of a downloadable secure “pdf” file (or similar format) which may
                              be accessed only by the Owner (and the Administrator and the Administrator’s
                              employees) on the Administrator’s website [www.kobaltmusic.com] or such other
                              website address as the Administrator may notify to the Owner from time to time. In
                              the event that a statement of account is not available on Administrator’s website when
                              due, pursuant to clause 6(i), Administrator shall use reasonable endeavours to provide
                              such statement to Owner via email upon request. The Administrator shall update the
                              information contained on the Owner’s statement of account no less than quarterly in
                              respect of each Accounting Period save that Administrator shall not be obliged to
                              provide such statement of account in respect of the first (1st) Accounting Period
                              following the date hereof since no royalties are likely to have accrued in such period
                              due to the time it takes for the Compositions to be registered at the societies and the
                              first distributions to be made. For the avoidance of doubt, any monies that have
                              accrued during the first (1st) Accounting Period will be carried forward to the next


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                              Accounting Period. The Owner hereby acknowledges and agrees that the process set
                              out in this clause fulfils the Administrator’s accounting obligations to the Owner and
                              that the Owner will comply with the terms and conditions of use as published on the
                              Administrators website (as applicable).

                     (iii)    Payment of royalties due to the Owner shall be made by wire transfer to the Owner in
                              accordance with the bank details provided by the Owner as contained in Part 4 of
                              Schedule Two save where the amount to be paid is less than two hundred and fifty U.S
                              dollars ($250) in which case such amount shall not be paid but shall be carried forward
                              to the end of the next Accounting Period until the aggregated sum(s) of such royalties
                              carried forward is two hundred and fifty U.S dollars ($250) or more. Each party shall
                              be responsible for their own banking charges.

                     (iv)     Save as set out in sub-clauses 5(iii)(g) and 5(iii)(h) above, Administrator shall only
                              account for moneys received by Administrator wholly identifiable (in terms of the
                              writer(s) and composition(s) to which it relates) and attributable to the exploitation of
                              the Compositions hereunder (subject to withholding taxes).

                     (v)      Owner shall have the right to appoint an independent chartered accountant to audit the
                              Administrator’s books and records solely to the extent that they relate to the
                              Compositions once per annum on giving reasonable notice at the Owner’s cost and
                              expense. In the event that any such audit reveals an underpayment to the Owner of five
                              percent (5%) or more of the sums received by the Administrator and due to the Owner
                              for the Accounting Periods which are the subject of such audit (and such five per cent
                              (5%) is not less than five thousand U.S dollars ($5,000)) then Administrator shall
                              reimburse Owner for the reasonable costs incurred relating to such audit subject in any
                              event to a maximum sum in respect of such reasonable audit costs of two thousand
                              U.S dollars ($2,000). No statement shall be objected to later than three (3) years after
                              being submitted hereunder nor any legal action taken with respect thereto.

                    (vi)      Administrator shall be entitled to deduct or authorise the deduction of any sums which
                              may be demanded from Administrator or its licensees by the governments or other
                              fiscal authorities of the respective countries in which the Compositions are exploited.
                              It is also acknowledged that some such deductions may be made by Administrator’s
                              licensees under the laws of the country in which they are domiciled without prior
                              reference to the Administrator. Administrator shall use reasonable commercial
                              endeavours to obtain the benefit of so called “double tax treaties” to prevent or reduce
                              any such deductions. Administrator shall upon request use reasonable commercial
                              endeavours to provide the Owner with a certificate or other evidence of any deduction
                              or withholding and shall, on request, further provide the Owner with such reasonable
                              assistance as may be practicable for the Owner to seek to reclaim such deduction or
                              withholding or obtain a credit for the same.

                     (vii)    Owner shall complete a “W9” tax form as set out in Schedule Four hereto and return
                              the same to the Administrator at the time of execution of the Agreement.

                      (viii) Owner will remain solely liable and responsible for any and all accounting and
                             payment obligations with the Writers (including any audit claims) both under contract
                             and at common law and hereby undertakes to Administrator that it shall pay the
                             Writers as per the Writer Agreements (as defined in clause 7(i) below) and hereby
                             indemnifies, on demand, the Administrator against any loss or damage or cost or
                             liability or expense (including all out of house legal expenses) suffered by the
                             Administrator by virtue of the Owner’s failure to do so.




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            7       Warranties

                    The Owner hereby warrants undertakes and represents that:

                              (i)       Owner is free to enter this Agreement and make these grants herein contained
                                        free and clear from all liens claims and encumbrances and gives all necessary
                                        consents required under the laws of any country in the Territory to exploit the
                                        Compositions in accordance with the terms hereof.

                               (ii)     The Compositions are unencumbered and original copyright works and are
                                        neither defamatory nor obscene and will not infringe the rights or copyright of
                                        any third party.

                              (iii)     There are no Writer or third party legal proceedings or claims or disputes in
                                        existence (whether pending or threatened) relating to any of the Compositions
                                        as at the date of this Agreement and the Owner shall immediately put the
                                        Administrator upon formal written notice should any such circumstances arise
                                        hereafter during the Term either in respect of any existing Compositions or
                                        any new Compositions (without prejudice to the Administrator’s ongoing right
                                        to fully rely upon the indemnity from the Owner to the Administrator as
                                        provided hereunder in any and all such circumstances).

                              (iv)      Administrator shall be entitled to use Writer's name, approved likenesses and
                                        approved biographies throughout the Territory in connection with the
                                        promotion and exploitation of the Compositions and in the promotion of the
                                        music publishing business of the Administrator. Notwithstanding the
                                        foregoing, neither party shall issue any press releases or make any other
                                        announcements (including, without limitation, posts on social media sites or
                                        apps) with regard to the existence of this Agreement without the prior written
                                        approval of the other.

                              (v)       The Writer shall not assert any and all so-called moral rights arising under this
                                        Agreement against the Administrator and/or its licensees and/or agents
                                        authorised by the Administrator (whether under a specific licence or a blanket
                                        licence).

                              (vi)      All information provided for and on behalf of the Owner to the Administrator
                                        with respect to the Compositions; the interest of the Writers therein; or to the
                                        Writers, shall be true, complete and accurate and all such information shall be
                                        provided by the Owner as soon as the Compositions are made available to the
                                        Administrator for administration hereunder.

                              (vii)     The Schedules shall be deemed to form an integral part of this Agreement and
                                        shall be completed by the Owner and returned to the Administrator at the time
                                        of execution of the Agreement. All information included therein and any
                                        amendments thereto which may be communicated to the Administrator by or
                                        on behalf of the Owner from time to time shall be true accurate and complete
                                        and the Administrator shall be entitled to rely upon all such information for all
                                        purposes in order to provide its services hereunder unless and until the Owner
                                        notifies Administrator in writing to the contrary (without prejudice to the
                                        Administrator’s ongoing right to fully rely upon the indemnity from the Owner
                                        to the Administrator as provided hereunder in any and all such circumstances).

                              (viii)    During and at all times after the Term of this Agreement the Owner undertakes
                                        not to disclose or publish or negligently cause any unauthorised disclosure to



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                                        any third party (save its own professional advisors where necessary or where
                                        required to be disclosed by law or order of a court of competent jurisdiction or
                                        a regulatory/governmental body, or in connection with a legal process arising
                                        out of a litigation related to this Agreement (collectively, “Legal Process”))
                                        any Confidential Information without the prior written approval of the
                                        Administrator. To the extent not prevented by law, if the Owner intends to
                                        disclose Confidential Information pursuant to a Legal Process it will give the
                                        Administrator prompt notice of such intended disclosure so that the
                                        Administrator may seek (at its sole expense) an appropriate protective order or
                                        other appropriate remedy. For the purposes hereof “Confidential
                                        Information” shall include without limitation all the specific terms of this
                                        Agreement and any information relating to Administrator’s business, financial,
                                        technical or other affairs disclosed to Owner indirectly or directly by
                                        Administrator which is not in the public domain.

                              (ix)      Owner shall not take or authorize or permit to be taken any action in
                                        derogation of Administrator’s rights hereunder.

                              (x)       Owner shall complete the Letter of Direction set out in Schedule Three hereto
                                        at the time of execution hereof and shall return a signed copy of the same with
                                        each partially-executed Agreement.

                              (xi)      Neither the Owner, the Writer nor any assignee, licensee, agent or other
                                        representative of the Owner or Writer has taken or shall take any advance(s) or
                                        guarantee payments of any kind against the so-called “publisher’s share” of
                                        any monies which are attributable to the exploitation of one or more
                                        Compositions in the form of public performance from a collection society,
                                        agency or similar body.

                              (xii)     (a)     the Owner and the Writer are members of ASCAP (hereinafter, the
                                                “PRO”);

                                        (b)     the Owner and the Writer registered the so-called “d/b/a names” set out
                                                in part (ii) of Schedule Two hereto (the “Owner’s D/B/A Names” and
                                                the “Writer’s D/B/A Names” respectively) with the PRO;

                                        (c)     the Owner is the sole entity that formed/owns the Owner’s D/B/A
                                                Names and the Writer is the sole entity that formed/owns the Writer’s
                                                D/B/A Names; and

                                        (d)     unless Administrator otherwise consents in writing, the Owner will
                                                remain a member of either the PRO or BMI/SESAC or another
                                                performing rights organization which provides equivalent protection to
                                                Administrator with respect to licensing and collection of performing
                                                rights as are accorded to Administrator by thePRO. Without limiting
                                                the foregoing, in the event that the Owner or Writer joins a different
                                                performing rights organization during the Term (a “New PRO”), the
                                                Owner and the Writer will promptly notify Administrator of such
                                                occurrence and cooperate with Administrator in order to effectuate the
                                                new PRO’s rights with respect to the Compositions in a manner which
                                                is not less favourable to Administrator than the rights enjoyed by
                                                Administrator when the Owner was affiliated with ASCAP, BMI or
                                                SESAC.




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                               (xiii) The Writer shall, during the Term, remain an active songwriter with an output
                                      which is reasonably commensurate with the Writer’s average level of activity
                                      over the three (3) years which preceded the execution of this Agreement.

                              (ix)      The Letter of Inducement set out in Schedule Six shall be executed by
                                        Emmanuel Gazmey-Santiago upon the date of signature hereof.

            7A       Administrator’s Warranties and Representations

                     (i)      The Administrator hereby warrants and represents that:

                              (a)       During the Term the Administrator shall use all reasonable efforts to promptly
                                        ensure that all Compositions are correctly registered with all the applicable
                                        collection societies throughout the Territory, and that all Compositions are
                                        properly licensed by the record labels or owners of any released master
                                        recordings embodying the Compositions, and account to Administrator for the
                                        same.

                              (b)       During the Term the Administrator shall use all reasonable efforts to ensure
                                        that its sub-publishers account to Administrator no less frequently than on a
                                        quarter-annual calendar basis in respect of income arising from the
                                        exploitation of the Compositions received by the applicable sub-publisher
                                        within the immediately preceding accounting period.

                              (c)       Administrator agrees to indemnify Owner and hold Owner harmless from any
                                        and all loss, liability and expense incurred by reason of any third party claim
                                        arising from a breach of Administrator’s warranties, representations and
                                        undertakings herein PROVIDED THAT such indemnity shall be limited to
                                        sums incurred pursuant to the adverse judgement of a court or tribunal of
                                        competent jurisdiction or a settlement or compromise entered into with
                                        Administrator’s prior written consent (which consent shall not be
                                        unreasonably withheld or delayed).

                              (d)       During the Term the Administrator shall use reasonable efforts to maintain and
                                        continue to provide a digitally based automated efficient, accurate and
                                        transparent registration, administration and collection service under the
                                        Agreement, including with regards to registration of the Compositions and the
                                        royalty tracking and reporting thereof.

                              (e)       During the Term the Administrator shall ensure that its online portal
                                        (including any of its features therein, whether now included or added in the
                                        future), is and remains available and accessible. Notwithstanding the
                                        foregoing, if the online portal becomes in accessible through no fault of
                                        Administrator, Administrator shall not be in breach of this Agreement.


             8       Indemnity and Third Party Claims

                      (i)     The Owner shall fully indemnify the Administrator on an indemnity basis for any loss
                              or damage or cost or liability or expense (including all reasonable out of house legal
                              expenses on an indemnity basis) suffered by Administrator resulting directly or
                              indirectly from a breach or alleged breach of the grant of rights and/or warranties
                              and/or representations provided herein by the Owner which arise from any third party
                              dispute, claim, or action (“Third Party Claim”)




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                              subject to the occurrence of one (1) of the following events and subject to clause
                              8(iii):-

                                        (a)     any such Third Party Claim being reduced to a judgment in a court of
                                                competent jurisdiction; or

                                        (b)     any such Third Party Claim being settled with the Owner's prior
                                                written approval which approval shall not be unreasonably withheld or
                                                delayed; or

                                       (c)      any such Third Party Claim being withdrawn or not proceeded with
                                                (as determined by the Administrator acting reasonably and in good
                                                faith) by the third party claimant.

                     (ii)     The Administrator shall put the Owner upon written notice of a Third Party Claim and
                              shall thereafter have the right to withhold the payment of any and all monies to the
                              Owner in an amount commensurate with the relevant Third Party Claim and (without
                              prejudice to its other rights of recovery hereunder) to use and apply any and all such
                              monies pursuant to the terms of this indemnity provision.

                              Subject to clause 8(iii):

                              (a)       if, at any time, one of the events referred to under clause 8(i)(a), 8(i)(b) or
                                        8(i)(c) occurs all monies so withheld shall be released to Owner without
                                        prejudice to the right of the Administrator to continue to rely upon this
                                        indemnity provision with respect to the relevant Third Party Claim thereafter
                                        but subject to:

                                        (I)     any payment obligations the Owner or the Administrator may have in
                                                connection with the relevant Third Party Claim in accordance with the
                                                provisions of clause 8(i); and

                                        (II)    the Administrator’s right to continue to withhold monies in an amount
                                                commensurate with the Third Party Claim to the extent the claimant
                                                has filed (or may legally still file) a valid notice of appeal or its
                                                substantial equivalent; and

                              (b)       if none of the events referred to under clause 8(i)(a), 8(i)(b) or 8(i)(c) occur
                                        within twelve (12) months of the Administrator’s notice of Third Party Claim
                                        to the Owner hereunder then (unless settlement negotiations are current at such
                                        time or Administrator believes reasonably that the applicable Third Party
                                        Claim remains active) all monies so withheld shall be released to Owner
                                        without prejudice to the right of the Administrator to continue to rely upon this
                                        indemnity provision with respect to the relevant Third Party Claim thereafter.

                     (iii)    Without prejudice to the foregoing immediately upon the Administrator’s service of
                              notice of Third Party Claim to the Owner, the Owner shall use its best efforts to
                              directly deal with the Third Party Claim and the third party claimant at its own cost
                              and expense unless otherwise mutually agreed by the parties. To the extent that the
                              Administrator has to deal with any such Third Party Claim it shall have the right to
                              demand and be paid its actual out of pocket expenses on an on-going basis without
                              prejudice to such right to rely upon the provisions of sub clause 8(ii). If the Owner
                              does not pay the Administrator such out of pocket expenses within seven (7) days of
                              the Administrator’s demand therefore then in addition to the right to withhold monies




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                              under the provisions of sub clause 8(ii) the Administrator shall have the automatic
                              right to apply any withheld monies against such out of pocket expenses.

                     (iv)     The provisions of this clause 8 shall survive expiry or earlier termination (for any
                              reason whatsoever) of this Agreement and shall continue to have full legal force and
                              effect without limit in time.

            9        Protection of Rights

                     (i)      Administrator shall have the exclusive right (but not the obligation) to take such action
                              as it deems necessary against any third party to protect all rights and interests acquired
                              by Administrator under this Agreement. The Administrator shall consult with the
                              Owner before taking any such action and take its views into account at all times.

                     (ii)     If the Administrator notifies the Owner in writing that it does not wish to take any
                              action pursuant clause 9(i) in respect of a particular third party then the Owner may
                              take such action as the Owner deems reasonably necessary at its own expense
                              provided that Owner shall consult with the Administrator before taking any such
                              action and take its views into account at all times.

                     (iii)    Notwithstanding the foregoing Administrator shall, either itself directly or indirectly
                              by giving its approval of class actions or actions brought by industry bodies/agencies,
                              be able to settle disputes/claims (including, without limitation, audits) on behalf of all
                              the compositions (including the Compositions) in its catalogue (each a “Catalogue
                              Wide Settlement”) without being required to obtain the Owner’s prior approval. Such
                              settlements may be on basis of any of the following:

                              (a)       If the Administrator has directly incurred any out of pocket expenses in
                                        securing a Catalogue Wide Settlement it shall be entitled to reimburse itself
                                        “off the top” of any proceeds it receives in respect of such Catalogue Wide
                                        Settlements with any balance being treated as “At Source Revenue” if
                                        Administrator receives usage data from the party settling the dispute or if not
                                        then treated as Black Box income as per Clause 5(iii)(g) above;

                              (b)       If the Administrator has approved a class action Catalogue Wide Settlement
                                        then it is acknowledged that the attorneys who brought the class action shall be
                                        entitled to deduct their legal fees “off the top” of the proceeds before
                                        Administrator is paid any share in respect of its catalogue. The monies that
                                        Administrator actually receives shall be treated as “At Source Revenue” if
                                        Administrator receives usage data from the party settling the dispute or if not
                                        then treated as Black Box income as per Clause 5(iii)(g) above; and

                              (c)       If Administrator has approved an action brought by an industry body/agency
                                        which has resulted in a Catalogue Wide Settlement then it is acknowledged
                                        that the industry body may be entitled to deduct their out of pocket expenses
                                        or membership fees for the Administrator’s membership of such industry
                                        body/agency “off the top” of the proceeds before Administrator is paid any
                                        share in respect of its catalogue. The monies that Administrator actually
                                        receives shall be treated as “At Source Revenue” if Administrator receives
                                        usage data from the party settling the dispute or if not then treated as Black
                                        Box income as per Clause 5(iii)(g) above.




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            10        Termination

                      (i)      Notwithstanding the provisions herein, if either party materially defaults in the
                               performance of any of its material obligations or duties and such default is either not
                               capable of being cured or such default continues for a period of forty-five (45) days
                               (thirty (30) days with respect of non-payments of monies) after receipt by the other
                               party of notice in writing from such party alleging such default, such party shall be
                               entitled to terminate the Term, Collection Period and Rights Period of this Agreement
                               immediately thereafter without prejudice to any and all other remedies that may be
                               available to it. Notwithstanding the foregoing, a failure by Administrator to obtain
                               approval or agreement in accordance with this Agreement, which failure is therefore
                               prima facie incapable of cure, will not in and of itself give rise to a termination right as
                               set forth in the immediately preceding sentence provided that such failure is
                               inadvertent and non-repetitive.

                     (ii)      If Administrator files a petition in bankruptcy which is not dismissed within sixty (60)
                               days, is adjudicated as bankrupt, or makes an arrangement or assignment for the
                               benefit of creditors which is not dismissed within sixty (60) days then Owner shall
                               have the right by providing written notice to terminate the Term, Collection Period and
                               Rights Period (if any) of this Agreement provided that if at the expiry of the relevant
                               sixty (60) period the Advance is not fully recouped then Owner shall not have such
                               right..

                     (iii)     It is the Owner’s sole responsibility to make the necessary arrangements for post
                               Collection Period payments to be made directly to Owner by the relevant third parties
                               (as the case may be) and at the Owner’s request the Administrator shall give its
                               reasonable assistance to give effect to the same in line with industry practice.

                     (iv)      Notwithstanding the foregoing in the event that following the expiry of all the rights of
                               the Administrator hereunder (including the right of the Administrator to collect monies
                               during the Collection Period referred to in sub clause 2(iii)) the Administrator shall
                               continue, through no fault of the Administrator, to receive fees and royalties derived
                               from the use and/or exploitation of the Compositions, the Administrator shall account
                               to the Owner as provided herein for one hundred per cent (100%) of any and all such
                               monies received subject to the deduction of the commission to which Administrator
                               would be entitled under clause 5(iii) had such monies been collected by Administrator
                               during the Term/Collection Period.

            11       Notices

                     All notices (save as otherwise expressly provided herein) under this Agreement shall be sent
                     by courier or by recorded mail with proof of delivery to the addresses set forth on page 1 and
                     shall be deemed served on the date signed for by the recipient party. Notices served on
                     Administrator shall be sent to the Director of Business Affairs at the address set forth on page
                     1 of this Agreement or such address as may otherwise be notified by Administrator to the
                     Owner in writing during the Term. Notices served on Owner shall, in addition to the address
                     set forth above (as may be updated by Owner in writing to Administrator), include a courtesy
                     copy to Singh, Singh & Trauben, LLP, 400 S. Beverly Dr, Suite 240, Beverly Hills, CA
                     90212, Attn: Simran Singh, Esq., unless otherwise notified by Owner to Administrator in
                     writing during the Term, provided that the inadvertent failure to provide such courtesy copy
                     shall not indicate the original notice. For the avoidance of doubt notification of new
                     Compositions and approval notices shall be satisfied by compliance with the provisions of
                     clause 3 and clause 4(iv).




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            12       Miscellaneous

                     (i)      This Agreement has been entered into in the State of New York, and the validity,
                              interpretation and legal effect of this Agreement shall be governed by the laws of the
                              State of New York applicable to contracts entered into and performed entirely within
                              the State of New York without regard to choice of laws principles. The state courts of
                              the State of New York in New York County, and the Federal Courts for the Southern
                              District of New York, shall have sole and exclusive jurisdiction and venue of any and
                              all controversies regarding or arising from this Agreement (a “Related Action”). Any
                              Related Action will be brought in those courts, and not elsewhere. In connection with
                              any Related Action, the parties hereto expressly consent to personal jurisdiction in the
                              State of New York and hereby agree to waive any objections based upon lack of
                              personal jurisdiction, lack of subject matter jurisdiction, forum non conveniens or any
                              similar ground.

                     (ii)     The parties hereto acknowledge and agree that:

                              (a)       each party and its counsel reviewed and negotiated the terms and provisions of
                                        this Agreement and have contributed to its revision;

                              (b)       the rule of construction that any ambiguities are resolved against the drafting
                                        party shall not be employed in the interpretation of this Agreement; and

                              (c)       the terms and provisions of this Agreement shall be construed fairly as to all
                                        parties, regardless of which party was generally responsible for the preparation
                                        of this Agreement.

                     (iii)    This Agreement may be assigned in whole or in part by the Administrator to:

                              (a)       any parent subsidiary or associated company of the Administrator (including,
                                        without limitation, Kobalt Music Copyrights SARL and KMR Music
                                        Royalties II SCSp) or to any subsidiary of the Administrator's parent company
                                        or to any other company with which the Administrator may merge or which
                                        acquires a controlling interest in or a substantial portion of the stock or the
                                        business or the catalogue of the Administrator, save that Administrator shall
                                        remain secondarily liable in the event of any such assignment unless the
                                        assignee (or acquirer, as applicable) has agreed in writing to assume the
                                        obligations of Administrator hereunder; and

                              (b)       by way of a charge in favour of a bank or institution that provides financing
                                        for the Administrator or the corporate group of which it is a part, to any such
                                        bank or institution (or its nominee) upon exercise of remedies in respect of
                                        such charge, and to any third party designated by such bank or institution (or
                                        nominee) in connection with a disposition of this Agreement after an exercise
                                        of remedies.

                              Nothing in this clause shall serve to prevent or restrict the Administrator from
                              licensing the rights granted to it under this Agreement in the Compositions in the
                              ordinary course of business. The Owner shall not assign transfer license or charge in
                              whole or in part this Agreement (or any of the Compositions or any of the rights
                              therein) without the prior written consent of the Administrator (provided that
                              Administrator shall not unreasonably withhold or delay written approval over any
                              assignment by Owner). Any such purported transaction that is not approved in writing
                              by Administrator shall automatically be deemed invalid and ineffective hereunder.




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                     (iv)     The Owner shall do all further things or execute any further documentation reasonably
                              required by the Administrator for the purposes of giving effect to the terms of this
                              Agreement.

                     (v)      It is acknowledged that the Administrator collects and processes personal data of the
                              Writer for the purposes of carrying out its services under this Agreement and shall use
                              such data in accordance with the Kobalt Group Privacy Statement attached hereto at
                              Schedule Seven.

                     (vi)      This Agreement shall not constitute a partnership or joint venture between the parties.

                     (vii)   This Agreement and the Schedules hereto, which are hereby incorporated by reference,
                             constitute the entire agreement between the parties. This Agreement supersedes any and
                             all prior negotiations understandings and agreements between the parties with respect to
                             the subject matter of this Agreement. Each of the parties acknowledges and agrees that
                             neither party has made any representations or promises in connection with this
                             Agreement or its subject matter which is not contained in this Agreement. No
                             modification, amendment, waiver, termination, or discharge of this Agreement or of
                             any provision hereof shall be effective unless confirmed by a written instrument signed
                             by both parties hereto. The waiver by either party of any breach of this Agreement shall
                             not be deemed to be a waiver of any subsequent breach, whether or not of a similar
                             nature. No waiver or failure to exercise any party’s rights hereunder shall prejudice the
                             future rights of either party under this Agreement.

                     (viii) This Agreement has been made up in two (2) originals whereof the parties have taken
                            one each. In addition, the parties agree that a photographic, electronic or facsimile copy
                            of the signature evidencing a party’s execution of this Agreement shall be effective as
                            an original signature and may be used in lieu of the original for any purpose.

                    (ix)     The prevailing party in any legal action (after all appeals have been taken or the time
                             for taking such appeals has expired) brought by one party against the other and arising
                             out of this agreement shall be entitled, in addition to any other rights and remedies
                             available to it at law or in equity, to reimbursement for its costs and expenses (including
                             court costs and reasonable fees for attorneys and expert witnesses) incurred with respect
                             to bringing and maintaining any such action. The term “prevailing party” for the
                             purposes of this paragraph shall include a defendant who has by motion, judgment,
                             verdict or dismissal by the court, successfully defended against any claim that has been
                             asserted against it.

                    (x)      Owner hereby irrevocably constitutes, authorizes, empowers and appoints
                             Administrator (and any of Administrator's officers) Owner's true and lawful agent and
                             attorney-in-fact (with full power of substitution and delegation) to make, execute, sign,
                             acknowledge and deliver any and all documents, instruments and writings in Owner's
                             and/or Writer’s name and to take any other action in Owner's and/or Writer's name that
                             in the reasonable business judgment and discretion of Administrator is reasonably
                             necessary or desirable solely in connection with the following, subject always to the
                             terms of this Agreement:

                             (a)        to prepare, execute, file and register claims of copyright in the Compositions
                                        and, to the extent applicable, renewals and extensions thereof;

                             (b)        to register the Compositions with all mechanical and performing rights
                                        societies throughout the Territory;




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                              (c)       to collect royalties, monies, payments and all other compensation and/or
                                        advances throughout the Territory, to receive all accounting and royalty
                                        statements in connection with the foregoing and to execute and deliver
                                        receipts for any and all such collections if necessary to do so; and

                              (d)       to endorse all checks and drafts received by Administrator with respect to the
                                        Compositions and to deposit all such checks, drafts and other receipts in
                                        Administrator's account.

                      (xi)    All rights and licenses in and to the Compositions granted to Administrator pursuant to
                              this Agreement are, and shall be deemed to be, licenses of rights to intellectual property
                              subject to 11 United States Code §365 (n). Administrator shall be entitled to all rights,
                              remedies and elections under the Bankruptcy Code including, but not limited to, 11
                              USC §365. In the event of any bankruptcy filing and/or in the event this Agreement is
                              rejected by Owner and Administrator makes an election under 11 USC §365 (n)(1),
                              Owner will perform under this Agreement and shall not interfere with rights granted to
                              Administrator hereunder.

                      (xii)   Except where expressly provided to the contrary, this Agreement and all provisions of
                              this Agreement shall inure to the benefit of and be binding upon the parties to this
                              Agreement and their respective successors, heirs and permitted assigns.

                      (xiii) Each and every provision of this Agreement shall be considered severable, and if for
                             any reason any provision or provisions herein are determined to be indefinite, invalid,
                             contrary to any applicable existing or future laws or otherwise unenforceable under
                             applicable law or by a court of competent jurisdiction, that shall not impair the
                             operation or effect of any other portion of this Agreement, and this Agreement shall be
                             deemed modified, but only to the extent necessary to make the provision enforceable.

                      (xiv) In this Agreement references to the Owner include references to a person:-

                               (a)    who for the time being is entitled (by permitted assignment, novation, probate,
                                      or otherwise to the Owner's rights under this Agreement (or any interest in those
                                      rights); or

                               (b)    who as administrator, liquidator, or otherwise, is entitled to exercise those rights
                                      howsoever arising.

            THE OWNER HEREBY CONFIRMS THAT IT HAS BEEN ADVISED TO TAKE
            INDEPENDENT EXPERT LEGAL ADVICE AND HAS DONE SO AND UNDERSTANDS
            THE CONTENTS AND IMPLICATIONS OF THIS EXCLUSIVE CONTRACT

            The above terms have been read and agreed by each of the parties set out below:-

            Signed,                                             Signed,


            _________________________                           ___________________________
            Name: Jim Arnay                                     Name: Emmanuel Gazmey-Santiago
            For and on behalf of                                For and on behalf :
            Kobalt Music Services America, Inc.                 Real Hasta La Muerte LLC f/s/o Emmanuel
                                                                Gazmey Santiago p/k/a “Anuel AA” d/b/a
                                                                Gazmey Music Publishing




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                                                  SCHEDULE ONE Part (i)

                                                       The Compositions




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                                                                               SCHEDULEONEͲTHECOMPOSITIONS
                                                                           EmmanuelGazmeySantiago,p/k/a“AnuelAA”

         SONGTITLE                       ARTIST   RELEASEDATE              ALBUM                            LABEL                                NameofWriter(s)   %Control


Culpables             KarolG,Anuel               9/14/2018      SINGLE                     UNIVERSALMUSIC                    EmmanuelGazmey                        35%
                                                                                                                                CarolinaGiraldoNavarro               25%
                                                                                                                                CarlosE.OrtizRivera                 15%
                                                                                                                                JuanG.RiveraVazquez                 15%
                                                                                                                                DanielEchavarriaOviedo               10%

Bebe                  TEKASHI69FTANUELAA        8/31/2018      SINGLE                     TENTHOUSANDPROJECTLLC           EmmanuelGazmey(ASCAP)                30%
                                                                                                                                DanielHernandez(BMI)                 20%
                                                                                                                                RonaldSpenceJr.(BMI)                50%


Bandolera             AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMMANUELGAZMEY(ASCAP)                60%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)     15%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            5%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            10%
                                                                                                                                NINOKARLOSEGARRA(ASCAP)             10%


Brindemos             AnuelAA,Ozuna              7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMMANUELGAZMEY(ASCAP)                40%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)     15%
                                                                                                                                JANCARLOSOZUNAROSADO(BMI)          14%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            15%
                                                                                                                                VICENTESAAVEDRA                      6%
                                                                                                                                JEANPIERRESOTOPASCUAL               10%

Espina                AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMMANUELGAZMEY(ASCAP)                60%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            10%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)    15%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            15%

Hipocrita             AnuelAAFtZion             7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMMANUELGAZMEY(ASCAP)                45%
                                                                                                                                TORRESFELIXORTIZ(BMI)               20%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)    15%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            5%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            15%

ModoDeAvion        AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 60%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            10%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)    15%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            15%

NaNuevo              AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 60%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)    17.5%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            5%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            17.5%

Naturaleza            AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 60%
                                                                                                                                RAMONENRIQUECASILLASͲRIOS(ASCAP)    40%

PensandoEnTi        AnuelAAFtWisin            7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 45%
                                                                                                                                JUANLUISMOREIRA(BMI)                20%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)   15%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            5%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            15%

QuiereBeber          AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 50%
                                                                                                                                JOANANTONIOGONZALEZMARRERO         15%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            10%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)   15%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            10%

TeNecesito           AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 50%
                                                                                                                                UNKNOWNWRITER                         50%

TuNoLoAmas         AnuelAA                     7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 60%
                                                                                                                                FRABIANELICARRIONBARRETO            5%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)   15%
                                                                                                                                LUISEORTIZͲRIVERA(ASCAP)            5%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            15%

Yeezy                 AnuelAAFtNengoFlow       7/17/2018      RealHastaLaMuerte       RealHastaLaMuerte/GladEmpire   EMANUELGAZMEY(ASCAP)                 50%
                                                                                                                                ARMANDOHERNANDEZ                      20%
                                                                                                                                CARLOSENRIQUEORTIZͲRIVERA(ASCAP)   5%
                                                                                                                                JUANGRIVERAVAZQUEZ(BMI)            5%
                                                                                                                                EDWINROSAVAZQUEZ(SESAC)             20%
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LaOcasion          AnuelAAFeat.Arcangel,DeLaGhetto,        3/16/2018                            HearThisMusic/Sony              EMMANUELGAZMEY(ASCAP)                  8%
                    Ozuna                                                                                                                RAMONLAYALA(ASCAP)                    8%
                                                                                                                                          RAFAELCASTILLOͲTORRES(ASCAP)           8%
                                                                                                                                          PABLOFUENTES(BMI)                      7%
                                                                                                                                          LUIANMALAVE(BMI)                       7%
                                                                                                                                          FELIXORTIZ(BMI)                        8%
                                                                                                                                          JOSEALVAROOSORIOBALVIN(BMI)          8%
                                                                                                                                          JANCARLOSOZUNAROSADO(BMI)            8%
                                                                                                                                          CARLOSEFRENREYESͲROSADO(ASCAP)        8%
                                                                                                                                          NICKRIVERAͲCAMINERO(SESAC)             8%
                                                                                                                                          AUSTINSANTOS(ASCAP)                    8%
                                                                                                                                          XAVIERALEXISSEMPERͲVARGAS(ASCAP)      7%
                                                                                                                                          EDGARWILMERSEMPERͲVARGAS(ASCAP)       7%

Rojo                AnuelAA,Arcangel                             10/2/2017                            PinaRecords/Sony                 EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          UNKNOWNWRITER                           75%
TuNoMetesCabra   BadBunny                                      7/1/2017                             RimasMusic/HearThisMusic       EMMANUELGAZMEY(ASCAP)                  40%
                                                                                                                                          RAMONLAYALA(ASCAP)                    20%
                                                                                                                                          BENITOANTONIOMARTINEZOCASIO(ASCAP)   40%
Oscurida            AnuelAA,Farruko                              7/1/2017     TrapXficante            SonyMusic                        EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          FRANKLINMARTINEZ(________)             10%
                                                                                                                                          CARLOSEFRENREYESͲROSADO(ASCAP)        35%
                                                                                                                                          ELIJAHASARRAGA(BMI)                   30%

Jersey              AnuelAAFeat.NengoFlow,Alexio,Bryant     9/3/2017                             TheSecretPanda                  EMMANUELGAZMEY(ASCAP)                  50%
                    Myers,Darell,Juanka                                                                                                 KARLRAYMONDSORIANO(ASCAP)             50%

MeQuierenMatar   AnuelAAFeat.Farruko,KendoKaponi,         7/18/2017                            KendoKaponiMusic                EMMANUELGAZMEY(ASCAP)                  20%
                    Ozuna,                                                                                                                UNKNOWNWRITER                           80%
23                  AnuelAA&Cosculluela                         7/11/2017                            Rottweilas&MuecaMusic          EMANUELGAZMEY(ASCAP)                   25%
                                                                                                                                          JOSEFCOSCULLUELA(BMI)                 65%
                                                                                                                                          JOSEANGELHERNANDEZ(ASCAP)             10%
Bebe                AnuelAA&Ozuna                               6/21/2017                            DimelVI                          EMANUELGAZMEY(ASCAP)                   35%
                                                                                                                                          MICHAELBRYANMASIS(ASCAP)              10%
                                                                                                                                          JANCARLOSOZUNAROSADO(BMI)            31.5%
                                                                                                                                          VICENTESAAVEDRA(BMI)                   13.5%
                                                                                                                                          JEANPIERRESOTOPASCUAL(BMI)           10%

Cuentale            CasperMagico&AnuelAA                       6/20/2017                            LosMagicos                       EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          CEDENOURBANIMOTA(ASCAP)               25%
                                                                                                                                          LUISJORGEROMERO(BMI)                  25%
                                                                                                                                          JULIOACRUZGARCIA(ASCAP)              25%

SiTuQuieres       AnuelAA,Pusho,Ozuna                         4/1/2017                             OzunaProducciones                EMMANUELGAZMEY(ASCAP)                  20%
                                                                                                                                          UNKNOWNWRITER                           80%

AyerRemix(2)      Anuel,DjNelson,NickyJam,Cosculluela,J   6/16/2017                            RealHastaLaMuerte/FlowMusic   EMMANUELGAZMEY(ASCAP)                  30%
                    Balvin                                                                                                                MARTINEZNELSONDIAZ                     50%
                                                                                                                                          CARLOSEFRENREYESͲROSADO(ASCAP)        20%
LosIntocables      AnuelAAFeat.NengoFlow                      4/1/2016                             360Ent/SinfonicoMusic           EMMANUELGAZMEY(ASCAP)                  50%
                                                                                                                                          MANUELGLIMERY(ASCAP)                  25%
                                                                                                                                          KEVINDANIELORTIZͲMEDINA(ASCAP)        25%
Amen                AnuelAA,KendoKaponi                         4/7/2017     Amen                    KendoKaponiMusic                EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          UNKNOWNWRITER                           75%
Tentandome         AnuelAA,JAlvarez                            2/24/2017                            OnTopOfTheWorldMusic         EMMANUELGAZMEY(ASCAP)                  50%
                                                                                                                                          MICHAELBRYANMASIS(ASCAP)              50%
PowerRemix         BennyBenniFeat.AnuelAA,Gotay,Daddy 1/15/2017                                 BennyBenni                       EMMANUELGAZMEY(ASCAP)                  10%
                    Yankee,Alexio,KendoKaponi,Pusho,                                                                                 JESUSMANUELBENITEZͲHIRALDO(ASCAP)     25%
                    Almighty,DoZi                                                                                                        RICHYCARMONA(ASCAP)                    25%
                                                                                                                                          WILBERTOGUERRIDO(BMI)                  20%
                                                                                                                                          ALEXISGOTAY(ASCAP)                     20%

Liberace            AnuelAA                                                                                                              EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          DELAPRIDAHENRY(ASCAP)                12.5%
                                                                                                                                          CARLOSEFRENREYESͲROSADO(ASCAP)        50%
                                                                                                                                          EZEQUIELRIVERA(ASCAP)                  12.5%

LiberaceRemix1    AnuelFatJoe,Arcangel                                                                                               EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          DELAPRIDAHENRY(ASCAP)                12.5%
                                                                                                                                          CARLOSEFRENREYESͲROSADO(ASCAP)        50%
                                                                                                                                          EZEQUIELRIVERA(ASCAP)                  12.5%

LiberaceRemix2    AnuelAAFeat.Farruko,DeLaGhetto,       1/1/2017                               CarbonFiberMusic                EMMANUELGAZMEY(ASCAP)                  25%
                    Arcangel,NengoFlow,Alexio,BryantMyers,                                                                          DELAPRIDAHENRY(ASCAP)                12.5%
                    BadBunny,Noriel,Darell                                                                                             CARLOSEFRENREYESͲROSADO(ASCAP)        50%
                                                                                                                                          EZEQUIELRIVERA(ASCAP)                  12.5%

NoForcenRemix     AnuelAAFeat.Ozuna                           12/24/2016                           RimasMusic                       EMMANUELGAZMEY(ASCAP)                  20%
                                                                                                                                          DAVIDERICLOWEN(BMI)                   40%
                                                                                                                                          JANCARLOSOZUNAROSADO(BMI)            40%
LaNocheOscura     AnuelAAFeat.Jory                           12/2/2016                   OtraLiga YoungBossEnt/CinqMusic        EMMANUELGAZMEY(ASCAP)                  30%
                                                                                                                                          CRUZJOSIASGABRIELDELA(BMI)          25%
                                                                                                                                          CHRISTOPHERRUIZ(BMI)                   22.5%
                                                                                                                                          BENITEZFERNANDOSIERRA(ASCAP)          22.5%

47                  AnuelAAFeat.NengoFlow                      11/25/2016                           360Ent                           EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                          LILGENIUS(BMI)                         35%
                                                                                                                                          MANUELGLIMERY(ASCAP)                  15%
                                                                                                                                          EDWINROSAVAZQUEZ(SESAC)               25%
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Diablita                 AnuelAAFeat.Noriel,BabyRasta               10/7/2016   TrapCaposSeason1 SonyMusic              EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                 JONATHANDEJESUSGANDARILLA(SESAC)     28.12%
                                                                                                                                 SHARONRAMIREZLOPEZ(SESAC)             28.12%
                                                                                                                                 JUANJESUSSANTANAͲLUGO(ASCAP)          18.76%

LasBabysMeLlaman     AnuelAAFeat.Carly                            7/1/2016                       HustlerForLife         EMMANUELGAZMEY(ASCAP)                  30%
                                                                                                                                 UNKNOWNWRITER                           70%
AmordeCalle            AnuelAAFeat.Anonimus,Alexis                 8/6/2016                       LaCommission            EMMANUELGAZMEY(ASCAP)                  20%
                                                                                                                                 UNKNOWNWRITER                           80%

SnapchatRemix           AnuelAAFeat.LaryOver                       6/22/2016                      YoungHollywood          EMMANUELGAZMEY(ASCAP)                  33.32%
                                                                                                                                 RAYMONDLOUISGUEVARA(BMI)              33.34%
                                                                                                                                 ELIJAHASARRAGA(BMI)                   33.34%

Hablame                  AnuelAAFeat.Lyan,Juanka,BryantMyers       5/1/2016                       GlobalBoyz/CinqMusic   EMMANUELGAZMEY(ASCAP)                  30%
                                                                                                                                 GERARDOJERRYJRGRAUPERA(BMI)          70%

EstaCabronRemix        AnuelAAFeat.Nejo,Gotay,Pusho,             4/23/2016                      LaFamaAllStars        EMMANUELGAZMEY(ASCAP)                  10%
                         Almighty,DoZi,Yomo,Jamby,                                                                           CRUZJOSIASDELA(BMI)                 22.5%
                                                                                                                                 HECTORDAVIDLAMBOY(BMI)                22.5%
                                                                                                                                 CARLOSDANIELCRESPOͲPLANAS(ASCAP)      22.5%
                                                                                                                                 ALEXISGOTAY(ASCAP)                     22.5%
TuMeEnamorasteRemix   AnuelAAFeat.BryantMyers,Brytiago,         4/2/2016                       YoungHollywood          EMMANUELGAZMEY(ASCAP)                  10%
                         Almighty,LaryOver                                                                                    BRYANCANCEL(BMI)                       10%
                                                                                                                                 RAYMONDLOUISGUEVARA(BMI)              10%
                                                                                                                                 ALEJANDROSRMOSQUEDA(BMI)              10%
                                                                                                                                 BRYANROBERTROHENAPEREZ(ASCAP)        10%
                                                                                                                                 ELIJAHASARRAGA(BMI)                   50%

VolverteAVer           AnuelAAFeat.NioGarcia,BryantMyers         3/4/2016                       FlowMusic/Cinq         EMMANUELGAZMEY(ASCAP)                  16.66%
                                                                                                                                 MARTINEZNELSONDIAZ                     50%
                                                                                                                                 LUISQUIONES(ASCAP)                     16.68%
                                                                                                                                 BRYANROBERTROHENAPEREZ(ASCAP)        16.66%

EllaYYo                AnuelAAFeat.Farruko,BryantMyers,          1/27/2016                      UnaVisionQuintana      EMMANUELGAZMEY(ASCAP)                  15%
                         Tempo,Almighty                                                                                         PEDROJUANFIGUEROAͲQUINTANA(ASCAP)     45%
                                                                                                                                 EDGARWILMERSEMPERͲVARGAS(ASCAP)       20%
                                                                                                                                 XAVIERALEXISSEMPERͲVARGAS(ASCAP)      20%

Culpable                 AnuelAAFeat.MykeDuran                       9/11/2015                      TheEntityMusic         EMMANUELGAZMEY(ASCAP)                  25%
                                                                                                                                 FRANCISCOMELENCIANO(__________)        75%

TeSigoAmando           AnuelAA                                                                                                EMMANUELGAZMEY(ASCAP)                  60%
                                                                                                                                 CARLOSENRIQUEORTIZͲRIVERA(ASCAP)       10%
                                                                                                                                 JUANGRIVERAVAZQUEZ(BMI)              10%
                                                                                                                                 NINOKARLOSEGARRASANCHEZ(ASCAP)      10%
                                                                                                                                 LUISEORTIZͲRIVERA(ASCAP)              10%

ConSilenciador          Anuel,ElAlfa                                                                                          EMMANUELGAZMEY(ASCAP)                  33%
                                                                                                                                 CHAELEUGENIOBETANCESALEJO(BMI)       33%
                                                                                                                                 EMANUELHERRERABATISTA(BMI)            34%

Y.O.L.O.                 AnuelAA                                                                                                EMMANUELGAZMEY(ASCAP)                  50%
                                                                                                                                 KARLRAYMONDSORIANO(ASCAP)             50%

PasadoyPresente        AnuelAA                                                                                                EMMANUELGAZMEY(ASCAP)                  20%
                                                                                                                                 JOSEANTONIOAPONTE(BMI)                5%
                                                                                                                                 DIEGOFERNANDOCAVIEDESͲFRANCO(ASCAP)   6%
                                                                                                                                 CARLOSENRIQUEORTIZͲRIVERA(ASCAP)      7.5%
                                                                                                                                 JANCARLOSOZUNAROSADO(BMI)            30%
                                                                                                                                 YAZIDRIVERALOPEZ(ASCAP)               6%
                                                                                                                                 JUANGRIVERAVAZQUEZ(BMI)              7.5%
                                                                                                                                 BRYANARGENISTAVERAS(BMI)              18%

TuNoLoAmas            AnuelAA                                                                                                EMMANUELGAZMEY(ASCAP)                  60%
                                                                                                                                 FRABIANELICARRIONBARRETO              5%
                                                                                                                                 CARLOSENRIQUEORTIZͲRIVERA(ASCAP)      15%
                                                                                                                                 LUISEORTIZͲRIVERA(ASCAP)              5%
                                                                                                                                 JUANGRIVERAVAZQUEZ(BMI)              15%

JodedorRemix            AnuelAA,Gotay,Farruko,Almight,JuankaEl                                                           ANUELAA(ASCAP)                         7%
                         Problematic,BennyBenni,Dozi                                                                          ENRIQUEBERNARDOSEGUIRABASSA(SGAE)    18%
                                                                                                                                 JESUSMANUELBENITEZͲHIRALDO(ASCAP)     40%
                                                                                                                                 DOZI(BMI)                               7%
                                                                                                                                 FARRUKO(ASCAP)                          7%
                                                                                                                                 ALEXISGOTAY(ASCAP)                      7%
                                                                                                                                 JUANKAELPROBLEMATIK(ASCAP)            7%
                                                                                                                                 ALEJANDROSRMOSQUEDA(BMI)              7%

MeContagie              AnuelAA                                                                                                EMMANUELGAZMEY(ASCAP)                  100.00%

NoMeHablesDeAmor     AnuelAA,CasperMagico                                                                                 EMMANUELGAZMEY(ASCAP)                  37.5%
                                                                                                                                 JOSEMARTINVELAZQUEZ(BMI)              37.5%
                                                                                                                                 JULIOACRUZGARCIA(ASCAP)              25%
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                                                  SCHEDULE ONE Part (i)

                                                    Excluded Compositions

                          a. Conversaciones con dios
                          b. Bella y la bestia
                          c. La mas bella
                          d. Salvaje freestyle
                          e. Vanidad aa
                          f. Ella tiene novio
                          g. Hay rumores
                          h. Rasta faray
                          i. Ripbig
                          j. Cristiniando
                          k. Sexo con Cristina
                          l. Ella anda sola
                          m. 3 some
                          n. Amiga
                          o. Uhhh
                          p. Street poem
                          q. Nacimos pa morir
                          r. Soldado y profeta
                          s. Soldado y profeta remix
                          t. Nunca sapo
                          u. Sola
                          v. Sola remix
                          w. Cenzia en cenicero
                          x. Coronamos
                          y. Coronamos Remix
                          z. No love
                          aa. Mi vida
                          bb. Armao siempre andamos / Armao 100pre Andamos
                          cc. Anoche sone
                          dd. Thinkin
                          ee. Tentandome
                          ff. Te propongo
                          gg. Maliante HP
                          hh. Maliante HP Remix
                          ii. 47 Remix




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                                                        SCHEDULE TWO

                                                    INFORMATION SCHEDULE
                                                            PART (i)
                                                PRIOR ADMINISTRATOR(S)/DISPUTES


               IF YOU HAD MORE THAN ONE PRIOR AGREEMENT, PLEASE COPY THIS TABLE
                             AND COMPLETE IT FOR EACH AGREEMENT



            PREVIOUS PUBLISHERS/ADMINISTRATORS (if any): N/A

            NAME

            WHICH TERRITORIES                     DID   THIS
            AGREEMENT COVER?


            WHEN DID/DOES THEIR TERM END?

            WHEN DID/DOES                THEIR       RIGHTS
            PERIOD END?

            WHEN DID/DOES THEIR
            COLLECTION PERIOD END?

            IS THIS PUBLISHER ENTITLED TO
            RETAIN ANY PORTION OF THE
            COPYRIGHT IN YOUR SHARE OF
            THE COMPOSITIONS OR ANY
            ADMINISTRATION RIGHTS?



            ARE ANY OF THE WORKS IN THE SCHEDULE THE SUBJECT OF A PAST OR
            ONGOING DUPLICATE CLAIM OR DISPUTE?

            If so, please give full details

            No.




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                                                      SCHEDULE TWO

                                                  INFORMATION SCHEDULE
                                                          PART (ii)
                                                ADMINISTRATIVE INFORMATION

            IPI/CAE OF CONTRACTING PARTY/PARTIES:

            Emmanuel Gazmey - IPI #812054675

            Gazmey Music Publishing – IPI #626435841




            PLEASE PROVIDE FULL NAMES AND CAE NUMBERS OF ANY DBAs, Alternative
            Names, Pseudonyms or PKAs:

            In particular note that any companies affiliated to ASCAP, BMI or SESAC should be listed

            Anuel AA – IPI #812054773




            PLEASE CONFIRM THE COLLECTION SOCIETY OR SOCIETIES OF WHICH
            YOU AND ANY RELEVANT WRITERS ARE MEMBERS AND, IF MORE THAN
            ONE, THE TERRITORIES FOR WHICH YOU (OR THE RELEVANT WRITER)
            ARE A MEMBER:

            If different compositions need to go to different societies, please indicate this on Schedule
            One.

            ASCAP




            IF YOU HAVE NOT ALREADY NAMED A US PERFORMING SOCIETY IN THE
            SECTION ABOVE, PLEASE CONFIRM WHETHER YOU HAVE A PREFERENCE
            AS TO WHICH ONE WE USE TO COLLECT YOUR PERFORMANCE INCOME:

            For publishing companies with more than one writer, indicate this on Schedule One.

            N/A




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                                                      SCHEDULE TWO

                                                INFORMATION SCHEDULE
                                                      PART (iii)
                                                PAYMENT INSTRUCTIONS


            PLEASE CONFIRM YOUR COUNTRY OF DOMICILE FOR TAX PURPOSES:



       PLEASE SELECT ONE PAYMENT CURRENCY:

       CANADIAN DOLLARS (CAD)

       EUROPEAN UNION EUROS (EUR)

       SWEDISH KRONOR (SEK)

       UNITED KINGDOM POUNDS (GBP)

       UNITED STATES DOLLARS (USD)                            USD



       IF PAYMENTS ARE TO BE TRANSFERRED INTO A BANK ACCOUNT BASED IN THE UNITED
       STATES:

       ACCOUNT/PAYEE NAME:                                    Real Hasta La Muerte LLC

       BANK NAME & LOCATION:                                  JP Morgan Chase Bank, N.A.
                                                              Doral Isles
                                                              10795 NW 58th St.
                                                              Doral, FL 33178
       ROUTING NUMBER:                                        021000021

       ACCOUNT NUMBER:                                        309360565

       SWIFT / BIC CODE:                                      CHASUS33

       ACCOUNT TYPE:                                          Checking

       PAYEE TYPE:                                            Company



            Please sign here to confirm that the bank details set out above are accurate (please note that, for
            agreements with service/furnishing companies, this should be signed by the writer(s) personally, even
            if the company has other signatories).


            …………………………………………..




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                                                        SCHEDULE TWO
                                                INFORMATION SCHEDULE PART (iv)
                                            THE AUTHORISED REPRESENTATIVES

            * If the Agreement is for a writer, production team or band, whether using one or more
            service/furnishing companies or not, for the Writer(s) to have access to his/her/their area of the portal
            and the app, you need to include each such Writer as an authorised representative (with full
            authorisation) and include an email address for him/her/them.



            AUTHORISED REPRESENTATIVE (FULL AUTHORISATION):

            THIS CONTACT WILL BE AUTHORISED TO:

                -    ACCESS YOUR AREA OF THE PORTAL WHERE THEY CAN                                   VIEW
                     STATEMENTS AND OTHER FINANCIAL INFORMATION;

                -    PROVIDE/AMEND PAYMENT INSTRUCTIONS ON YOUR BEHALF;

                -    GRANT OR WITHHOLD APPROVAL FOR USES OF YOUR COMPOSITIONS;
                     AND

                -    DELIVER NEW COMPOSITIONS.

            NAME:                                            Emmanuel Gazmey-Santiago

            ROLE:                                            Writer

            ADDRESS:                                         c/o Singh, Singh & Trauben, LLP, 400 South
                                                             Beverly Drive, Suite 240, Beverly Hills, CA
                                                             90212, ATTN: Simran Singh, Esq.

            EMAIL ADDRESS:                                   gazmeymusic@gmail.com

            PHONE NUMBER:                                    (787) 462-5789




            AUTHORISED REPRESENTATIVE (FULL AUTHORISATION):

            THIS CONTACT WILL BE AUTHORISED TO:

                -    ACCESS YOUR AREA OF THE PORTAL WHERE THEY CAN                                   VIEW
                     STATEMENTS AND OTHER FINANCIAL INFORMATION;

                -    PROVIDE/AMEND PAYMENT INSTRUCTIONS ON YOUR BEHALF;

                -    GRANT OR WITHHOLD APPROVAL FOR USES OF YOUR COMPOSITIONS;
                     AND

                -    DELIVER NEW COMPOSITIONS.

            NAME:                                            Simran Singh, Esq



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            ROLE:                                             Attorney

            ADDRESS:                                          400 South Beverly Drive, Suite 240, Beverly
                                                              Hills, CA 90212
                                                              ssingh@singhtraubenlaw.com
            EMAIL ADDRESS:


            PHONE NUMBER:                                     (310) 856-9705


            Please sign here to confirm that you instruct us to treat the people named above as Authorised
            Representatives with respect to financial matters (as described above) as well as approvals & delivery.


            …………………………………………..



            AUTHORISED REPRESENTATIVE (APPROVALS / DELIVERY ONLY):

            THIS CONTACT WILL ONLY BE AUTHORISED TO:

                -    GRANT OR WITHHOLD                       APPROVAL      FOR      USES    OF    YOUR
                     COMPOSITIONS; AND

                -                  DELIVER NEW COMPOSITIONS.

            NAME:                                             Frabian Eli Carrion

            ROLE:                                             Manager

            ADDRESS:                                          c/o Singh, Singh & Trauben, LLP, 400 South
                                                              Beverly Drive, Suite 240, Beverly Hills, CA
                                                              90212, ATTN: Simran Singh, Esq.

            EMAIL ADDRESS:                                    frabianeli@gmail.com

            PHONE NUMBER:




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            Please sign here to confirm that you instruct us to treat the people named above as Authorised
            Representatives with respect to approvals & delivery.


            …………………………………………..




            AUTHORISED REPRESENTATIVE (APPROVALS / DELIVERY ONLY):

            THIS CONTACT WILL ONLY BE AUTHORISED TO:

                -    GRANT OR WITHHOLD                       APPROVAL   FOR   USES   OF    YOUR
                     COMPOSITIONS; AND

                -                  DELIVER NEW COMPOSITIONS.

            NAME:

            ROLE:

            ADDRESS:

            EMAIL ADDRESS:

            PHONE NUMBER:




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                                                      SCHEDULE THREE

                                                        Letter of Direction

            As of     October 25, 2018

            To:      ALL RECORD MANUFACTURERS
                     LICENSED TO MECHANICALLY
                     REPRODUCE THE COMPOSITIONS
                     SPECIFIED HEREINBELOW

                     THE HARRY FOX AGENCY
                     ALL OTHER PARTIES IN INTEREST

            Please be advised that effective as of date hereof we have granted to Kobalt Music Services America,
            Inc. and its licensees and assigns, the exclusive right, throughout the world, in respect of compositions
            of which the undersigned is the copyright proprietor, including those compositions listed on Schedule
            One annexed (the “Compositions”):

                     (i)       to license and cause others to license the use of the Compositions; and

                     (ii)     to administer and grant rights in and to the Compositions and the copyrights therein;
                              and

                     (iii)    to publish and sell sheet music and/or folios of the Compositions if it so elects; and

                     (iv)     to collect all monies payable with respect to the Compositions, including monies
                              earned but not paid prior to the effective date hereof; and

                     (v)      to otherwise administer the Compositions and the copyrights therein and to act as the
                              publisher thereof.


            Yours faithfully,




            Name: Emmanuel Gazmey-Santiago
            For and on behalf of:
            Real Hasta La Muerte LLC f/s/o Emmanuel Gazmey Santiago
            p/k/a “Anuel AA” d/b/a Gazmey Music Publishing




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                                                      SCHEDULE FOUR

                                                             W9 Form




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                                                       SCHEDULE FIVE

                                                SST Override Letter Of Direction

                                                                                  Real Hasta La Muerte LLC f/s/o
                                                                      Emmanuel Gazmey Santiago p/k/a “Anuel AA”
                                                                                  d/b/a Gazmey Music Publishing
                                                                                c/o Singh, Singh & Trauben, LLP
                                                                                         400 South Beverly Drive
                                                                                                         Suite 240
                                                                                         Beverly Hills, CA 90212

            Kobalt Music Services America, Inc.
            2 Gansevoort
            6th Floor
            New York, NY 10014
            Attn: Royalty Department

            Date: October 25, 2018

            Dear Ladies and Gentlemen:

            1         I have engaged Singh, Singh, & Trauben, LLP (“SST”) to perform certain legal services in
                     connection with my publishing catalogue, including negotiation of my administration agreement
                     with you, dated October 25, 2018 (the “Kobalt Agreement”).

            2.       I hereby request and authorize you to make payment of the Override (as defined in clause 3
                     below), on my behalf and from the royalties, fees and other monies which you are due to pay to
                     me under the terms of the Kobalt Agreement in respect of the exploitation of the Compositions
                     (as defined in the Kobalt Agreement) throughout the Territory (as defined in the Kobalt
                     Agreement), to SST by way of consideration from me to SST in respect of the services referred to
                     in clause 1 above.

            3.       The “Override” shall, unless otherwise advised in writing, mean seven percent (7%) of all
                     monies which are attributable to exploitation of the Compositions (as defined in the Kobalt
                     Agreement) and which become due to me pursuant to the Kobalt Agreement (for the avoidance of
                     doubt, after the deduction of Kobalt’s commission) from all sources (including, without
                     limitation, seven percent (7%) of any advances which may become due to me, after the date
                     hereof, over the course of the Kobalt Agreement).

            4.       Payments to SST should be made at the same time and on the same basis as payments are
                     rendered to me (i.e. quarterly within 65 days) including, without limitation, being subject to
                     your right to use such monies to recoup advances paid to me or on my behalf under the Kobalt
                     Agreement and/or being subject to your right to withhold such monies in connection with a
                     claim relating to the Compositions in accordance with clause 8(ii) of the Kobalt Agreement.

            5.       Your compliance with this authorisation will constitute an accommodation to me alone. All
                     payments to SST under this authorisation will constitute payment to me and you will have no
                     liability by reason of any erroneous payment or failure to comply with this authorization. For the
                     avoidance of doubt, SST will not be deemed a third party beneficiary of the Kobalt Agreement,
                     and SST will have no rights whatsoever as against Kobalt thereunder. I will indemnify and hold
                     you harmless against any claims asserted against you and any damages, losses or expenses you
                     incur by reason of any such payments or otherwise in connection herewith.



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            6.       All monies becoming payable under this authorization will be remitted to SST by electronic
                     transfer into the account the details of which are set out below and will not, for the avoidance of
                     doubt, be accompanied by statements with respect to those payments.

                     Bank Name:   1st Century Bank
                     Acct #:    2100057534
                     Routing #:   122243761
                     Acct Name:   Singh Singh & Trauben LLP

            Yours faithfully,



            _________________________
            Name: Emmanuel Gazmey-Santiago
            For and on behalf of:
            Real Hasta La Muerte LLC f/s/o Emmanuel Gazmey Santiago
            p/k/a “Anuel AA” d/b/a Gazmey Music Publishing




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                                                        SCHEDULE SIX

                                                     Letter of Inducement


            Dated October 25, 2018


            Ladies and Gentlemen,

            Re: Administration agreement between Kobalt Music Services America Inc (Kobalt) and real
            Hasta La Muerte LLC (the Company) dated October 25, 2018 (the Agreement). Unless otherwise
            specified by the context herein, all defined terms shall have the meanings attributed to them in
            the Agreement.

            By way of further inducement for Kobalt to enter the Agreement and in consideration of the sum of
            one U.S. dollar ($1) (the receipt and sufficiency of which is hereby acknowledged):

                 I acknowledge and agree to the contents and the obligations entered into on my behalf by the
                  Company in the Agreement. I furthermore warrant that I have an exclusive song writing
                  agreement with the Company for a period being no less than the Term/Rights Period (if
                  applicable)/Collection Period of the Agreement.

                 In the event that the Company is no longer entitled to the interest in the Compositions provided
                  therein or is otherwise unable to fulfil its obligations to Kobalt during the Term/Rights Period (if
                  applicable)/Collection Period of the Agreement I agree that Kobalt shall have the absolute right to
                  elect to substitute me as the direct contracting party to the Agreement on written notice from
                  Kobalt in the place and instead of the Company (the “Substitution”).

                 Until the Substitution I acknowledge that all payments made under the Agreement shall be made
                  to the Company on my behalf in absolute discharge of Kobalt's obligations arising under the
                  Agreement.

                 I acknowledge that all rights and licenses in and to the Compositions granted to Kobalt pursuant
                  to the Agreement are, and shall be deemed to be, licenses of rights to intellectual property subject
                  to 11 United States Code §365 (n). Kobalt shall be entitled to all rights, remedies and elections
                  under the Bankruptcy Code including, but not limited to, 11 USC §365. Following the
                  Substitution, in the event of any bankruptcy filing and/or in the event the Agreement is rejected
                  by me and Kobalt makes an election under 11 USC §365 (n)(1), I agree that I will perform under
                  the Agreement and shall not interfere with rights granted to Kobalt under it.

            I acknowledge that I have been advised to take independent expert legal advice and that I fully
            understand and agree to the contents of the Agreement.

            Yours faithfully,                                         Read and agreed,

            

            _________________________                                 _________________________
            Emmanuel Gazmey-Santiago                                  For and on behalf of
                                                                      Kobalt Music Services America, Inc.




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                                                     SCHEDULE SEVEN

                                                Kobalt Group Privacy Statement




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2019 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT                   FILED
DOCUMENT# L18000181805                                             Apr 30, 2019
Entity Name: REAL HASTA LA MUERTE, LLC                           Secretary  of State
                                                                  3709592810CC
Current Principal Place of Business:
7520 NW 104TH AVE. SUITE 103
#132
DORAL , FL 33178


Current Mailing Address:
7520 NW 104TH AVE. SUITE 103
#132
DORAL, FL 33178 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
GAZMEY, EMMANUEL
7520 NW 104TH AVE. SUITE 103
#132
DORAL, FL 33178 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  AMBR                                                                           Title                  AMBR
Name                   GAZMEY, EMMANUEL                                                               Name                   CARRION, FRABIAN ELI
Address                7520 NW 104TH AVE. SUITE 103                                                   Address                7520 NW 104TH AVE. SUITE 103
                       #132                                                                                                  #132
City-State-Zip:        DORAL FL 33178                                                                 City-State-Zip:        DORAL FL 33178




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: EMMANUEL GAZMEY                                                                                             AMBR                                               04/30/2019
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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                $100,000.00                                        Dec 24, 2020
                                                                   Post date
                                                                                                                      1332
                                                                                                                      Check #
                Total




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9/23/22, 12:47 AM                                                                              Check Details - chase.com




                $200,000.00                                        Mar 10, 2021
                                                                   Post date
                                                                                                                      1346
                                                                                                                      Check #
                Total




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9/23/22, 12:53 AM                                                                              Check Details - chase.com




                $90,391.78                                         May 27, 2021
                                                                   Post date
                                                                                                                      1355
                                                                                                                      Check #
                Total




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                 79189536)4>       (=6=FI#BH9FB5H=CB5@ &&
                                       
                                       +95@"5GH5&5'I9FH9 &&

                 79189536)4>        #" " O(CFH<5MG<CF9F=J9 DH '=5A=
                 ,,7-88                &
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                                       !"# " O7 C,=B;< ,=B;<-F5I69B &&* , 
                                       9J9F@MF=J9 ,I=H9 9J9F@M"=@@G  

                 79189               $5B5F@CG)NIB5+CG58CDFC:9GG=CB5@@M?BCKB5G%#5B8
                                       AA5BI9@!5NA9MDFC:9GG=CB5@@M?BCKB5G # 

                 7+0)7,549)+9      FC@=7<CKG?= $5GCB*5G75@ 

                 "-73                 M95FG K=H<5IHCA5H=7FC@@CJ9FGIB@9GGH9FA=B5H98!   " 

                 "-771957>            0CF@8K=89!"

                 ,;)4+-              '9@=J9FM8J5B79 ''5F?9H=B; IB8 DCH9BH=5@88=H=CB5@
                                       *FC:=H8J5B79! " 

                 1/19)2              =B.,5B8&-'+)0 8FCDD=B;HC5:H9FM95FG!
                 18971*:9154         " 
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                 18971*:9154         M95FG! 
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                 522-+9154           C:;FCGGF979=DHG!" 
                 !5+1-91-8

                 !>4+07541?)9154      C:;FCGGF979=DHG!"  

                  -657914/)4,        'CBH<@M 85MG!" 
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                                            !" #" "
        -<=G  " =B7@I8=B; 5@@ G7<98I@9G  9L<=6=HG 5B8 5A9B8A9BHG <9F9HC  H<9 P;F99A9BHQ =G
        9::97H=J95GC:H<985H9H<5HMCI5B8)F7<5F8<5J9G=;B98=H5GG9HCIHCBH<9G=;B5HIF9D5;969@CKH<9
        P::97H=J9 5H9Q  5G 69HK99B 5G 69HK99B  #" "  : G C $5B 5F@CG )NIB5
        +CG58CDFC:9GG=CB5@@M?BCKB5G%# K=H<C::=79G@C75H985H(CFH<5MG<CF9F=J9 D5FHA9BH
          '=5A= &  P(=6=FIQ   !"  # "  : G C AA5BI9@ !5NA9M
        DFC:9GG=CB5@@M?BCKB5G #        K=H<C::=79G@C75H985H+=H<C@N&9JM *5F?J9BI9,CIH< -<=F8
         @CCF  (1  (1   P+"&'Q  5B8 HC;9H<9F K=H< (=6=FI  >C=BH@M 5B8 G9J9F5@@M H<9 PFH=GH CAD5BMQ
        5B8    "  !! '   K=H< C::=79G @C75H98 5H  5GH H< ,HF99H  F8 @CCF  (9K
        1CF? (1 .,P)F7<5F8Q 
                       

             7+0)7,)8'5:718971*:9577)495. 1/098 5D=H5@=N98H9FAG5GK9@@5GPMCIQ5B8PMCIFQ
        5F9IG985G89:=B98H<FCI;<CIHH<=G;F99A9BH5G5A9B898:FCAH=A9HCH=A9 %9M89:=B=H=CBG
                       

           PMCIQ5B8PMCIF Q9H7  5GIG98=BH<=G;F99A9BH A95BG >C=BH@M5B8G9J9F5@@M =H<9FH=GHCAD5BM 
        ==9BH=H=9G5::=@=5H98K=H< IB89F7CAACB7CBHFC@K=H< CFK<=7<5F957EI=F986MH<9FH=GHCAD5BM 5B8
        ===5BM9BH=H=9GK=H<K<CAH<9FH=GHCAD5BMA5MA9F;98IF=B;H<9-9FA 
          PFH=GHQ A95BG  >C=BH@M 5B8 G9J9F5@@M  $5B 5F@CG )NIB5 +CG58C DFC:9GG=CB5@@M ?BCKB 5G %#
        P)NIB5Q5B8AA5BI5@!5NA9MDFC:9GG=CB5@@M?BCKB5G # PBI9@Q 
         PBI9@;F99A9BHQA95BGH<9;@C65@8=GHF=6IH=CB5;F99A9BH69HK99B+95@"5GH5&5'I9FH5 && 
        AA5BI9@ !5NA9M DFC:9GG=CB5@@M ?BCKB 5G #    5B8 )F7<5F8 BH9FDF=G9G (1  #B7  5B8 ,CBM
        'IG=7BH9FH5=BA9BH.,&5H=B&&85H98(CJ9A69F  
          P<5BB9@GQA95BG5BM5B85@@GC 75@@987<5BB9@G D5;9G DFC:=@9G CFG=A=@5F5GCB1CI-I69CFCH<9F
        D@5H:CFAGH<5H5F9CKB98CF7CBHFC@@986MMCI 5GK9@@5G5@@7CBH9BH=B7@I898H<9F9=BH<9PCBH9BHQ
            PC@@5H9F5@Q=G89:=B98=B,97H=CB 
            P9@=J9F56@9GQ=G89:=B98CB,7<98I@9 
          P=;=H5@=GHF=6IH=CBQA95BG8=GHF=6IH=CBCFCH<9F5IH<CF=N5H=CBC:IG9C:H<9+97CF8=B;G6M5BM7IFF9BH
        CF:IHIF9A95BGCFA98=55GG9@97H986M)F7<5F8=B;CC8:5=H<  9L7@I8=B;CB@M8=GHF=6IH=CBC:D<MG=75@
        F97CF8G9 ; J=BM@  75GG9HH9H5D99H7  
            P)IH@9HGQ=G89:=B98=B,97H=CB 5 
          P)NIB5 ;F99A9BHQ A95BG H<9 ;@C65@ 8=GHF=6IH=CB 5;F99A9BH 69HK99B (=6=FI#BH9FB5H=CB5@  && : G C
        $5B5F@CG)NIB5+CG58CDFC:9GG=CB5@@M?BCKB5G%#5B8)F7<5F8BH9FDF=G9G(1 #B7 5B8,CBM
        'IG=7BH9FH5=BA9BH85H98I;IGH  
            P*<MG=75@=GHF=6IH=CBQA95BGH<98=GHF=6IH=CBC:+97CF8G6M)F7<5F8 =HG5::=@=5H9G5B8,5@9G*5FHB9FG 
          P*=D9@=B9#B7CA9QA95BG)F7<5F8G;CC8:5=H<9GH=A5H9C:MCIFG<5F9C:5ACIBHG95FB985B857HI5@@M
        F979=J986M)F7<5F889F=J=B;:FCAH<99LD@C=H5H=CBC:H<9*FCD9FH=9G=BH<9.B=H98,H5H9G:C@@CK=B;H<9
        ACGHF979BH577CIBH=B;GH5H9A9BHF9B89F98HCMCI6M)F7<5F8 5B8K<=7<<5J9BCHM9H699B7F98=H98HC
        MCIFFCM5@HM577CIBH<9F9IB89F 
          P*FCD9FH=9GQ A95BG 5@@ +97CF8=B;G  CBH9BH 5B8 5@@ A5H9F=5@ HC 69 9LD@C=H98 IB89F H<=G ;F99A9BH 
        =B7@I8=B;5BMH<=B;89@=J9F986MMCICFCBMCIF69<5@:IB89F,97H=CB 7CF  
          P+97CF8=B;GQA95BG5H<9B9K@MF97CF898 DF9J=CIG@MIBF9@95G98 7CAA9F7=5@@MG5H=G:57HCFMGHI8=C
        GCIB8F97CF8=B;5@6IA:95HIF=B;D9F:CFA5B79GC:H<9FH=GH =B7@I8=B;5@@5@H9FB5H9J9FG=CBG5B8F9A=L9G
        C: 5@@ HF57?G H<9F9CB P$C=BH &* Q  5B8 6 BC @9GG H<5B H<F99  5GGC7=5H98 DFC:9GG=CB5@@M DFC8I798
        AIG=7 J=89CG :CF HF57?G 7CBH5=B98 CB H<9 $C=BH &*  :CF H<9 5JC=85B79 C: 8CI6H  FH=GH CAD5BM K=@@
        89H9FA=B9K<=7<HF57?G:FCAH<9$C=BH&*H<9MK=@@G<CCHAIG=7J=89CG:CF FH=GHCAD5BMK=@@<5J9
        H<9 F=;<H HC 89H9FA=B9 K<=7< HF57?G 5F9 F9@95G98 5G H<9 GC 75@@98 PG=B;@9GQ :FCA $C=BH &*   FH=GH
        CAD5BM<9F96MF9DF9G9BHG5B8K5FF5BHGH<5H$C=BH&*K=@@7CBG=GHC:BC@9GGH<5BHK9@J9HF57?G 
          +97CF8GQA95BG5@@D<MG=75@F97CF8G=B7@I8=B;J=BM@5B8G5B8D<MG=75@7CD=9GC:J=89CG=B7@I8=B;
        /GC:H<9+97CF8=B;G =B5BM:CFA?BCKBCF@5H9F89J9@CD98 P+97CF8GQ8C9GBCH=B7@I898CKB@C58G 
        G9FJ9F7CD=9G CF9D<9A9F5@CFCH<9F7CD=9GA589=B7CBB97H=CBK=H<8=;=H5@HF5BGA=GG=CBG 
            P,5@9G*5FHB9FQA95BG5H<=F8D5FHM9B;5;986MCFCB69<5@:C:)F7<5F8HC8=GHF=6IH9+97CF8G
          P-5@9BHQ A95BG 5@@ 57HCFG  8=F97HCFG  DFC8I79FG  KF=H9FG  AIG=75@ D9F:CFA=B; 5FH=GHG  9B;=B99FG 
        5H<@9H9G GCB;KF=H9FG 7F9K5B85BMCH<9FGK<CD9F:CFA98CFD5FH=7=D5H98=BH<9A5?=B;C:CBH9BH 
            P-9FF=HCFMQA95BGH<9KCF@8 
        
     
                                      
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             
             L7@IG=J9=GHF=6IH=CB+=;<HG 
                 5 )F7<5F85GL7@IG=J9=GHF=6IHCF 1CI<9F96M5DDC=BH)F7<5F85GH<99L7@IG=J98=GHF=6IHCFC:
        H<9 +97CF8=B;G 8IF=B; H<9 -9FA 5B8 H<FCI;<CIH H<9 -9FF=HCFM  J=5 =;=H5@ =GHF=6IH=CB 5B8 *<MG=75@
        =GHF=6IH=CB -<=G5DDC=BHA9BH=B7@I89GH<99L7@IG=J9F=;<HGHCG9@@ 7CDM 8=GHF=6IH9 D9F:CFA GI6@=79BG9 
        ACB9H=N95B8CH<9FK=G99LD@C=HH<9+97CF8=B;GJ=55BM5B85@@:CFAGC:GI7<8=GHF=6IH=CB =B7@I8=B;8=F97H
        HCF9H5=@9FG 8=;=H5@G9FJ=79DFCJ=89FG 8=F97HHC7CBGIA9FG 5B8HCCH<9FGC:5BM89G7F=DH=CBH<5H9LD@C=H
        GCIB8CF5I8=CJ=GI5@F97CF8=B;G6M5BM5B85@@A95BG5B8A98=5K<9H<9FBCK?BCKBCF9L=GH=B;=BH<9
        :IHIF9 5G G9@97H98 6M )F7<5F8 =B =HG 8=G7F9H=CB P)IH@9HGQ  =B7@I8=B; 5G 9A6C8=98 =B GC 75@@98 PIG9F
        ;9B9F5H987CBH9BHQ5B8P5FHHF57?GQGI7<5GJ=51CI-I69 )B795+97CF8=B;=GGI6>97HHC8=GHF=6IH=CB
        <9F9IB89F  MCIF ;F5BH C: F=;<HG HC )F7<5F8 9LH9B8G :CF H<9 8IF5H=CB C: H<9 -9FA  G 5 F9GI@H  5BM
        +97CF8=B;GGC@8 @=79BG98 CFHF5BG:9FF98HC5H<=F8D5FHM CFHCK<=7<MCICH<9FK=G9@CG9F=;<HG F9A5=B
        GI6>97H HC H<=G ;F99A9BH :CF H<9 :I@@ -9FA  CF DIFDCG9G C: 7@5F=HM  )F7<5F8 A5M BCH 5@H9F  F9A=L  CF
        CH<9FK=G97<5B;9H<9+97CF8=B;GK=H<CIHFH=GHCAD5BMRGDF=CFKF=HH9B7CBG9BHK<=7<A5M69K=H<<9@8
        =B=HGGC@98=G7F9H=CBDFCJ=898H<5H)F7<5F8A5M9B7C89H<9+97CF8=B;G5GB979GG5FM:CFH<9DIFDCG9
        C: 5IHCA5H98 89@=J9FM HC )IH@9HG GI6>97H HC H<9 H9FAG C: ,97H=CB    88=H=CB5@@M  )F7<5F8 K=@@ BCH
        F9@95G9 5BM +97CF8=B;G 5G D5FH C: 5 7CAA9F7=5@ 7CAD=@5H=CB K=H<CIH FH=GH CAD5BMRG DF=CF KF=HH9B
        5DDFCJ5@K<=7<A5M69K=H<<9@8=B=HGGC@98=G7F9H=CB 
                 6 FH=GH CAD5BM 5B8 FH=GH K=@@ BCH 7F95H9 CF 9B;5;9 5BM H<=F8 D5FHM HC 7F95H9 5BM <5BB9@G
        GD97=:=75@@M:CFFH=GH5G5;FCID5B8 CF$C=BH&*8IF=B;H<9-9FA<9F9C: (CHK=H<GH5B8=B;H<9:CF9;C=B; 
        =H=G<9F96M57?BCK@98;98H<5HH<9F95F9DF9 9L=GH=B;<5BB9@G:CF)NIB55B8BI9@5GGC@C5FH=GHG
        DIFGI5BHHCH<9)NIB5;F99A9BH5B8BI9@;F99A9BHF9GD97H=J9@M 
                       

                 7FHKCF?(5A9&=?9B9GG IF=B;H<9-9FA MCI<9F96M;F5BH)F7<5F85B8H<9)IH@9HGH<9
        F=;<H GC@9@M=BCF89FHC9LD@C=H5B8DFCACH9H<9+97CF8=B;G5B8H<9CBH9BH HCIG9=FH=GHRGRB5A9G 
        HF589A5F?G  @C;CG  @=?9B9GG9G  D<CHC;F5D<G 5B8 6=C;F5D<=75@ A5H9F=5@  == 5@6IA 5B8 DFC8I7H=CB
        5FHKCF? J=89CGH=@@G H<IA6B5=@=A5;9G 5B8H<9B5A9G @=?9B9GG9G5B86=C;F5D<=75@A5H9F=5@C:-5@9BH 
        5B8===FH=GHCAD5BMRGB5A9G HF589A5F?G @C;CG 6=C;F5D<=75@A5H9F=5@5B8=A5;9G (CHK=H<GH5B8=B;
        H<9 :CF9;C=B;  )F7<5F8 K=@@ CB@M IG9 GI7< A5H9F=5@G HC H<9 9LH9BH 89@=J9F98 CF CH<9FK=G9 5DDFCJ98 6M
        MCI 
                       

          C@@97H=CB,C7=9HM#B7CA9 ,C@9@MK=H<F9GD97HHCH<9+97CF8=B;G 6IHGI6>97HHCH<9@5GHG9BH9B79
        C:H<=G,97H=CB  MCI<9F96M5DDC=BH)F7<5F85GMCIF9L7@IG=J97CDMF=;<HCKB9F5;9BH @=79BG995B8
        F9DF9G9BH5H=J9 8IF=B; H<9 -9FA :CF DIFDCG9G C: F9;=GH9F=B; H<9 +97CF8=B;G K=H< 5B8 7C@@97H=B; =B7CA9
        :FCAH<9+97CF8=B;G:FCA5@@5DD@=756@97C@@97H=J9F=;<HGCF@=79BG=B;CF;5B=N5H=CBG5B8GCIB8F97CF8=B;
        7C@@97H=CB GC7=9H=9G  GI7< 5G ,CIB8L7<5B;9  **& 5B8 CH<9FG H<FCI;<CIH H<9 -9FF=HCFM P,C7=9H=9GQ 
        =B7@I8=B;:CFD9F:CFA5B79 6FC5875GH=B; B9=;<6CF=B;F=;<HG 5B8GMB7<FCB=N5H=CB5B88I66=B;F=;<HG HC
        H<9 9LH9BH 58A=B=GH9F98 6M ,C7=9H=9G CF 5G CH<9FK=G9 5IH<CF=N98 6M GH5HIH9  =B8IGHFM 5;F99A9BH CF
        CH<9FK=G9  #B 588=H=CB  MCI ;F5BH )F7<5F8 H<9 9L7@IG=J9 F=;<H HC 5IH<CF=N9 ,C7=9H=9G HC @=79BG9 H<9
        +97CF8=B;G:CFDI6@=7D9F:CFA5B79 6FC5875GH=B; F9 IG9 F9HF5BGA=GG=CB GMB7<FCB=N5H=CB 8I66=B;5B8
        A5?=B;5J5=@56@9HCH<9DI6@=7GI7<+97CF8=B;G (CHK=H<GH5B8=B;H<9:CF9;C=B; BCH<=B;<9F9=B@=A=HGCF
        CH<9FK=G9F9GHF=7HGMCIFF=;<HHC7C@@97HH<9GC 75@@98P5FH=GHRGG<5F9Q:FCAGI7<,C7=9H=9G 
                                                                       

          ,MB7<FCB=N5H=CB IF=B;H<9-9FA MCI<9F96M;F5BHHC)F7<5F8H<99L7@IG=J9KCF@8K=89F=;<HHC
        @=79BG9F9DFC8I7H=CBGC:H<9+97CF8=B;G=BGMB7<FCB=N5H=CBK=H<J=GI5@=A5;9G @@GI7<@=79BG9G:CFIG9
        =B 7CAA9F7=5@G  H9@9J=G=CB CF :=@A DFC8I7H=CBG 5F9 GI6>97H HC MCIF DF=CF 5DDFCJ5@ K<=7< MCI K=@@ BCH
        K=H<<C@8 IBF95GCB56@M  BCF =B CF89F HC F9B9;CH=5H9 CH<9F H9FAG C: H<=G ;F99A9BH  )B79 )F7<5F8
        =BHFC8I79G 5 GMB7<FCB=N5H=CB D@579A9BH CDDCFHIB=HM =B KF=H=B; HC MCI  H<5H CDDCFHIB=HM 5@CB; K=H< 5BM
        CDH=CBG CF 5B7=@@5FM IG9G GI7< 5G :=@A  HF5=@9FG  -/ G<CKG 5B8 F9@5H98 7CAA9F7=5@G  5B8 J=79 J9FG5
        697CA9G9L7@IG=J9HC)F7<5F8 
        

          #BH9BH=CB5@@M89@9H98 
        
               "-73 
        
          #B=H=5@-9FA -<9=B=H=5@H9FAC:H<=G;F99A9BHFIBG:FCAH<9::97H=J95H9H<FCI;<H<9@5H9FC:
        5H<9@5GH85MC:H<975@9B85FACBH<H<5H=GH9BM95FG5:H9FH<97CAA9F7=5@F9@95G985H9C:$C=BH
        &*   DFCJ=898 H<5H =: GI7< 85M <5DD9BG HC :5@@ CB 979A69F   H<9 =B=H=5@ H9FA K=@@ 7CBH=BI9 :CF 5B
        588=H=CB5@ACBH<H<FCI;<$5BI5FM 5B86H<99B8C:H<9577CIBH=B;D9F=C8=BK<=7<5@@58J5B79G
        D5=86M)F7<5F8CF=HG5::=@=5H9GDIFGI5BHHCH<=G;F99A9BH<5J9699B:I@@MF97CID98 (CHK=H<GH5B8=B;
        H<9:CF9;C=B; K=H<F9GD97H957<+97CF8=B;89@=J9F98<9F9IB89F )F7<5F8G<5@@699BH=H@98HC5A=B=AIA
        9LD@C=H5H=CB D9F=C8 C: BCH @9GG H<5B H9B  M95FG  88=H=CB5@@M  :CF G=L  ACBH<G :C@@CK=B; H<9
        7CAA9F7=5@ F9@95G9 85H9 C: $C=BH &*   MCI K=@@ BCH F9@95G9 5BM CH<9F GHI8=C 5@6IAG CF *G :95HIF=B;
                                                                  
                                                              
                           
     
                                      
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             
        D9F:CFA5B79G C: )NIB5 5B8 CF BI9@   5B8 :CF H<F99  ACBH<G :C@@CK=B; H<9 7CAA9F7=5@ F9@95G9
        85H9C:$C=BH&* )NIB55B8BI9@K=@@BCH5DD95FCBCFF9@95G95BMHF57?5G5A5=BCF:95HIF98
        D9F:CFA9FIB@9GGCH<9FK=G9AIHI5@@M5;F998=BKF=H=B; 
        
          +9B9K5@G5B8LH9BG=CBG  C@@CK=B;H<9=B=H=5@H9FA H<9;F99A9BHK=@@5IHCA5H=75@@M7CBH=BI9
        :CF588=H=CB5@ 7CBG97IH=J9F9B9K5@H9FAGC:CB9ACBH<957< IB@9GGMCICF)F7<5F8;=J9GH<9CH<9F
        (CH=79C:H9FA=B5H=CB5H@95GHH<=FHM85MG69:CF9H<99LD=F5H=CBC:H<9=B=H=5@H9FACFF9B9K5@H9FA
        CH<9FK=G9 5F9B9K5@H9FAK=@@5IHCA5H=75@@M5DD@M -CH<99LH9BHMCI<5J95B9;5H=J965@5B79=BMCIF
        577CIBH H<9-9FAK=@@5IHCA5H=75@@M9LH9B89J9B=:MCI<5J9G9BH5(CH=79C:H9FA=B5H=CBCB5ACBH<
        HC ACBH<65G=GIBH=@H<99B8C:H<9ACBH<=BK<=7<MCIF577CIBH65@5B79697CA9GDCG=H=J9CFMCIF9D5M
        HC )F7<5F8 CB9 <IB8F98 5B8 HK9BHM :=J9 D9F79BH  C: GI7< IBF97CID98 65@5B79 H5?=B; =BHC
        577CIBH*=D9@=B9#B7CA95B85BM5DD@=756@9@=EI=85H=CBC:F9G9FJ9G<9@8 -<9P-9FAQC:H<=G;F99A9BH
        A95BGH<9=B=H=5@H9FA H<9F9B9K5@H9FAG 5B85BM5DD@=756@99LH9BG=CBG #:MCI9L9F7=G9MCIFF=;<HHC
        A5?9 GI7< F9D5MA9BH :C@@CK=B; H<9 =B=H=5@ H9FA H<9B MCIF FCM5@HM 577CIBH <9F9IB89F G<5@@ 69 899A98
        F97CID985GC:H<985H9CBK<=7<MCIA5?9GI7<D5MA9BHH<9P+9D5MA9BH5H9Q 5B8H<9-9FAG<5@@
        9LD=F95GC:H<9+9D5MA9BH5H9 
        
        
              7+0)7,@818971*:9154+91;191-8 
                       

          =;=H5@=GHF=6IH=CB )F7<5F8K=@@5GC@=7=H5B8G9FJ=79)IH@9HG:CF=;=H5@=GHF=6IH=CB 69B7C89
        +97CF8=B;G=BH<9F9EI=F98:CFA5HG 5B87DFC79GG89@=J9FMC:+97CF8=B;GHCGI7<)IH@9HG )F7<5F8
        8C9G BCH ;I5F5BH99 D@579A9BH C: +97CF8=B;G K=H< 5BM )IH@9H  #: MCI F9EI=F9 BCB GH5B85F8 9B7C8=B; 
        :CFA5HH=B;CFGI6H=H@=B; =HA5MF9GI@H=B588=H=CB5@7CGHGHCMCI K<=7<)F7<5F8A5MF9EI=F9=B58J5B79 
        #H=GIB89FGHCC8H<5H=:)F7<5F8=GF9EI9GH98HCIB89FH5?9BCB GH5B85F89B7C8=B; :CFA5HH=B; GI6H=H@=B;
        CF BCB 7IGHCA5FM 9B7C8=B;  )F7<5F8 K=@@ BCH=:M MCI 9A5=@ =G GI::=7=9BH C: 5BM 7<5B;9G B99898 :CF
        7CB:CFA5B79K=H<)IH@9HF9EI=F9A9BHG K<9F96MMCIG<5@@9=H<9FA5?9GI7<98=HG5B8 CF7<5B;9GK=H<=B
        H<=FHM85MG=BK<=7<75G9 MCIAIGH58J=G9)F7<5F8DFCADH@M=BKF=H=B;9A5=@=GGI::=7=9BHH<5HMCI
        K=@@ 69 A5?=B; GI7< 98=HG 5B8 CF 7<5B;9G  CF MCI AIGH D5M H<9 588=H=CB5@ 7CGHG :CF )F7<5F8 HC A5?9
        GI7<98=HG5B8 CF7<5B;9G 5B8)F7<5F8A5MF9EI=F9GI7<D5MA9BHG=B58J5B79 
                       

          *<MG=75@=GHF=6IH=CB )F7<5F8K=@@5GC@=7=H+97CF8G5@9G:FCA)IH@9HG 6:I@:=@@)IH@9HCF89FG 
        7 K5F9<CIG9 +97CF8G  7 DFCJ=89 =BJ9BHCFM F9DCFH=B;  5B8 8 DFC79GG F9HIFBG :FCA )IH@9HG  5@@ 5G
        :IFH<9F89G7F=698=B,7<98I@9 
                       

          ::=@=5H9G5B8CBHF57HCFG )F7<5F8A5M9@97HHCCD9F5H9=BD5FHJ=5=HG7CFDCF5H95::=@=5H9G H<=F8
        D5FHM 7CBHF57HCFG 5B8 ,5@9G *5FHB9FG  "CK9J9F  )F7<5F8 F9A5=BG 8=F97H@M @=56@9 :CF 5@@ C: =HG D5MA9BH
        5B8CH<9FC6@=;5H=CBGHCMCI ,C@9@MHCH<99LH9BHB99898:CFGI7<CD9F5H=CBG )F7<5F8A5MGI6@=79BG9
        =HGF=;<HGIB89FH<=G;F99A9BH GI6>97HHCH<9F9EI=F9A9BHGC:)F7<5F8HCF9A5=B8=F97H@M@=56@9HCMCI
        :CF5@@C:=HGD5MA9BH5B8CH<9FC6@=;5H=CBGHCMCI 
          0CF?GH5H=CB 779GG  #B 7CBB97H=CB K=H< MCIF +97CF8=B;G  )F7<5F8 K=@@ DFCJ=89 MCI 5779GG HC
        F9@95G9 5B8 HF57? @9J9@ G5@9G 5B8 GHF95A=B; F9DCFH=B; J=5 )F7<5F8RG 0CF?GH5H=CB DCFH5@  )F7<5F8 A5M
        IG9=B:CFA5H=CB5B885H55F=G=B;:FCACF;9B9F5H98 C6H5=B98 CF57EI=F986M)F7<5F8=B7CBB97H=CBK=H<
        H<9 9LD@C=H5H=CB C: *FCD9FH=9G  =B7@I8=B; 89AC;F5D<=7  GH5H=GH=75@  IG5;9 5B8 5BCBMA=N98 85H5 F9@5H=B;
        HCGI7<57H=J=HM =B7@I8=B;:CFDIFDCG9GC:75@7I@5H=B;)F7<5F8RGA5F?9HG<5F9 K=H<5@@GI7<=B:CFA5H=CB
        GI6>97HHC)F7<5F8RGDC@=7=9GCBH<9DFCH97H=CBC:D9FGCB5@=B:CFA5H=CB5B8D9FGCB5@85H5 
        
          +9@95G9 5H9G  -<9 D5FH=9G <9F96M 5;F99 H<5H H<9 7CAA9F7=5@ F9@95G9 85H9 :CF $C=BH &*  =G
        $5BI5FM 5B8H<5HH<9D5FH=9GK=@@IG9;CC8:5=H<9::CFHGHCA99HH<9F9@95G985H9 DFCJ=898H<5H
        )F7<5F8K=@@BCH69F9GDCBG=6@9:CFH<9=B56=@=HMC:5BM)IH@9HGHCA99HGI7<F9@95G985H95G5F9GI@HC:
        5BM75IG9CIHG=89C:H<9)F7<5F8RGF95GCB56@97CBHFC@ 
        
              '5:7*21/)91548 
                       

          9@=J9FM C: +97CF8=B;G  #AA98=5H9@M :C@@CK=B; H<9 ::97H=J9 5H9 5B8 H<FCI;<CIH H<9 -9FA MCI
        K=@@ 89@=J9F +97CF8=B;G 5B8 CH<9F 9@=J9F56@9G 5H MCIF 9LD9BG9 =B 577CF85B79 K=H< ,7<98I@9  HC H<9
        588F9GG H<5H )F7<5F8 GD97=:=9G  0=H< F9GD97H HC 957< +97CF8=B;  P9@=J9FMQ K=@@ 69 7CAD@9H9 K<9B
        )F7<5F8DFCJ=89GKF=HH9B7CB:=FA5H=CB9A5=@G<5@@GI::=79 K<=7<K=@@BCH69IBF95GCB56@MK=H<<9@8CF
        89@5M98  H<5H MCI <5J9 89@=J9F98 H<9 :=B=G<98 +97CF8=B; HC )F7<5F8  5B8 5@@ DI6@=G<=B; 5B8 CH<9F
        =B7CFDCF5H98 A5H9F=5@ <5G 699B :I@@M 7@95F98 :CF H<9 )F7<5F8RG IG9  1CIF P#B=H=5@ 9@=J9FMQ K=@@ 69
        7CAD@9H9 K<9B MCI <5J9 :I@@M 9@=J9F98 H<9 9@=J9F56@9G H<5H 5F9 =B MCIF DCGG9GG=CB CF 7CBHFC@ 5G C:
        H<9 ::97H=J9 5H9  CF H<9 5JC=85B79 C: 8CI6H  CB79 5 +97CF8=B; <5G 699B 7CAA9F7=5@@M F9@95G98
                                                                 
                                                             
                           
     
                                      
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             
        DIFGI5BHHCH<=G;F99A9BH=HK=@@5IHCA5H=75@@M69899A98HC<5J9699B9@=J9F98<9F9IB89F )F7<5F8
        <9F96M57?BCK@98;9G9@=J9FMC:H<9+97CF8=B;G 
                       

             #BH9BH=CB5@@M)A=HH98
                       

          -<=F8 *5FHMCBG9BHG *9FA=GG=CBG )6@=;5H=CBG #B7CBB97H=CBK=H<9LD@C=H5H=CBC:H<9*FCD9FH=9G
        IB89FH<=G;F99A9BH MCI5F9GC@9@MF9GDCBG=6@9:CFMCIF7CGHG5B89LD9BG9G 5B85BMC6@=;5H=CBGCF
        @=56=@=H=9GHCH<=F8D5FH=9GF9@5H98HCH<99LD@C=H5H=CBGMCI5IH<CF=N9=BH<=G;F99A9BH  CF9L5AD@9 MCI
        5F9F9GDCBG=6@9:CF55BMH5L9GH<5HMCICK965BM5ACIBHG8I9HC5FH=GHG DFC8I79FG D9F:CFA9FG 
        -5@9BH  5B8 5BM CH<9F D9FGCBG K<C 7CBHF=6IH98 HC H<9 *FCD9FH=9G 7 5ACIBHG 8I9 HC 5BM D5FHM :CF
        G5AD@9G  CF :CF :CCH5;9 =B H<9 *FCD9FH=9G 8 5BM D5MA9BHG MCI <5J9 5;F998 HC IB89F 5 7C@@97H=J9
        65F;5=B=B; 5;F99A9BH 9 5ACIBHG CK98 6M MCI :CF 5BM B979GG5FM 65F 7C89 G9EI9B79G  5B8 CH<9F
        ;CJ9FBA9BH5@ CF =B8IGHFM 5779DH98 =89BH=:=9FG : AIG=7 DI6@=G<=B; @=79BG9G  =B7@I8=B; GMB7<FCB=N5H=CB
        5B8 8=;=H5@ A97<5B=75@ @=79BG9G  5B8 5BM 5GGC7=5H98 FCM5@H=9G CF :99G ; 58J9FH=G=B;  A5F?9H=B; 5B8
        DFCACH=CBMCI7<CCG9HC8C:CFH<9*FCD9FH=9G5B8<GCIB8F97CF8=B;5B85FHKCF?7@95F5B79G #BH<9
        9J9BHH<5HMCI:5=@HC7CJ9F5BMC:H<9:CF9;C=B; )F7<5F8<5GH<9F=;<H6IHBCHH<9C6@=;5H=CBHC7CJ9F
        H<9A :CF MCI  5B8 HC 7<5F;9 5BM 5DD@=756@9 5ACIBHG HC MCI  DFCJ=898 )F7<5F8 K=@@ BCH GC 7CJ9F 5BM
        9LD9BG9G K=H<CIH MCIF 7CBG9BH 9A5=@ =G GI::=7=9BH 5B8 K=H<CIH :=FGH BCH=:M=B; MCI C: H<9 :5=@IF9 5B8
        5::CF8=B;MCI5F95GCB56@9CDDCFHIB=HMHC7IF9H<9G5A9 #BH<99J9BHH<5H)F7<5F8D5MGCF75IG9GHC
        69D5=89LD9BG9GCBMCIF69<5@:=B577CF85B79K=H<H<9:CF9;C=B; )F7<5F8K=@@7<5F;9GI7<5ACIBHG
        HCMCI5HH<957HI5@J9F=:=56@97CGH 
                       

          9@9H98+97CF8=B;G 0=H<CIH@=A=H=B;MCIF=B89AB=:=75H=CBC6@=;5H=CBG =:MCIBC@CB;9F<5J9H<9
        B979GG5FMF=;<HGHC5B=B8=J=8I5@+97CF8=B;CFCH<9F*FCD9FHM CF=:H<9*FCD9FHM=GH<9GI6>97HC:5H<=F8
        D5FHM7@5=AH<5HF95GCB56@MF=G?G9LDCG=B;MCICF)F7<5F8HC@=56=@=HM MCIAIGHDFCADH@M=B:CFA)F7<5F8
        =B KF=H=B; 9A5=@ G<5@@ GI::=79 GC H<5H )F7<5F8 A5M BCH=:M )IH@9HG HC F9ACJ9 H<9 *FCD9FHM  CF H<9
        5JC=85B79 C: 8CI6H  MCI 5F9 BCH D9FA=HH98 HC 89@9H9 5BM +97CF8=B; :FCA 8=GHF=6IH=CB 6M )F7<5F8 :CF
        7CBJ9B=9B79 
                       

          )F7<5F8CBH9BH!I=89@=B9G @@+97CF8=B;G5B8CH<9F*FCD9FH=9GAIGH56=896MH<9H9FAGC:H<9
        )F7<5F8CBH9BH!I=89@=B9GG9H:CFH<CB,7<98I@9K<=7<)F7<5F8A5MID85H9:FCAH=A9HCH=A9 #:
        5BM*FCD9FH=9G5DD95FBCHHC56=896MGI7<;I=89@=B9G9=H<9F=B8=J=8I5@@MCF=BH<95;;F9;5H9 )F7<5F8
        A5M =B =HG GC@9 8=G7F9H=CB F9>97H  H5?9 8CKB  CF 795G9 8=GHF=6IH=CB CF ACB9H=N5H=CB C: 5BM CF 5@@ GI7<
        *FCD9FH=9G  5B8 =: GI7< :5=@IF9 7CBH=BI9G :CF H<=FHM  85MG 5:H9F )F7<5F8RG (CH=79 HC MCI 56CIH =H 
        )F7<5F8A5M9@97HHCH9FA=B5H9H<=G;F99A9BH 
                       

             F5I8I@9BH*F57H=79G 1CIK=@@BCH 5B8K=@@BCH5IH<CF=N9CF9B7CIF5;95BMH<=F8D5FHMHC 8=F97H@M
        CF=B8=F97H@M;9B9F5H9GHF95AGCFEI9F=9G CF;9B9F5H9=ADF9GG=CBGC:CF7@=7?GCB5BM58G H<FCI;<5BM
        5IHCA5H98  8979DH=J9  :F5I8I@9BH CF CH<9F =BJ5@=8 A95BG  =B7@I8=B; 6M K5M C: F9D95H98 A5BI5@ 7@=7?G 
        H<9IG9C:P6CHGQCFCH<9FK=G9 1CI57?BCK@98;9H<5H8C=B;GCA5MF9GI@H=BH<9F9ACJ5@C:GCA9CF5@@
        C:MCIF*FCD9FH=9G:FCA)IH@9HG 5GK9@@5GH<9K=H<<C@8=B;C:FCM5@H=9G6MGI7<)IH@9HG #B588=H=CB =B
        BC 9J9BH K=@@ MCI F9DF9G9BH MCIFG9@: 5G )F7<5F8RG CF ,CBM 'IG=7RG F9DF9G9BH5H=J9  CF IG9 5BM C: H<9=F
        HF589A5F?G K=H<CIH 9LDF9GG D9FA=GG=CB  CF F9DF9G9BH MCIFG9@: 5G 5::=@=5H98 CF 7CBB97H98 K=H< H<9A =B
        5BMK5MH<5H=GBCHGHF=7H@M577IF5H9 K<9H<9F=B7CBB97H=CBK=H<H<=G;F99A9BHCFCH<9FK=G9 6IH6CH<
        MCI 5B8 )F7<5F8 A5M 577IF5H9@M GH5H9 H<5H MCIF +97CF8=B;G 5F9 P8=GHF=6IH98 6M -<9 )F7<5F8 Q #B H<9
        9J9BHH<5H)F7<5F869@=9J9G=B;CC8:5=H<H<5HMCI<5J9J=C@5H98H<=G,97H=CB  H<9BIDCB(CH=79HC
        MCIH<9)F7<5F8A5MK=H<<C@8D5MA9BHGHCMCIIBH=@GI7<GIGD97H98:F5I8=GF9GC@J985B8F9A98=98HC
        )F7<5F8RGG5H=G:57H=CB2GI6>97HHCH<97IF9D9F=C8GC:FH=7@93 5B8=:GI7<:F5I8=GBCHF9GC@J98H<9B
        H<9)F7<5F8A5M=AA98=5H9@MH9FA=B5H9H<=G;F99A9BH 
                       

          77IF57M  #H =G MCIF F9GDCBG=6=@=HM HC 9BGIF9 H<5H 5@@ =B:CFA5H=CB MCI DFCJ=89 HC )F7<5F8 =G
        577IF5H9 =B7@I8=B;5BMA9H585H5CFCH<9F=B:CFA5H=CB;5H<9F986M)F7<5F8H<5HMCI<5J9H<9B7CB:=FA98
        HC69577IF5H9 .DCB:=FGH89@=J9FMC:H<9*FCD9FH=9G MCIK=@@58J=G9)F7<5F8C:5@@7CBHF57HI5@@=A=H5H=CBG
        HCMCIFF=;<HG=B7@I8=B;-9FF=HCFM@=A=H5H=CBG5B8H=A9 @=A=H98@=79BG9G 
                       

          '5=BH9B5B79 C: 5H5@C;  1CI IB89FGH5B8 H<5H )F7<5F8 B998G HC F9H5=B GI::=7=9BH *FCD9FH=9G HC
        F97CIDMCIF58J5B79G G5F9GI@H MCIK=@@9BGIF9H<5H5BM+97CF8=B;GGC@8 @=79BG98CFHF5BG:9FF98HC
        5H<=F8D5FHMF9A5=BGI6>97HHCH<=G;F99A9BH:CFH<9:I@@-9FA 
                       

          FH=GHC@@56CF5H=CBG  FCAH=A9HCH=A9 )F7<5F8A5MGI;;9GHDCH9BH=5@7C@@56CF5H=CBG:CF5FH=GHG
        :95HIF98 CB MCIF +97CF8=B;G K=H< CH<9F 5FH=GHG MCI 5;F99 HC 7CBG=89F GI7< GI;;9GH=CBG =B ;CC8 :5=H<
        DFCJ=898MCIF:=B5@897=G=CBK=@@7CBHFC@ 
                       

          (CH=79C:9FH5=B-F5BG57H=CBG #:MCIKCI@8@=?9HCG9@@ MCIF7CBH9BH8IF=B;H<9-9FA )F7<5F8
        A5M69=BH9F9GH98 1CI5;F99H<5H=:5H5BMH=A98IF=B;H<9-9FAMCIG99?HCG9@@ HF5BG:9FCFCH<9FK=G9

                                                                  
                                                              
                           
     
                                      
                    Case 3:24-cv-01068-RAM      Document 1-6 Filed 02/14/24 Page 138 of 187
             
        8=GDCG9C:GCA9CF5@@C:H<9+97CF8=B;G MCIK=@@BCH=:M)F7<5F8 )F7<5F8K=@@H<9B<5J9H<9F=;<H8IF=B;
        H<9H<=FHM75@9B85F85MD9F=C8=AA98=5H9@M:C@@CK=B;H<985H9IDCBK<=7<MCIBCH=:M)F7<5F8C:GI7<
        7CBH9AD@5H98HF5BG57H=CBHCA5?9MCI5BC::9FP)::9F*9F=C8Q :CFGI7<+97CF8=B;G #:)F7<5F89@97HG
        BCH HC A5?9 5B C::9F F9;5F8=B; H<9 +97CF8=B;G CF =: 5B 5;F99A9BH 69HK99B MCI 5B8 )F7<5F8 :CF H<9
        DIF7<5G9C:GI7<+97CF8=B;G75BBCH697CBGIAA5H988IF=B;H<95:CF9A9BH=CB98)::9F*9F=C8 MCIK=@@
        <5J9H<9F=;<HHCB9;CH=5H95B5;F99A9BHK=H<F9GD97HHCGI7<7CBH9AD@5H98HF5BG57H=CBK=H<5BMH<=F8
        D5FHM=9G 
        

          ;95B8IH<CF=HM 1CIF9DF9G9BH5B8K5FF5BHH<5HFH=GH=G5H@95GH9=;<H99BM95FGC:5;9 
        5B8=GBCHIB89F5BM8=G56=@=HM F9GHF=7H=CBCFDFC<=6=H=CB K<9H<9F7CBHF57HI5@CFCH<9FK=G9 K=H<F9GD97H
        HCMCIFF=;<HHC9L97IH9H<=G;F99A9BHCFMCIF5B8FH=GHRGF=;<HGHCD9F:CFA=HGH9FAG5B87CB8=H=CBG 
        
              -+0)41+)2,3141897)9154!-7;1+-8
        
                5 *FCJ=898H<5HMCI=DFCJ=89)F7<5F8K=H<5@@*I6@=G<=B;#B:CFA5H=CB5G89:=B9869@CK:CF
        957<AIG=75@7CADCG=H=CBK=H<=BH<95DD@=756@9+97CF8=B;G7C@@97H=J9@M H<9PCADCG=H=CBGQ 5B8==
        =B8=75H9K=H<=B)F7<5F8G66KCF?GH5H=CB5HH<9H=A9C:9@=J9FMC:H<95DD@=756@9+97CF8=B;GH<5HMCI
        F9EI=F9GI7<G9FJ=79:CFGI7<+97CF8=B;G )F7<5F8K=@@9B895JCFHCG97IF98=;=H5@D<CBCF97CF889@=J9FM
        P*Q @=79BG9G :FCA H<9 AIG=7 DI6@=G<9FG 7C@@97H=J9@M  H<9 P*I6@=G<9FGQ C: H<9 CADCG=H=CBG 
        B979GG5FM :CF 9LD@C=H5H=CB C: H<9 +97CF8=B;G =B H<9 .B=H98 ,H5H9G 7C@@97H=J9@M  H<9 P* &=79BG9GQ
        8IF=B;H<9-9FA:CFH<9&*G5HBC7CGHHCMCI9L79DH :CFH<95JC=85B79C:8CI6H H<=F8D5FHM7CGHGCB5
        PD5GGH<FCI;<Q65G=G /=55GDF958G<99HHC69DFCJ=898HCMCI6M)F7<5F8:C@@CK=B;H<9::97H=J95H9 
        MCIK=@@DFCJ=89)F7<5F8K=H<7CAD@9H95B8577IF5H9GCB;KF=H9FB5A9G DI6@=G<9FB5A9G 5B8GD@=HG5G
        K9@@5GDI6@=G<9F7CBH57H=B:CFA5H=CB GCB;H=H@9 HF5BG@5H=CBG 0CF?(IA69F2CFF9;=CB5@9EI=J5@9BH3H<9
        P*I6@=G<=B; #B:CFA5H=CBQ 5H H<9 H=A9 C: 9@=J9FM C: H<9 5DD@=756@9 +97CF8=B; HC )F7<5F8   CF 7@5F=HM 
        )F7<5F8K=@@CB@MD9F:CFAA97<5B=75@58A=B=GHF5H=CBG9FJ=79G5GG9H:CFH<K=H<=BH<=GFH=7@95=:MCI
        <5J9 A9H H<9 F9EI=F9A9BHG G9H :CFH< =B H<=G D5F5;F5D< 5 56CJ9 =B 7CBB97H=CB K=H< H<9 5DD@=756@9
        +97CF8=B; 
        
                6 )F7<5F8=G5IH<CF=N98CB69<5@:C:MCI 5B85HMCIF9LD9BG9 HCF9A=HD5MA9BHG8I9HCH<9
        *I6@=G<9FG IB89F H<9  &=79BG9G =H G97IF9G   )F7<5F8 <5G H<9 F=;<H HC 898I7H D5MA9BHG A589 HC
        *I6@=G<9FG:FCAACB=9GCH<9FK=G9D5M56@9HCMCI 
        
                7 )F7<5F8A5MG97IF9*&=79BG9G:CFCADCG=H=CBG=B7CBB97H=CBK=H<IG9G6M7CAD5B=9G
        5::=@=5H98 K=H< )F7<5F8  5B8 CH<9FG CB GH5B85F8 H9FAG 5B8 7CB8=H=CBG  -<9 * &=79BG9G G97IF98 6M
        )F7<5F8 K=@@ 69 9L97IH98 6M )F7<5F8 5G 5;9BH   #B GI7< F9;5F8  MCI <9F96M ;F5BH HC )F7<5F8 5B8 =HG9
        9AD@CM99G H<9 F=;<H 5B8 5IH<CF=HM HC 9L97IH9 * &=79BG9G CB MCIF 69<5@:  K<=7< @=A=H98 DCK9F C:
        5HHCFB9M=G7CID@98K=H<5B=BH9F9GH5B8=FF9JC756@98IF=B;H<9-9FA #::CF5BMF95GCB=H=GBCHDCGG=6@9
        CF DF57H=756@9 :CF FH=GH CAD5BM HC 69 5 D5FHM HC 5 * &=79BG9  )F7<5F8 A5M 9BH9F =BHC H<9 *
        &=79BG9=B)F7<5F8RGB5A95GMCIF89G=;B995B8K=H<CIH@=A=H5H=CBC:H<9D5FH=9GRF9GD97H=J9F=;<HG5B8
        C6@=;5H=CBG<9F9IB89F  IFH<9F =::CF5BMF95GCB=H=GBCHDCGG=6@9CFDF57H=756@9:CF)F7<5F8HCC6H5=B
        5*&=79BG9 )F7<5F8A5MG99?57CADI@GCFM@=79BG9 6IH=HK=@@BCH69C6@=;5H98HC8CGC 
        
               18971*:9154--8 
                       

          =;=H5@=GHF=6IH=CB GHC=;=H5@=GHF=6IH=CB=BH<9.B=H98,H5H9G 5B8=B'9L=7C5B89BHF5@5B8
        ,CIH<A9F=75P&-'Q )F7<5F8K=@@D5MMCI:=:HMD9F79BHC:5@@;FCGGF979=DHG57HI5@@MF979=J98
        6M)F7<5F8@9GG/-CFG=A=@5FG5@9GH5L9GF979=J98 5B85@@H5L9GF9EI=F98HC695DD@=98CFK=H<<9@8
        K=H<F9GD97HHC=;=H5@=GHF=6IH=CBC:H<9+97CF8=B;GHC9B8IG9FG= 9 9EI=J5@9BHHC58=GHF=6IH=CB:99
        HC )F7<5F8 C: :=:HM D9F79BH  C: GI7< ;FCGG F979=DHG  G HC =;=H5@ =GHF=6IH=CB KCF@8K=89 =B 5@@
        H9FF=HCF=9G 9L79DH H<9 .B=H98 ,H5H9G 5B8 &-'  )F7<5F8 K=@@ D5M MCI :CFHM D9F79BH  C: ;FCGG
        F979=DHG57HI5@@MF979=J986M)F7<5F8@9GG/-CFG=A=@5FG5@9GH5L9GF979=J98 5B85@@H5L9GF9EI=F98
        HC 69 5DD@=98 CF K=H<<9@8 K=H< F9GD97H HC =;=H5@ =GHF=6IH=CB C: H<9 +97CF8=B;G HC 9B8 IG9FG = 9 
        9EI=J5@9BH HC 5 8=GHF=6IH=CB :99 HC )F7<5F8 C: G=LHM D9F79BH  C: GI7< ;FCGG F979=DHG =B H<CG9
        H9FF=HCF=9G IBH=@H<9@5GH85MC:H<9ACBH<H<5H7CBH5=BGH<9:=J9M95F5BB=J9FG5FMC:H<97CAA9F7=5@
        F9@95G9 85H9 C: $C=BH &*   5:H9F K<=7< )F7<5F8 K=@@ D5M MCI :=:HM D9F79BH  C: 5@@ ;FCGG F979=DHG
        KCF@8K=89 )F7<5F8K=@@577CIBH5B87F98=HHCMCIF577CIBH5@@GI7<;FCGGF979=DHG @9GGGI7<8=GHF=6IH=CB
        :99G5B85BMCH<9FD9FA=HH98898I7H=CBG )F7<5F8K=@@IG969GH9::CFHGHCDFCJ=89FH=GHCAD5BMK=H<
        5@@B979GG5FM=B:CFA5H=CBGCH<9FH=GHCAD5BM75B7@5=A:CF9=;BH5L7F98=HGIDCBF9EI9GH 
        

             *<MG=75@=GHF=6IH=CB 99G           
                

                                                                  
                                                              
                           
     
                                       
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             
               5 99G )F7<5F8RG*<MG=75@=GHF=6IH=CB:99=G9EI5@HC:=:HMD9F79BHC:(9H,5@9G=BH<9
        .B=H98 ,H5H9G 5B8 &-'  5B8 G=LHM D9F79BH  =B H<9 F9GH C: H<9 KCF@8  IBH=@ H<9 @5GH 85M C: H<9
        ACBH< H<5H 7CBH5=BG H<9 :=J9  M95F 5BB=J9FG5FM C: H<9 7CAA9F7=5@ F9@95G9 85H9 C: $C=BH &*   5:H9F
        K<=7<)F7<5F8K=@@D5MMCI:=:HMD9F79BHC:5@@(9H,5@9GKCF@8K=89= 9 9EI=J5@9BHHC5*<MG=75@
        =GHF=6IH=CB :99 HC )F7<5F8 C: :=:HM D9F79BH  C: (9H ,5@9G KCF@8K=89  DFCJ=898 H<5H GI7< :99 CB
        957<IB=HK=@@BCH69@9GGH<5BH<9A=B=AIAD9FIB=H8=GHF=6IH=CB:99G9H:CFH<=B,7<98I@9 88=H=CB5@
        7<5F;9G  89G7F=698 =B ,7<98I@9   5DD@M CJ9F 5B8 56CJ9 H<9 :CF9;C=B; 8=GHF=6IH=CB :99  )H<9FK=G9 
        )F7<5F8K=@@577CIBH5B87F98=HHCMCIF577CIBH5@@(9H+979=DHG89F=J98:FCAG5@9GC:+97CF8G 5@H<CI;<
        H<9H=A=B;=GGI6>97HHC,97H=CB 69@CK 
               
               6 9:=B=H=CBG:CF*<MG=75@=GHF=6IH=CB 99G
               
        =    P(9H +979=DHGQ A95BG (9H ,5@9G  @9GG )F7<5F8RG 8=GHF=6IH=CB :99  5BM 5DD@=756@9 7<5F;9G =B
        ,7<98I@9   5BM 5DD@=756@9 =ADCFH 8IH=9G  5@@ H5L9G F9EI=F98 HC 69 5DD@=98 CF K=H<<9@8  658 896H  5B8
        5BM 9LD9BG9G D5=8 CF =B7IFF98 6M CF CB 69<5@: C: )F7<5F8 =: 5BM H<5H 5F9 5HHF=6IH56@9 GC@9@M HC H<9
        A5BI:57HIF9  G5@9  5DDFCJ98 A5F?9H=B;  5DDFCJ98 58J9FH=G=B;  5DDFCJ98 DFCACH=CB  8=GHF=6IH=CB CF
        9LD@C=H5H=CBC:+97CF8G 
               
        ==   P(9H ,5@9GQ A95BG !FCGG ,5@9G @9GG F9HIFBG  7F98=HG  5B8 5BM /- CF G=A=@5F G5@9G H5L9G
        F979=J98 
               
        ===  P!FCGG,5@9GQA95BGH<9BIA69FC:IB=HGC:+97CF8G=BJC=798:CFD5MA9BH AI@H=D@=986M
        H<9 DF=79 5:H9F 5@@ F965H9G  58>IGHA9BHG  G9HH@9A9BHG  5B8 5@@CK5B79G 7<5F;98 6M )F7<5F8 HC =HG
        7IGHCA9FG 5B8 ,5@9G *5FHB9FG :CF GI7< +97CF8G DFCJ=898 H<5H GI7< 7<5F;9G K=@@ BCH =B7@I89 5BM
        =BHF57CAD5BM:99G 
                         

          C@@97H=CBG GHC7C@@97H=CBG89G7F=698=B,97H=CB 56CJ9 )F7<5F8K=@@D5MMCI:=:HMD9F79BH
        C:5@@;FCGGF979=DHG57HI5@@MF979=J986M)F7<5F8@9GG/-5B8CH<9FG=A=@5FG5@9GH5L9GK=H<
        F9GD97H HC GI7< 7C@@97H=CBG = 9  9EI=J5@9BH HC 5 :99 HC )F7<5F8 C: :=:HM D9F79BH  C: GI7< ;FCGG
        F979=DHG 
                         

          ,MB7< *@579A9BHG  G HC GMB7<FCB=N5H=CB @=79BG9G 5DDFCJ98 6M MCI DIFGI5BH HC ,97H=CB  
        56CJ9 )F7<5F8K=@@D5MMCI:=:HMD9F79BHC:5@@;FCGGF979=DHG57HI5@@MF979=J986M)F7<5F8@9GG
        /-5B8CH<9FG=A=@5FG5@9GH5L9G:CFGI7<GMB7<FCB=N5H=CB@=79BG9G= 9 9EI=J5@9BHHC5:99HC)F7<5F8
        C::=:HMD9F79BHC:GI7<;FCGGF979=DHG 
                         

          )F7<5F8+9=A6IFG9A9BHG #BH<99J9BHH<5H)F7<5F8=GD9FA=HH98IB89FH<=G;F99A9BHHC7<5F;9
        5BM5ACIBHGHCMCI=B7@I8=B;5BM5DD@=756@9K5F9<CIG97<5F;9G<9F9IB89F 5B8K=H<F9GD97HHC5BM
        7CGHG CF 9LD9BG9G 5DDFCJ98 6M MCI GI7< 5G :CF 588=H=CB5@ G9FJ=79G H<5H MCI F9EI9GH  )F7<5F8 A5M
        F9EI=F9D5MA9BH=B58J5B79 CFG=AD@M5DD@MGI7<7<5F;9G5;5=BGHMCIF577CIBH #: <CK9J9F MCIF979=J9
        56=@@:FCA)F7<5F8:CF5BMGI7<7<5F;9G=::CF9L5AD@9MCIF577CIBH65@5B79697CA9GB9;5H=J98I9HC
        +97CF8F9HIFBG CFMCI5F9B9;5H=J9CFIBF97CID985:H9FH<9-9FA MCIAIGHD5M=HDFCADH@M 
                               

          -5L CFAG  )F7<5F8RG D5MA9BHG HC MCI 5F9 7CB8=H=CB98 IDCB :I@:=@@A9BH C: MCIF 89@=J9FM
        C6@=;5H=CBG 5B8 F979=DH C: MCIF 7CAD@9H98 . ,  989F5@ -5L :CFA 9 ;  0   0 (  CF 0 (  
        5B85BMCH<9FH5L8C7IA9BH5H=CB5GA5M69F9EI=F986M@5KHC75FFMCIHH<9=BH9BHC:H<=G;F99A9BH 
        
         ,;)4+-8 )F7<5F8K=@@D5MHCFH=GHCAD5BM58J5B79G5GG9H:CFH<69@CK
             

          9@=J9FM8J5B79 )F7<5F8K=@@D5M957<C:(=6=FI5B8+"&'5B58J5B79=BH<95ACIBHC:,=L
        '=@@=CB )B9 "IB8F98 5B8 ,9J9BHM =J9 -<CIG5B8 .B=H98 ,H5H9G C@@5FG .,   = 9 
        9EI=J5@9BHHC5B5;;F9;5H958J5B79HCFH=GHCAD5BM=BH<95ACIBHC:-<=FH99B'=@@=CB.B=H98,H5H9G
        C@@5FG .,  H<9 P9@=J9FM 8J5B79Q =B7@I8=B; H<9 &9;5@ 99 5G 89:=B98 69@CK  BC
        @5H9F H<5B H9B  6IG=B9GG 85MG 5:H9FH<9 @5H9F C: 5 :I@@ 9@=J9FM C: $C=BH &*   5B8 6 )F7<5F8RG
        F979=DHC:FH=GHCAD5BMRG=BJC=79 
             

          '5F?9H=B; IB8  )F7<5F8 K=@@ A5?9 5J5=@56@9 ID HC -KC '=@@=CB .B=H98 ,H5H9G C@@5FG
        .,    HC 69 58A=B=GH9F98 6M )F7<5F8 =B 7CBB97H=CB K=H< H<9 D5MA9BH HC H<=F8 D5FH=9G :CF
          A5F?9H=B; 9LD9BG9G AIHI5@@M 5DDFCJ98 6M MCI 5B8 )F7<5F8  HC A5F?9H $C=BH &*  H<9
        P'5F?9H=B; IB8Q 0=H<CIH@=A=H=B;H<9:CF9;C=B; )F7<5F8<9F96M5;F99GHCF9=A6IFG9(=6=FI5B8+"&' 
        5G 5DD@=756@9  :FCA H<9 '5F?9H=B; IB8 :CF A5F?9H=B; 9LD9BG9G =B7IFF98 =B 7CBB97H=CB K=H< H<9
        +97CF8=B;G  =B7@I8=B; 6IH BCH @=A=H98 HC  F58=C  6=@@6C5F8 5B8 J=89C 7CGHG H<9 P#B7IFF98 '5F?9H=B;
        LD9BG9GQ  K=H< 5BM #B7IFF98 '5F?9H=B; LD9BG9G =B7IFF98 HC 85H9 GI6>97H HC F9=A6IFG9A9BH 5H H<9
        G5A9H=A95HK<=7<H<99@=J9FM8J5B79=GD5=8 DFCJ=898H<5HFH=GHCAD5BM:IFB=G<9G)F7<5F8K=H<
                                                                    
                                                                
                             
     
                                      
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             
        5B =H9A=N98 =BJC=79 :CF 5BM GI7< #B7IFF98 '5F?9H=B; LD9BG9G  #B H<9 9J9BH H<5H H<9F9 =G 5B IBGD9BH
        65@5B79=BH<9'5F?9H=B; IB85GC:H<9@5H9FC:5HK9@J9ACBH<G5:H9FH<97CAA9F7=5@F9@95G9C:
        H<9$C=BH&* 5B86H<97CAD@9H=CBC:H<9'5F?9H=B;9@=J9F56@9G H<9BIDCBFH=GHCAD5BMRGKF=HH9B
        F9EI9GH GI7<65@5B79K=@@69GD@=H9EI5@@M5B8D5=8HC957<C:(=6=FI5B8+"&'5G5B588=H=CB5@58J5B79
        <9F9IB89FBC@5H9FH<5BCB9ACBH<5:H9FGI7<KF=HH9BF9EI9GH 
        
           88=H=CB5@ *FC:=H 8J5B79   #B H<9 9J9BH H<5H 5;;F9;5H9 ;FCGG F979=DHG :CF H<9 +97CF8=B;G HCH5@
        H<95ACIBHC: =J9'=@@=CB CIF"IB8F98-<CIG5B8C@@5FG.,  H<9P,=L'CBH<-<F9G<C@8
        ACIBHQ:CFH<9:=FGHG=LACBH<G:FCAH<97CAA9F7=5@F9@95G985H9C:$C=BH&*K<=7< :CFH<95JC=85B79
        C:8CI6H =GHC6975@7I@5H98CBH<957HI5@5ACIBHG95FB98CB5@@)IH@9HG:CFGI7<ACBH<D9F=C8 5G
        F9:@97H98 =B H<9 )F7<5F8 577CIBH=B; GH5H9A9BH F9DF9G9BH=B; F9J9BI9 F979=J98 5B8 DFC79GG98 6M
        )F7<5F8 )F7<5F8K=@@D5M5B588=H=CB5@58J5B79HCFH=GHCAD5BM=B5B5ACIBH9EI5@HCH<F99H=A9G
        L H<9 ;FCGG F979=DHG F979=J98 $ H<9 ,=L 'CBH< -<F9G<C@8 ACIBH H<9 P88=H=CB5@ *FC:=H
        8J5B79Q K=H<H<9A5L=AIA88=H=CB5@*FC:=H8J5B7975DD985H =J9'=@@=CBC@@5FG.,   
        CBJ9FG9@M  =B H<9 9J9BH H<5H ;FCGG F979=DHG 5G F9:@97H98 =B H<9 )F7<5F8 577CIBH=B; GH5H9A9BH
        F9DF9G9BH=B;F9J9BI9F979=J985B8DFC79GG986M)F7<5F8:CFH<9:=FGHG=LACBH<G:FCAH<97CAA9F7=5@
        F9@95G9 85H9 C: $C=BH &*  HCH5@ !! H<5B H<9 ,=L 'CBH< -<F9G<C@8 ACIBH 5 P+9J9BI9 ,<CFH:5@@Q 
        )F7<5F8K=@@898I7H5B5ACIBH9EI5@HCH<F99H=A9GLH<9+9J9BI9,<CFH:5@@ACIBHH<9,=L'CBH<
        -<F9G<C@8 ACIBH @9GG ;FCGG F979=DHG =G H<9 P+9J9BI9 ,<CFH:5@@ ACIBHQ :FCA 5BM :IHIF9 58J5B79G
        8I9HCFH=GHDIFGI5BHHCH<9BI9@;F99A9BH5B8H<9)NIB5;F99A9BH F9GD97H=J9@M5B89EI5@@M 
        K=H<5A5L=AIA5;;F9;5H9898I7H=CBC:-<F99'=@@=CBC@@5FG   IB@9GGFH=GHCAD5BM:5=@G
        HCD9F:CFAH<9'5F?9H=B;9@=J9F56@9GDIFGI5BHHCG97H=CB69@CKHC)F7<5F8RGF95GCB56@9G5H=G:57H=CB
        5B88C9GBCH7IF9H<9G5A9=B577CF85B79K=H<H<9H=A9D9F=C8G9H:CFH<=BFH=7@9 =BK<=7<75G9H<9
        A5L=AIA5;;F9;5H9898I7H=CBK=@@69 =J9'=@@=CBC@@5FG    CFH<95JC=85B79C:8CI6H 5BM
        88=H=CB5@*FC:=H8J5B79D5M56@9HCFH=GHCAD5BMK=@@69GD@=H9EI5@@M69HK99B(=6=FI5B8+"&' K=@@
        69D5M56@9=B9EI5@DCFH=CBG8=F97H@MHC957<C:(=6=FI5B8+"&'5:H9FD5MA9BHC:H<988=H=CB5@&9;5@
          99 5G 89:=B98 69@CK  5B8 =G D5M56@9 BC @5H9F H<5B H9B  6IG=B9GG 85MG 5:H9FH<9 @5H9F C: 5
        )F7<5F8RG KF=HH9B 7CB:=FA5H=CB 9A5=@ HC GI::=79 C: 5BM 88=H=CB5@ *FC:=H 8J5B79 8I9  =: 5BM  5B8 6
        )F7<5F8RG F979=DH C: FH=GH CAD5BMRG =BJC=79  K<=7< FH=GH CAD5BM K=@@ DFCJ=89 HC )F7<5F8 BC @5H9F
        H<5BCB9ACBH<5:H9F)F7<5F8RGKF=HH9B7CB:=FA5H=CBC:5BM88=H=CB5@*FC:=H8J5B798I9 
        

        @@ 58J5B79G <9F9IB89F =B7@I8=B; D5MA9BHG :FCA H<9 '5F?9H=B; IB8 5F9 DF9 D5MA9BHG H<5H
        F97CID56@9:FCA5BMACB=9GD5M56@96M)F7<5F8CF=HG5::=@=5H9GHCCFCB69<5@:C:FH=GHCAD5BM G
        5 A5H9F=5@ =B8I79A9BH HC )F7<5F8 HC 9BH9F =BHC H<=G ;F99A9BH  HC G97IF9 MCIF C6@=;5H=CBG IB89F H<=G
        ;F99A9BHMCI<9F96M=FF9JC756@M;F5BHHC)F7<5F8 8IF=B;H<9-9FA 5:=FGHDF=CF=HMG97IF=HM=BH9F9GH=B
        5B8HCL5@@C:FH=GHCAD5BMRGF=;<H H=H@9 5B8=BH9F9GH=B5B8HCH<9GCIB8F97CF8=B;7CDMF=;<HG5B8
        CH<9F 7CDMF=;<HG =B 5B8 HC H<9 +97CF8=B;G  M H<9 +97CF8G 5B8 F9@5H98 A5H9F=5@G 5B8 D<MG=75@ A5GH9F
        F97CF8=B;G 5B8 A5BI:57HIF=B; D5FHG  5B8 N HC H<9 =BJ9BHCFM  577CIBHG 5B8 DFC7998G C: H<9 FH=GH
        CAD5BM K=H< F9GD97H HC H<9 +97CF8=B;G 5B8 +97CF8G 7C@@97H=J9@M  H<9 C@@5H9F5@  .DCB :I@@
        F97CIDA9BH C: 5BM 5B8 5@@ 58J5B79G D5=8 HC FH=GH CAD5BM DIFGI5BH HC H<=G ;F99A9BH  5@@ ACB=9G
        D5M56@9HCFH=GHCAD5BMDIFGI5BHHCH<=G;F99A9BHK=@@699EI5@@MGD@=H5B87F98=H98HCH<9)F7<5F8
        577CIBHG;CJ9FB986MH<9BI9@;F99A9BH5B8H<9)NIB5;F99A9BH F9GD97H=J9@M:CF5JC=85B79
        C: 8CI6H  5BM ACB=9G D5M56@9 HC (=6=FI DIFGI5BH HC H<=G ;F99A9BH K=@@ BCH 69 IG98 HC C::G9H 5BM
        IBF97CID985ACIBHGCK986M+"&'DIFGI5BHHCH<9BI9@;F99A9BH 5B8J=79J9FG5 5B8IDCB
        :I@@F97CIDA9BHC:5BM5B85@@58J5B79GD5=86M)F7<5F8DIFGI5BHHCH<9)NIB5;F99A9BH5B8 CFH<9
        BI9@5;F99A9BH 5@@ACB=9GD5M56@9DIFGI5BHHCH<9)NIB5;F99A9BH5B8 CFBI9@;F99A9BH
        K=@@ 69 7F98=H98 HC 5BM IBF97CID98 65@5B79 <9F9IB89F  =: 5BM  )F7<5F8RG G97IF=HM =BH9F9GH <9F9IB89F
        G<5@@69IG98GC@9@M:CFDIFDCG9GC:G97IF=B;F97CIDA9BH<9F9IB89F 5B8K=@@69J5@=8CB@MHCH<99LH9BH
        H<5H MCIF 577CIBHG IB89F H<=G ;F99A9BH 5F9 IBF97CID98 H5?=B; =BHC 7CBG=89F5H=CB *=D9@=B9 #B7CA9
        5B8 5BM 5DD@=756@9 @=EI=85H=CB C: F9G9FJ9G <9@8  5B8 )F7<5F8 G<5@@  IDCB F97CIDA9BH C: 5@@ 58J5B79G
        5B8B9;5H=J965@5B79GK=H<=BMCIF577CIBHG7CFF9GDCB8=B;HCH<=G;F99A9BH5B85HMCIFF9EI9GH H5?9
        5@@7CAA9F7=5@@MF95GCB56@9GH9DG =B7CCD9F5H=CBK=H<MCI HC@=:H5BMG97IF=HM=BH9F9GHC6H5=B98=BH<9
        C@@5H9F5@<9F9IB89F5B8 :IFH<9F H<=GD5F5;F5D<8C9GBCH;F5BH)F7<5F85BMF=;<H5H5BMH=A9HCG9@@
        5BM C: FH=GH CAD5BMRG F=;<H  H=H@9  CF =BH9F9GH =B 5B8 HC H<9 GCIB8 F97CF8=B; 7CDMF=;<HG 5B8 CH<9F
        7CDMF=;<HG=B5B8HCH<9+97CF8=B;G 0=H<CIH@=A=H=B;H<9:CF9;C=B; GI7<7CAA9F7=5@@MF95GCB56@99::CFHG
        G<5@@ =B7@I89  K=H<CIH @=A=H5H=CB  DFCADH@M IDCB F979=DH C: GI7< BCH=79 :FCA FH=GH CAD5BM 5B8 =B BC
        75G9@5H9FH<5BH9B6IG=B9GG85MGH<9F95:H9F:=@=B;5. =B5B7=B;,H5H9A9BHA9B8A9BH CFA
        . CF H<9 GH5H9 9EI=J5@9BH :CFA HC H9FA=B5H9 H<9 :=@98 .  :=B5B7=B; GH5H9A9BH P-9FA=B5H=B;
        ,H5H9A9BHQK=H<H<9,97F9H5FMC:,H5H9CFGI7<CH<9F5DDFCDF=5H9C::=79C:H<9G5A9GH5H9G=BK<=7<
        )F7<5F8 :=@98 5BM :=B5B7=B; GH5H9A9BHG =B 7CBB97H=CB K=H< H<=G ;F99A9BH  F9EI9GH=B; H9FA=B5H=CB C:
        H<9 CFA.5B85BM:=B5B7=B;GH5H9A9BHG:=@985G5;5=BGHFH=GHCAD5BM 

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                    Case 3:24-cv-01068-RAM      Document 1-6 Filed 02/14/24 Page 141 of 187
             
        
           &9HH9FG C: =F97H=CB  (CHK=H<GH5B8=B; 5BMH<=B; 7CBH5=B98 <9F9=B HC H<9 7CBHF5FM  MCI <9F96M
        =FF9JC756@M 5IH<CF=N9 )F7<5F8 HC 8=F97H H<9 :C@@CK=B; DCFH=CBG C: H<9 56CJ9 58J5B79G =B H<9 :C@@CK=B;
        5ACIBHGCBMCIF69<5@:5HGI7<H=A95GH<5H5ACIBHKCI@8CH<9FK=G9<5J9699BD5M56@9HCMCI
        

                5 ACIBHGHC,=B;<,=B;<-F5I69B&&* )F7<5F8K=@@8=F97HHC,=B;<,=B;<-F5I69B&&*
        Q,=B;<Q J=5K=F9HF5BG:9FHCH<9577CIBH@=GH9869@CK 5DCFH=CBC:H<99@=J9FM8J5B79=BH<95ACIBH
        C:,=L"IB8F985B8 =:HM-<CIG5B8.B=H98,H5H9GC@@5FG., H<9P&9;5@ 99QBC@5H9FH<5B
        H9B  6IG=B9GG 85MG 5:H9FH<9 @5H9F C: 5 :I@@ 9@=J9FM C: $C=BH &*   5B8 6 )F7<5F8RG F979=DH C:
        ,=B;<RG=BJC=79 5B8=BH<99J9BHH<5H5BM88=H=CB5@*FC:=H8J5B79=GD5M56@9 :=J9D9F79BHC:H<9
        88=H=CB5@ *FC:=H 8J5B79 H<9 P88=H=CB5@ &9;5@ 99Q  BC @5H9F H<5B H9B  6IG=B9GG 85MG 5:H9FH<9
        @5H9FC:5)F7<5F8RGKF=HH9B7CB:=FA5H=CB9A5=@HCGI::=79H<5HH<988=H=CB5@*FC:=H8J5B79=GD5M56@9
        BCHHC69IBF95GCB56@MK=H<<9@8 5B86)F7<5F8RGF979=DHC:,=B;<RG=BJC=79 @@D5MA9BHGHC,=B;<
        K=@@7CBGH=HIH9D5MA9BHHCFH=GHCAD5BM5B8)F7<5F8K=@@<5J9BC@=56=@=HM6MF95GCBC:5BM9FFCB9CIG
        D5MA9BH CF :5=@IF9 HC 7CAD@M K=H< H<=G 5IH<CF=N5H=CB  FH=GH CAD5BM K=@@ =B89AB=:M 5B8 <C@8 )F7<5F8
        <5FA@9GG 5;5=BGH F95GCB C: 5BM GI7< 7@5=AG 5GG9FH98 5;5=BGH )F7<5F8 5B8 5BM 85A5;9G  @CGG9G CF
        9LD9BG9G)F7<5F8=B7IFG6MF95GCBC:5BMGI7<D5MA9BHCFCH<9FK=G9=B7CBB97H=CB<9F9K=H< (CH<=B;
        <9F9=BG<5@@5;F5BH,=B;<5BMF=;<HHC58=F97H577CIBH=B;:FCA)F7<5F8CFHC5I8=H)F7<5F8RG6CC?G
        5B8 F97CF8G K=H< 5BM 577CIBH=B; <9F9IB89F CF 6 CH<9FK=G9 7F95H9 5BM 7CBHF57HI5@ C6@=;5H=CBG :FCA
        )F7<5F8HC,=B;<<9F9IB89F 
        
        +CIH=B;(IA69F                
        (5A9                           GH9BHIFM5B?
        88F9GG                         9BHIFM*5F?5GH ,I=H9
                                        &CGB;9@9G 
        9B9:=7=5FM77CIBH(IA69F         
        9B9:=7=5FM77CIBH(5A9           ,=B;< ,=B;<-F5I69B&&*
        
        
          '5F?9H=B; CAA=HA9BH 5B8 9@=J9F56@9G  FH=GH CAD5BM 5B8 FH=GH K=@@ :I@@M A99H 5@@ C: H<9
        A5F?9H=B;7CAA=HA9BHG5B8DFCJ=895@@5GGC7=5H98'5F?9H=B;9@=J9F56@9G5G89G7F=698=B,7<98I@9
        HC)F7<5F8RGF95GCB56@9G5H=G:57H=CB 
        
               ++5:4914/8 -8-7;-8:,198)4,")=
                       

          77CIBH=B;G  )F7<5F8 K=@@ 577CIBH HC MCI 6M K5M C: 5 D9FA=GG=CB @=A=H98 G97H=CB C: MCIF
        KCF?GH5H=CB  K<=7< ;9B9F5@@M =B7@I89G <=GHCF=75@ 85H5 657? HC H<9 ::97H=J9 5H9  77CIBH=B; 5B8
        D5MA9BHGK=@@69A5895J5=@56@9HCMCICB5ACBH<@M65G=G H<=FHM85MG5:H9FH<99B8C:H<9ACBH<
        =BK<=7<H<95DD@=756@95ACIBHGK9F9F979=J986M)F7<5F8 5@5B79GIB89F:=J9<IB8F988C@@5FG
        K=@@69FC@@98=BHCH<9:C@@CK=B;ACBH<5B8D5=8K<9BMCIF65@5B79F957<9G:=J9<IB8F988C@@5FG 
        #BH<99J9BHH<5H5BM)IH@9H=GGI9G5BM7CFF97H=CBGHCDF=CFGH5H9A9BHG CF5:H9FG=LACBH<G<5G:5=@98
        HC D5M )F7<5F8 5ACIBHG H<5H K9F9 DF9J=CIG@M D5=8 CF 7F98=H98 HC MCI  CF CH<9F 9FFCFG 5F9 8=G7CJ9F98 
        )F7<5F8 A5M 58>IGH =HG 577CIBH=B;G 5B8 D5MA9BHG HC MCI 5B8 =: 5DD@=756@9 7<5F;9 MCIF 577CIBH
        577CF8=B;@M -CH<99LH9BHH<5H5@@CFD5FHC:H<9577CIBH=B;=GBCH5J5=@56@9J=5MCIFKCF?GH5H=CB )F7<5F8
        K=@@IG9=HG69GH9::CFHGHC89@=J9FGI7<577CIBH=B;HCMCI=B5G5H=G:57HCFM5B8H=A9@MA5BB9F 
                       

          L5A=B5H=CB C: )F7<5F8RG CC?G 5B8 +97CF8G &=A=H5H=CBG CB @5=AG  -<9 FH=GH CAD5BM <5G
        H<9 F=;<H HC 5I8=H )F7<5F8RG 6CC?G 5B8 F97CF8G HC J9F=:M H<9 577IF57M C: D5MA9BHG  6IH CB@M CB79 K=H<
        F9GD97HHC5BMD5FH=7I@5FD5MA9BH I8=HG5F9D9FA=HH98CB79D9FM95F8IF=B;)F7<5F8RGBCFA5@6IG=B9GG
        <CIFG  CB 5H @95GH H<=FHM  85MGR DF=CF (CH=79  5H H<9 D@579 K<9F9 )F7<5F8 A5=BH5=BG GI7< F97CF8G 
        I8=HG5F95HH<9FH=GHCAD5BMRG9LD9BG9IB@9GGGI7<5I8=HF9J95@G5BIB89FD5MA9BH6M)F7<5F8C:
        5 GIA 9EI5@ HC CF ;F95H9F H<5B :=J9 D9F79BH  C: HCH5@ D5MA9BHG 8I9 HC FH=GH CAD5BM <9F9IB89F
        8IF=B; H<9 D9F=C8 69=B; 5I8=H98  =B K<=7< 9J9BH )F7<5F8 G<5@@ F9=A6IFG9 FH=GH CAD5BM :CF H<9
        F95GCB56@97CGHG5B89LD9BG9G57HI5@@M=B7IFF986MMCI=B7CBB97H=CBK=H<GI7<5I8=H 5B8A5MCB@M
        69 7CB8I7H98 6M 5B =B89D9B89BH 79FH=:=98 DI6@=7 577CIBH=B; :=FA  BM @5KGI=H 6M MCI F9;5F8=B; 5BM
        GH5H9A9BHCFD5MA9BHAIGH697CAA9B798K=H<=B:CIFM95FG5:H9FH<985H9H<95DD@=756@9GH5H9A9BH
        7CJ9FG .DCBH<99LD=F5H=CBC:GI7<:CIFM95FD9F=C8 MCI<5J9BCF=;<HHCGI9)F7<5F8=B7CBB97H=CB
        K=H< 5BM GI7< GH5H9A9BH  =B 7CBB97H=CB K=H< H<9 5ACIBHG F979=J98  CF F9@5H=B; HC H<9 D9F=C8 GI7<
        GH5H9A9BH7CJ9FG 1CI=FF9JC756@MK5=J95BM@CB;9FGH5HIH9C:@=A=H5H=CBGH<5HKCI@8CH<9FK=G95DD@M6M
        @5K 
                       

          +9EI=F98 0=H<<C@8=B;G /-  (CHK=H<GH5B8=B; 5BMH<=B; HC H<9 7CBHF5FM =B H<=G ;F99A9BH 
        )F7<5F8=G9BH=H@98HC898I7H:FCA5@@D5MA9BHG8I9HCMCI5BMGIAGGI7<5GK=H<<C@8=B;H5L9GK<=7<
                                                                   
                                                               
                           
     
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             
        )F7<5F8 CF =HG @=79BG99G CF F9@5H98 9BH=H=9G 5F9 C6@=;98 HC D5M CF K=H<<C@8 =B 5BM 7CIBHFM 6M F95GCB C:
        5BM@5KCFF9;I@5H=CB @@D5MA9BHGHCCF7<5F;9GHC69A5896M)F7<5F8IB89FH<=G;F99A9BH=B7@I8=B;
        5@@ 8=GHF=6IH=CB :99G 5F9 9LDF9GG98 5G 9L7@IG=J9 C: /-  K<=7< =: 5DD@=756@9 5F9 D5M56@9 6M MCI =B
        588=H=CBHCH<9GIAGCH<9FK=G9G9HCIH=BH<=G;F99A9BH 
        
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                591+-8  @@ :CFA5@ BCH=79G K=H< F9GD97H HC H<=G ;F99A9BH 957< 5 P(CH=79Q K=@@ 69 ;=J9B =B
        KF=H=B; 6M F9;=GH9F98 CF 79FH=:=98 A5=@  F9HIFB F979=DH F9EI9GH98  CF 6M A9GG9B;9F CF 7CIF=9F  CF 6M
        B5H=CB5@@MF97C;B=N98CJ9FB=;<H9LDF9GGA5=@G9FJ=79 HCH<9F9GD97H=J9588F9GG9G69@CK )F7<5F8A5M
        5@H9FB5H=J9@M;=J9BCH=79HCMCIF9A5=@588F9GG69@CK @@CH<9F=BGHFI7H=CBG 5DDFCJ5@G5B87CBG9BHGA5M
        69G9BHJ=59A5=@CF9@97H98CB)F7<5F8RG66K96G=H9 
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         -CFH=GHCAD5BM                                    -C)F7<5F8
                                                                          

         (=6=FI#BH9FB5H=CB5@ &&                              )F7<5F8BH9FDF=G9G(1 #B7 
         (CFH<5MG<CF9F=J9                             5GHH<,HF99H F8 @CCF
         D5FHA9BH                                        (9K1CF? (1
         '=5A=  &                                       HHB*F9G=89BH)
                                                               
         0=H<7CD=9GHC                                       K=H<57CDMHC
                                                               7CBHF57H58A=BH<9CF7<5F8 7CA
         CBH57H,=AF5B,=B;<5B8B;9@5'5FH=B9N             
         A5=@GG=B;<G=B;<HF5I69B@5K 7CA
                5B;=95B;=9@5K 7CA
         
         +95@"5GH5&5'I9FH9 &&
         7 C,=B;< ,=B;<-F5I69B &&*
         , 9J9F@MF=J9 ,I=H9
         9J9F@M"=@@G 
         HHB,=AF5B,=B;< GE 
         
         0=H<7CD=9GHC
         
         CBH57H,=AF5B,=B;<
         A5=@GG=B;<G=B;<HF5I69B@5K 7CA
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                                                  Tucker
                                                          McCrady,
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                                                                                  Counsel
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        (5A9 -=H@9C:,=;B5HCFM                  (5A9 -=H@9C:,=;B5HCFM
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             -C=B8I79)F7<5F8HC9BH9F=BHCH<9;F99A9BH K=H<FH=GHCAD5BM H<9IB89FG=;B98<9F96M

           5     57?BCK@98;9G H<5H H<9 IB89FG=;B98 IB89FGH5B8G 5B8 =G :5A=@=5F K=H< 5@@ H<9 H9FAG 5B8
        7CB8=H=CBGC:H<95;F99A9BH
             6    5GG9BHG HC H<9 9L97IH=CB C: H<9 ;F99A9BH 5B8 5;F99G HC 69 6CIB8 6M H<9 H9FAG 5B8
        7CB8=H=CBG H<9F9C:  =B7@I8=B;  K=H<CIH @=A=H5H=CB  957< 5B8 9J9FM DFCJ=G=CB C: H<9 ;F99A9BH H<5H
        F9@5H9GHCH<9IB89FG=;B98=B5BMK5M 8=F97H@MCF=B8=F97H@M H<9G9FJ=79GHC69F9B89F98H<9F9IB89F
        6MH<9IB89FG=;B985B8F9GHF=7H=CBG=ADCG98IDCBH<9IB89FG=;B98=B577CF85B79K=H<H<9DFCJ=G=CBG
        C: H<9 ;F99A9BH  5B8 <9F96M ;I5F5BH99G HC )F7<5F8 H<9 :I@@ 5B8 :5=H<:I@ D9F:CFA5B79 C: 5@@ H<9
        H9FAG 5B8 7CB8=H=CBG C: H<9 ;F99A9BH 6M H<9 IB89FG=;B98 =B7@I8=B;  K=H<CIH @=A=H5H=CB  5@@
        F9DF9G9BH5H=CBG K5FF5BH=9G5B8=B89AB=:=75H=CBC6@=;5H=CBGG9H:CFH<=BH<95;F99A9BH5B8
            7    57?BCK@98;9G 5B8 5;F99G H<5H )F7<5F8 G<5@@ 69 IB89F BC C6@=;5H=CB HC A5?9 5BM
        D5MA9BHG HC H<9 IB89FG=;B98 CF CH<9FK=G9  :CF CF =B 7CBB97H=CB K=H< H<=G =B8I79A9BH 5B8 :CF CF =B
        7CBB97H=CBK=H<H<9G9FJ=79GF9B89F986MH<9IB89FG=;B98CF =B7CBB97H=CBK=H<H<9F=;<HG;F5BH98
        HC )F7<5F8 H<9F9IB89F 5B8 H<9 :I@:=@@A9BH C: H<9 IB89FG=;B98RG C6@=;5H=CBG DIFGI5BH HC H<9
        ;F99A9BH

           8     57?BCK@98;9G5B85;F99GHCH<98=F97H=CBIB89F,97H=CB 56CJ9HCD5M,=B;<,=B;<
        -F5I69B&&*5B5ACIBHC:,=L"IB8F985B8 =:HM-<CIG5B8.B=H98,H5H9GC@@5FG., 
        :FCAH<99@=J9FM8J5B795B8:=J9D9F79BHC:5BM88=H=CB5@*FC:=H8J5B79 =:5BM CH<9FK=G9
        8I9HCFH=GHCAD5BM<9F9IB89F


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        Emmanuel
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           *7BD7E7@F3F;A@E3@6/3DD3@F;7E  0AG I3DD3@F  D7BD7E7@F  5AH7@3@F  3@6 39D77 F:7 8A>>AI;@90AG :3H7 F:7 D;9:F
    FA 9D3@F FA (D5:3D6 3>> D;9:FE KAG BGDBADF FA 9D3@F :7D7G@67D  3@6 :3H7 A4F3;@76 3>> @757EE3DK >;57@E7E 3@6 5>73D3@57E 
    0AGI;>>5A?B>KI;F:3>>3BB>;534>7>3IE DG>7EEG5:3E*"3@6")"9G;67>;@7E 3@6D79G>3F;A@E ;@5>G6;@9F:73BB>;53F;A@
    A8B3D7@F3>36H;EADKADAF:7DI3D@;@9EAD67E;9@3F;A@E 'AGE7A83@K)DAB7DF;7EI;>>H;A>3F73@K>3IADD79G>3F;A@A83@K
    5AG@FDK AD;@8D;@97GBA@ADH;A>3F7F:7D;9:FEA83@KB7DEA@AD7@F;FK (F:7DF:3@3EEB75;8;53>>KBDAH;676;@F:;E9D77?7@F 
    (D5:3D6I;>>@AF47D7CG;D76FA?3=73@KB3K?7@FEA83@K@3FGD78ADAD;@5A@@75F;A@I;F:F:77J7D5;E7AD7JB>A;F3F;A@A8
    D;9:FE4K(D5:3D6G@67DF:;E9D77?7@F >>;@8AD?3F;A@KAGBDAH;67FA(D5:3D6;E355GD3F7 ;@5>G6;@9FAF:77JF7@FKAG
    5A@8;D? ;F 3E 355GD3F7 3@K ?7F363F3 AD AF:7D ;@8AD?3F;A@ 93F:7D76 4K (D5:3D6  'A BD;AD E75GD;FK ;@F7D7EF AD >;7@ A8 3@K
    =;@67J;EFE;@F:7)DAB7DF;7E @K8GFGD79D3@FA8D;9:FEI;F:D7EB75FFA)DAB7DF;7EI;>>47EG4<75FFA(D5:3D6QED;9:FE FF:7
    F;?7 A8 8;DEF 67>;H7DK FA (D5:3D6  KAG I;>> 36H;E7 (D5:3D6 A8 3>> 5A@FD35FG3> >;?;F3F;A@E FA KAGD D;9:FE ;@5>G6;@9 ,7DD;FADK
    >;?;F3F;A@E  G@5>73D76 E3?B>7E ;8 3@K  3@6 >;?;F76 6GD3F;A@ >;57@E7E  EA 3E FA 3HA;6 3@K 5A@FDAH7DEK F:7D738F7D  (D5:3D6
    I3DD3@FE D7BD7E7@FE 5AH7@3@FE 3@639D77EF:3F;F:3EF:7D;9:F3@63GF:AD;FKFA7@F7D;@FAF:;E9D77?7@F 
           "@67?@;8;53F;A@  35: B3DFK I;>> 6787@6 3@6 ;@67?@;8K F:7 AF:7D B3DFK ;@5>G6;@9 ;FE B3D7@FE  EG4E;6;3D;7E  3@6
    388;>;3F7E  3@6 735: A8 F:7;D D7EB75F;H7 EFA5=:A>67DE  BD76757EEADE  EG557EEADE  3EE;9@E  397@FE  6;D75FADE  A88;57DE 
    3FFAD@7KE  7?B>AK77E 3@6 D7BD7E7@F3F;H7E 393;@EF 3@K 7JB7@E7E AD >AEE7E ;@5>G6;@9 D73EA@34>7 3FFAD@7KEQ 877E 3@6
    >;F;93F;A@7JB7@E7ED7EG>F;@98DA?3@KF:;D6 B3DFK5>3;?A84D735: AD35>3;?I:;5:;8FDG7IAG>65A@EF;FGF734D735:3@K
    EG5:5>3;? I:7F:7DAD@AF3EE7DF76;@38AD?3>>793>35F;A@ 3O>3;?P A83@KA8F:7B3DFKQED7BD7E7@F3F;A@E I3DD3@F;7E 
    5AH7@3@FE  39D77?7@FE AD A4>;93F;A@E 5A@F3;@76 :7D7;@  AD 3@K H;A>3F;A@ A8 3@K 3BB>;534>7 >3I AD D79G>3F;A@  ,:7
    ;@67?@;8;76B3DFKI;>>9;H7F:7;@67?@;8K;@9B3DFKBDA?BF'AF;57A83@KEG5:>3;?3@6 ;8F:7;@67?@;8;76B3DFKEAD7CG7EFE 
    F:7;@67?@;8K;@9B3DFKI;>>6787@6F:7;@67?@;8;76B3DFK3FF:7;@67?@;8K;@9B3DFKQE7JB7@E7I;F:5AG@E7>3BBDAH764KF:7
    ;@67?@;8;76B3DFKI:;5:3BBDAH3>?3K@AF47G@D73EA@34>KI;F::7>6AD67>3K76BDAH;676F:3FF:7;@67?@;8K;@9B3DFKI;>>
    @AFE7FF>7ADD7EA>H73@K>3;?;@3?3@@7DF:3F;?BAE7E3@K>;34;>;FKADA4>;93F;A@A@F:7;@67?@;8;76B3DFK AD38875FEF:7
    ;@67?@;8;76 B3DFKQE D;9:FE  I;F:AGF 8;DEF A4F3;@;@9 F:7 ;@67?@;8;76 B3DFKQE BD;AD ID;FF7@ 3BBDAH3> I:;5: I;>> @AF 47
    G@D73EA@34>KI;F::7>6AD67>3K76 ADBGDBAE7EA85>3D;FK (D5:3D6?3K573E76;EFD;4GF;A@3@6F3=76AI@3@K)DAB7DFK
    F:3F475A?7EEG4<75FFA3>3;? 3@6I;F::A>6B3K?7@FEFAKAG;@3@3?AG@FD73EA@34>KD7>3F76FAF:7>3;?3@6BAF7@F;3>
    3EEA5;3F767JB7@E7E BDAH;676F:3F;8F:7F:;D6B3DFK3EE7DF;@9EG5:5>3;?6A7E@AF>;F;93F7ADAF:7DI;E7BGDEG7EG5:>3;?
    8AD 3 B7D;A6 A8 @;@7  ?A@F:E AD ?AD7  (D5:3D6 I;>> D78G@6 EG5: 3?AG@FE I;F:AGF BD7<G6;57 FA ;FE D;9:F FA D73EA@34>K
    I;F::A>6EG5:3?AG@FE;@F:78GFGD7 "@366;F;A@ (D5:3D6I;>>388AD6KAGF:7ABF;A@ ;@KAGDEA>76;E5D7F;A@ FABAEF34A@6
    ;@3@3?AG@FD73EA@34>KD7>3F76FAF:7>3;? ;@>;7GA8I;F::A>6;@9B3K?7@FEFAKAG3EAF:7DI;E7B7D?;FF7634AH7 
          H7@FE A8 783G>F  "@ F:7 7H7@F A8 3 B3DFKQE 6;EEA>GF;A@  AD F:7 >;CG;63F;A@ A8 3 B3DFKQE 3EE7FE  AD F:7 8;>;@9 A8 3
    B7F;F;A@;@43@=DGBF5KAD;@EA>H7@5KAD8AD3@3DD3@97?7@FADD7AD93@;L3F;A@ 4K 8ADAD393;@EF3B3DFK AD;@F:77H7@FA8
    F:73BBA;@F?7@FA83D757;H7D FDGEF77 36?;@;EFD3FADAD36?;@;EFD3F;H7D757;H7DAH7D3>>AD3BADF;A@A83B3DFKQEBDAB7DFK 
    AD;@F:77H7@FF:3F3B3DFK?3=7E3@3EE;9@?7@F8ADF:747@78;FA85D76;FADEAD5A??;FE3@K35F8ADAD;@43@=DGBF5KAD
    475A?7E ;@EA>H7@F  AD ;@ F:7 7H7@F 3 B3DFK E:3>> 83;> FA B3K I:7@ 6G7 3@K 3?AG@FE 6G7 FA F:7 AF:7D B3DFK G@67D F:7
    9D77?7@FI;F:EG5:83;>GD7FAB3KEG4<75FFAF:75GD7BDAH;E;A@E7F8ADF:;@+75F;A@47>AI ;@5>G6;@9 I;F:AGF>;?;F3F;A@ 
    3?AG@FE6G7FA(D5:3D6;@D7EB75FA8IAD=ADE7DH;57E;FB7D8AD?76 AD;@F:77H7@F3B3DFK83;>EFA8G>8;>>3@KA8;FE?3F7D;3>
    A4>;93F;A@E17J5>G6;@9F:AE7A4>;93F;A@EA8F:7DF;EFD7>3F;@9FAF:7&3D=7F;@97>;H7D34>7E2G@67DF:;E9D77?7@F8AD3@K
    AF:7D D73EA@ I;F: EG5: 83;>GD7 EG4<75F FA F:7 5GD7 BDAH;E;A@ E7F 8ADF: ;@ DF;5>7  47>AI  F:7@ 3F 3@K F;?7 38F7D F:7
    A55GDD7@57 A8 3@K EG5: 7H7@F  ;@ 366;F;A@ FA 3@K AF:7D D7?76;7E I:;5: ?3K 47 3H3;>34>7  F:7 AF:7D B3DFK E:3>> :3H7 F:7
    ABF;A@FAF7D?;@3F7F:7,7D?GBA@9;H;@9'AF;57FAF:738875F76AD83;>;@9B3DFK 'AFI;F:EF3@6;@9F:78AD79A;@93;8EG5:
    38875F76 AD 83;>;@9 B3DFK ;E (D5:3D6  DF;EF A?B3@K E:3>> :3H7 @A D;9:F FA F7D?;@3F7 F:;E 39D77?7@F BGDEG3@F FA F:;E
    B3D39D3B:G@>7EE3@6G@F;>3@K3@63>>36H3@57EB3;64K(D5:3D6AD;FE388;>;3F7EFADF;EFA?B3@KADA@DF;EFA?B3@KQE
    47:3>8:3H7477@8G>>K3@65A?B>7F7>KD75AGB76 3@64;8EG5:38875F76AD83;>;@9B3DFK;EDF;EFA?B3@K (D5:3D6E:3>>
    3>EA :3H7 F:7 ABF;A@ FA D75AH7D 3@K 674F 4K 7J7D5;E;@9 ;FE D;9:FE 393;@EF F:7 A>>3F7D3> G@67D +75F;A@   A8 F:7
    9D77?7@F ADF:73HA;63@57A86AG4F (LG@3QE3@6 AD@G7>QE83;>GD7FAB7D8AD?F:7&3D=7F;@97>;H7D34>7EI;>>@AF
    47677?763?3F7D;3>A4>;93F;A@8ADI:;5:F:7(D5:3D6?3K7J7D5;E7F:7;DD;9:FFAF7D?;@3F7F:7,7D? 
           A@8;67@F;3>;FK 35:B3DFK39D77EF:3F;FE:3>> 3@6;FE:3>>;@EFDG5F;@ID;F;@9;FE3FFAD@7KE 355AG@F3@FE3@6AF:7D
    BDA87EE;A@3> 36H;EADE FA  :A>6 ;@ 5A@8;67@57 3@6 @AF 5A??G@;53F7  FD3@E?;F  BG4>;E:  6;EE7?;@3F7 AD AF:7DI;E7 6;E5>AE7
    3@KA8F:7F7D?E3@65A@6;F;A@EA8F:;E9D77?7@FAD3@K;@8AD?3F;A@D793D6;@9F:7AF:7DQE4GE;@7EE>73D@76;@F:75AGDE7
    A8673>;@9ADB7D8AD?3@57:7D7G@67D;@5>G6;@9 I;F:AGF>;?;F3F;A@ 3@K63F3BDAH;676FAKAG3@63@K5AB;7EA86A5G?7@FE
    KAG BDAH;67 FA (D5:3D6 5A>>75F;H7>K  OA@8;67@F;3> "@8AD?3F;A@P  /;F:AGF F:7 AF:7D B3DFKQE BD;AD ID;FF7@ 5A@E7@F  735:
    B3DFK39D77EF:3F;F?3K@AF6;E5>AE7 ADB7D?;FF:76;E5>AEGD73@KA@8;67@F;3>"@8AD?3F;A@ A@8;67@F;3>"@8AD?3F;A@6A7E
    @AF;@5>G67;@8AD?3F;A@I:;5:3;E97@7D3>>K3H3;>34>7FAF:7BG4>;5F:DAG9:@AIDA@98G>AD@79>;97@F35FADA?;EE;A@A@
    KAGDB3DF4KAG:3H7D757;H768DA?3F:;D6B3DFK8D77FA?3=7EG5:6;E5>AEGD7I;F:AGF4D735:A83@K>793>A4>;93F;A@ "@
    F:77H7@F7;F:7DB3DFK;ED7CG;D76FA6;E5>AE7A@8;67@F;3>"@8AD?3F;A@BGDEG3@FFA3@KEF3FGF7 D79G>3F;A@ AD67D EG4BA7@3
    AD6A5G?7@F6;E5AH7DKD7CG7EF EG5:B3DFKI;>>9;H7F:7AF:7DB3DFKBDA?BF'AF;57;@7@AG9:F;?7FA7@34>7EG5:B3DFKFA
    E77= 3 5AGDF AD67D >;?;F;@9 AD AF:7DI;E7 9AH7D@;@9 EG5: 6;E5>AEGD7  ,:7 8G>8;>>?7@F A8 4AF: B3DFKQE A4>;93F;A@E G@67D F:;E
    DF;5>7  3D7 ;@F79D3> FA F:7 EG557EE A8 735: AF:7DQE 4GE;@7EE 673>;@9E  3@6 39D77 F:3F 7;F:7D B3DFK ;E 7@F;F>76 FA E77=
    ;@<G@5F;H7D7>;78FA7@8AD57F:7? 
         +B75G>3F;H7 '3FGD7 A8 GE;@7EE (D5:3D6 ;E5D7F;A@  0AG 3@6 (D5:3D6 735: 35=@AI>7697 F:3F F:7 E3>7 3@6
    7JB>A;F3F;A@A8)DAB7DF;7E;E3:;9:>KEB75G>3F;H74GE;@7EE F:3F(D5:3D63@6KAG?3=7@A9G3D3@F773EFA3@K679D77A8
                                                                           
                                                                       
                           
     
                                       
                     Case 3:24-cv-01068-RAM      Document 1-6 Filed 02/14/24 Page 146 of 187
             
    E3>7EAD7JB>A;F3F;A@E 3@6F:3F(D5:3D6D7F3;@E34EA>GF76;E5D7F;A@AH7D;FEE3>7E3@67JB>A;F3F;A@BA>;5;7E (D5:3D6?3K
    675>;@7AD573E76;EFD;4GF;A@AD?A@7F;L3F;A@A83@KAD3>>)DAB7DF;7EG@67DF:;E9D77?7@FI;F:AGF8GDF:7D>;34;>;FKFAKAG 
    I:7F:7D7@F;D7>KADH;33B3DF;5G>3D(GF>7FAD5AG@FDK ,AF:77JF7@FF:3F(D5:3D6675>;@7EFA6;EFD;4GF73@K)DAB7DFK;@;FE
    7@F;D7FKAD675>;@7EFA6;EFD;4GF757DF3;@B:KE;53>*75AD6E;@3B3DF;5G>3D5AG@FDK KAG?3KBDAH;67'AF;57A8KAGD;@F7@F
    FAI;F:6D3IEG5:)DAB7DFK8DA?F:;E9D77?7@FADFA6;EFD;4GF7EG5:*75AD6E;@EG5:5AG@FDK 3@6(D5:3D6I;>>:3H7F7@
     4GE;@7EE63KE;@I:;5:FAD75A@E;67D;FE675;E;A@ I:7D7GBA@;8(D5:3D67>75FEFA@AF6;EFD;4GF73@KEG5:)DAB7DFKAD
    @AF6;EFD;4GF7EG5:*75AD6E;@EG5:5AG@FDK F:7D;9:FFA6AEAI;>>D7H7DFFAKAG 
          "@F7DBD7F3F;A@3@6@8AD57?7@F ,:;E9D77?7@F5A@F3;@EF:77@F;D7G@67DEF3@6;@947FI77@KAG3@6(D5:3D63E
    FAF:7?3FF7DE:7D7;@ 3@6EGB7DE767E3>>BD;AD39D77?7@FE3EFAEG5:?3FF7DE ,:;E9D77?7@F53@A@>K473?7@6764K
    3@ ;@EFDG?7@F E;9@76 4K 4AF: B3DF;7E   I3;H7D A8 3@K F7D? AD 5A@6;F;A@ A8 F:;E 9D77?7@F ;@ 3@K ;@EF3@57 ;E @AF 3
    BDAEB75F;H7 I3;H7D A8 EG5: F7D? AD 5A@6;F;A@  @AD A8 3@K EG4E7CG7@F 4D735:  >> D7?76;7E  D;9:FE 3@6 A4>;93F;A@E ;@ F:;E
    9D77?7@F3D75G?G>3F;H7 3@66A@AF>;?;F3@KAF:7DD7?76K D;9:FADA4>;93F;A@ EGE76;@F:;E9D77?7@F O;@5>G6;@9P
    E;9@;8;7EA@7AD?AD7;>>GEFD3F;H77J3?B>7E @AF3@7J5>GE;H7>;EF -@>7EEAF:7DI;E7EB75;8;76 OADP;EGE76;@;FE;@5>GE;H7
    E7@E7 ,AF:77JF7@FA83@K5A@8>;5F47FI77@F:7?3;@4A6KA8F:;E9D77?7@F3@63@KA8F:7+5:76G>7E F:7+5:76G>7E
    9AH7D@  ,:7 BDAH;E;A@E A8 F:;E 9D77?7@F 3D7 E7H7D34>7 3@6 6;EF;@5F 8DA? A@7 3@AF:7D ;8 3@K BDAH;E;A@ ;E AD 475A?7E
    ;@H3>;6 ;>>793>ADG@7@8AD5734>7 F:7H3>;6;FK >793>;FKAD7@8AD5734;>;FKA8F:7AF:7DEI;>>@AF4738875F76 "87;F:7DB3DFK;E;@
    4D735: A8 F:;E 9D77?7@F  ;@5>G6;@9 3@K 83;>GD7 FA B7D8AD? F:7 &3D=7F;@9 7>;H7D34>7E  F:7 AF:7D B3DFK I;>> B7D?;F 3
    D73EA@34>7F;?7FA5GD7EG5:4D735:38F7DD757;BFA8'AF;57F:7D7A8I;F:;F47;@939D776F:3F3D73EA@34>7F;?7I;>>?73@
    3F>73EFF:;DFK 63KE18;8F77@63KEI;F:D7EB75FFA3@K83;>GD7FAB7D8AD?F:7&3D=7F;@97>;H7D34>7E2 ,AF:77JF7@F
    F:3F3B3DFK;E3FF7?BF;@9;@9AA683;F:FA5A?B>KI;F:F:;E9D77?7@FA@3BDA?BF43E;E 5GD7E4D735:7EI;F:;@3D73EA@34>7
    F;?738F7D'AF;57F:7D7A8 3@66A7E@AF5A??;FB7DE;EF7@F4D735:7EA83@KB3DF;5G>3DEADF F:7AF:7DB3DFKI;>>5A@F;@G7FA
    IAD= I;F: EG5: B3DFK ;@ 9AA6 83;F: FA D7?76K 3@K 3BB>;534>7 5A@57D@E  ;@ >;7G A8 ;@;F;3F;@9 >;F;93F;A@ D7>3F76 F:7D7FA  ,:7
    9D77?7@F;E9AH7D@764K'7I0AD=>3I ,:7B3DF;7E9D3@FF:78767D3>3@6EF3F75AGDFEA8'7I0AD= '7I0AD=AG@FK 
    7J5>GE;H7 <GD;E6;5F;A@ FA :73D 3@K 6;EBGF7E 3D;E;@9 AGF A8 AD D7>3F;@9 FA F:;E 9D77?7@F  35: B3DFK I3;H7E F:7 D;9:F FA
    D7CG7EF3FD;3>4K<GDK 
           *7>3F;A@E:;B A8 F:7 )3DF;7E  E FA 735: AF:7D  KAG 3@6 (D5:3D6 3D7 ;@67B7@67@F 5A@FD35FADE  'AF:;@9 ;@ F:;E
    9D77?7@F 3GF:AD;L7E 3@K B3DFK 3E 397@F A8 F:7 AF:7D  @AD 7EF34>;E:7E 3 B3DF@7DE:;B AD 8;6G5;3DK D7>3F;A@E:;B  /;F:AGF
    >;?;F;@9 (D5:3D6QE B3K?7@F A4>;93F;A@E FA KAG  KAG :3H7 @A D;9:F  F;F>7 AD ;@F7D7EF ;@ AD FA D7H7@G7E D757;H76 4K (D5:3D6 
    55AD6;@9>K  (D5:3D6 ;E @AF A4>;93F76 FA E79D793F7 3@K EG5: D7H7@G7E 8DA? AF:7D 8G@6E  3@6 (D5:3D6 ;E @AF 3 FDGEF77 
    B>7697:A>67DAD8;6G5;3DKA83?AG@FEAI76FAKAG (D5:3D635FE3EBD;@5;B3>;@3>>FD3@E35F;A@EI;F:;FE5GEFA?7DE 
          EE;9@?7@F (D5:3D6?3K3EE;9@;FED;9:FEG@67DF:;E9D77?7@F;@I:A>7FA3B3DFKI:A39D77EFA47A4>;93F76
    :7D7G@67D 0AG ?3K @AF 3EE;9@ F:;E 9D77?7@F AD 3@K D;9:FE AD A4>;93F;A@E  ;@ I:A>7 AD ;@ B3DF  I;F:AGF (D5:3D6QE BD;AD
    ID;FF7@ 5A@E7@F  7J57BF F:3F 3 KAG ?3K 3EE;9@ F:;E 9D77?7@F ;@ 8G>> FA 3@ 388;>;3F7 8AD BGDBAE7E A8 5ADBAD3F7
    :AGE7=77B;@9  FA F:7 7JF7@F KAG D7?3;@ E75A@63D;>K >;34>7 8AD KAGD A4>;93F;A@E :7D7G@67D  3@6 4 KAG ?3K 3EE;9@ F:;E
    9D77?7@F;@8G>>FA3@KF:;D6 B3DFK 3D?E >7@9F:BGD5:3E7DA83>>3BB>;534>7*75AD6;@9E BDAH;676;EG5:BGD5:3E7D;E@AF
    3 ?3<AD >347> AD 6;D75F 5A?B7F;FAD A8 (D5:3D6  ;; KAG D7?3;@ E75A@63D;>K >;34>7 8AD KAGD 67>;H7DK 3@6 ;@67?@;8;53F;A@
    A4>;93F;A@E :7D7G@67D  3@6 ;;; 3>> D;9:FE 9D3@F76 :7D7G@67D FA (D5:3D6 D7?3;@ H3>;6 8AD F:7 6GD3F;A@ A8 735: 3BB>;534>7
    JB>A;F3F;A@)7D;A6 @KBGDBADF763EE;9@?7@F;@H;A>3F;A@A8F:;EB3D39D3B:;E@G>>3@6HA;634;@;F;A 
          AD57&3<7GD7 "83B3DFK;E?3F7D;3>>K:3?B7D76;@F:78G>8;>>?7@FA8;FEA4>;93F;A@E6G7FA3@7H7@F@AFD73EA@34>K
    I;F:;@;FE5A@FDA>7 9 8>AA6 I3F7D63?397 BAI7D83;>GD7 53F3EFDAB:7 F7DDAD;E? EFD;=7 I3D 83;>GD7A8F75:@;53>835;>;F;7E 
    7F5 F:7O!;@67D76)3DFKP F:7!;@67D76)3DFKI;>>@AF47;@4D735:3E3D7EG>FA8EG5:7H7@F3@6?3K A@'AF;57FAF:7
    AF:7DB3DFK EGEB7@6F:7,7D?8ADF:76GD3F;A@A8EG5:7H7@F4GF;8F:7!;@67D76)3DFK;EF:7(D5:3D6 F:7@F:7(D5:3D6
    ?GEF5A@F;@G7FA8G>8;>>;FEB3K?7@FA4>;93F;A@E FAF:77JF7@F@AF38875F764KEG5:7H7@F 
      )AEF ,7D?)DAH;E;A@E +75F;A@ 3@6DF;5>7A8F:;E9D77?7@F 3EI7>>3E3@K3BB>;534>7BDAH;E;A@EA8F:;E
    +5:76G>73@6A8+5:76G>7E3@6  EGDH;H7F:77@6A8F:7,7D? 8F7DF:7,7D? ;8(D5:3D6D757;H7E3@K;@5A?78DA?
    (GF>7FE A@ )DAB7DF;7E  (D5:3D6QE EA>7 >;34;>;FK FA KAG I;>> 47 F:7 A4>;93F;A@ FA B3K F:DAG9: FA KAG ;@ 8G>> 3E F:AG9: F:7
    9D77?7@F I7D7 EF;>> ;@ B>357  3@6 FA E7@6 D7@7I76 F3=7 6AI@ @AF;57E I:7@7H7D D7CG7EF76 3@6 3BBDABD;3F7  "8 8AD 3@K
    D73EA@ F:7 9D77?7@F F7D?;@3F7E BD;AD FA 8G>> D75AGB?7@F  KAG ?GEF D7B3K 3@K G@D75AGB76 43>3@57 BDAH;676 :AI7H7D 
    F:3F3@K'AF;57E7@F4K(D5:3D6;@5A@@75F;A@I;F:3@K35F;A@AD;@35F;A@4KF:7DF;EFADF:7DF;EFA?B3@KF:3F5AG>6
    D7EG>F;@(D5:3D6F7D?;@3F;@9F:79D77?7@FADF:7,7D?A8F:79D77?7@FBD;ADFA8G>>D75AGB?7@F3@67J7D5;E;@9F:7;D
    D;9:FE;@F:;EDF;5>7 ?GEFEB75;8;53>>KD787D7@57F:;EDF;5>7 3@6F:7(D5:3D6QE34;>;FKFAF7D?;@3F7F:79D77?7@F
    3@6F:7DF;EFA?B3@KQEA4>;93F;A@FAD7B3KF:7G@D75AGB7643>3@57;@EG5:3@7H7@F 'AFI;F:EF3@6;@9F:78AD79A;@9AD
    3@KF:;@9;@F:79D77?7@FFAF:75A@FD3DK F:7(D5:3D6?3K@AFF7D?;@3F7F:;E9D77?7@F8AD5A@H7@;7@57 ADBGDBAE7E
    A85>3D;FK 7J57BF3EAF:7DI;E77JBD7EE>KE7F8ADF::7D7;@ @AF:;@9;@F:78AD79A;@9E7@F7@57AD7>E7I:7D7;@F:79D77?7@F
    >;?;FEKAGDD;9:FFAE77=63?397E8DA?(D5:3D6I;F:D7EB75FFA3@K4D735:4K(D5:3D6:7D7G@67D I:7F:7D?3F7D;3>AD@AF 
    3@6I:7F:7DAD@AFKAG7>75FFAF7D?;@3F7F:;E9D77?7@F 
      GDF:7D EEGD3@57E  0AG I;>> 6A EG5: 35FE 3@6 7J75GF7 EG5: 6A5G?7@FE 3E (D5:3D6 ?3K D73EA@34>K D7CG;D7 FA
    7@EGD7(D5:3D6F:78G>>47@78;FA8F:;E9D77?7@F ;@5>G6;@9BDA?BF>K3@65A@F;@GAGE>KD79;EF7D;@93>>*75AD6;@9EI;F:F:7
    - +  ABKD;9:F (88;57  "@ B3DF;5G>3D  KAG I;>> BDA?BF>K BDAH;67 5AB;7E A8 3>> 6A5G?7@FE @757EE3DK FA 7H;67@57 KAGD D;9:F
    3@6F;F>7;@3@6FA3@KB3DF;5G>3D)DAB7DF;7E "@F:77H7@FF:3FKAG83;>FABDAH;67AD7J75GF73@KEG5:6A5G?7@FED7>3F76FA
    F:7 A>>3F7D3> I;F:;@ 8;H7  4GE;@7EE 63KE 38F7D (D5:3D6QE ID;FF7@ D7CG7EF 7?3;> E:3>> EG88;57  KAG :7D74K ;DD7HA534>K
    3GF:AD;L7 7?BAI7D 3@63BBA;@F(D5:3D6KAGDFDG73@6>3I8G>3FFAD@7K ;@ 835FI;F:BAI7DA8EG4EF;FGF;A@3@667>793F;A@ 
    ;@KAGD@3?7 3@6;@KAGDB>3573@6EF736 AD;@(D5:3D6QE@3?7 FA?3=7 E;9@ 7J75GF7 35=@AI>7697 3@667>;H7D3@K
    3@63>>EG5:;@EFDG?7@FEAD6A5G?7@FE "@F:77H7@F(D5:3D67J7D5;E7EF:78AD79A;@9BAI7DA83FFAD@7K F:7@F:7(D5:3D6


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    I;>> BDAH;67 KAG 5AB;7E A8 3@K EG5: ;@EFDG?7@FE AD 6A5G?7@FE I;F:;@ 8;H7  4GE;@7EE 38F7D KAGD ID;FF7@ D7CG7EF 7?3;>
    E:3>>EG88;57 
      J75GF;A@ ,:;E9D77?7@F?3K477J75GF76;@5AG@F7DB3DFE ;@5>G6;@9E;9@3FGD7EE7@F7>75FDA@;53>>K7 9  B68 
    735:A8I:;5:;E3@AD;9;@3>4GFI:;5:FA97F:7D5A@EF;FGF73E;@9>75A@FD35F ,:7B3DF;7EI3;H73@KD;9:FEF:7K?3K:3H7FA
    A4<75FFAEG5:FD73F?7@F 




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    ,:78A>>AI;@9F7D?E3BB>KFA):KE;53>;EFD;4GF;A@4K(D5:3D63@6;FE388;>;3F7E
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          *7>73E7+5:76G>7E 0AG3@6(D5:3D6I;>>?GFG3>>K67F7D?;@7F:7EG;F34;>;FKA8735:A8KAGDD7>73E7E8AD):KE;53>
    ;EFD;4GF;A@ A@3F7DD;FADK 4K F7DD;FADK 43E;E  +G4<75F FA (D5:3D6QE EF3@63D6 D7>73E7 E5:76G>7  67>;H7DK D7CG;D7?7@FE 3@6
    6736>;@7E  KAG ?3K EB75;8K F:7 D7>73E7 63F7E 8AD KAGD *75AD6E  0AG 3D7 D7EBA@E;4>7 8AD 3@K ;@5D7?7@F3> 5AEFE D7EG>F;@9
    8DA? ?;EE76 6736>;@7E A@ KAGD B3DF  ;@5>G6;@9 ;@ 5A@@75F;A@ I;F: F:7 53@57>>3F;A@ A8 5GEFA?7D AD67DE 6G7 FA EFA5=
    E:ADF397E 'AF7F:3FE3>7E;@57DF3;@D79;A@E7 9 &3@3GE;@D3L;>?3KD7CG;D7*75AD6EFA47?3@G835FGD76>A53>>K 
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          7>;H7DK A8 *75AD6E FA (D5:3D6QE /3D7:AGE7  J57BF FA F:7 7JF7@F AF:7DI;E7 39D776 H;3 DF;5>7  47>AI  KAG
    3D7 EA>7>K D7EBA@E;4>7 8AD EGBB>K;@9 *75AD6E FA (D5:3D6  "@ B3DF;5G>3D  KAG I;>> 7@EGD7 67>;H7DK FA (D5:3D6 EB75;8;76
    I3D7:AGE7E EG88;5;7@F EFA5=E A8 *75AD6E 8AD 6;EFD;4GF;A@ ;@ 735: 3BB>;534>7 5AG@FDK  8D7;9:F BD7B3;6 3@6 B35=3976 D736K
    8ADE:;B?7@F ,AF:77JF7@FKAG6A@AF7@EGD7EG5:EG88;5;7@FEFA5= KAGI;>>47D7EBA@E;4>78AD(D5:3D6QEEFA5=;@97JB7@E7E
    3@6D7 AD67D;@95AEFE ,:7;@;F;3>67>;H7DK?GEF3DD;H73F>73EF8;H7I77=EBD;ADFAEFD77F63F7 3@63>>67>;H7D;7E?GEF47
    ?367;@EF3@63D64AJ>AFCG3@F;F;7E 3@6;@355AD63@57I;F:(D5:3D6QEEF3@63D6E:;BB;@9 D757;H;@99G;67>;@7E 
                         
          )D;5;@9 0AG67F7D?;@7F:7BG4>;E:76I:A>7E3>7@AFD7F3;>BD;57EA8KAGD*75AD6E 
             3     )D;5;@9 ,;7DE  ,:7 E;?B>7EF ?7F:A6 A8 BD;57 E7>75F;A@ ;E 8AD KAG FA E7>75F 8DA? F:7 BD;5;@9 F;7DE 3H3;>34>7
    I;F:;@ (D5:3D6QE EKEF7?  (D5:3D6 :3E F3=7@ 5A@E;67D34>7 53D7 ;@ ?3F5:;@9 -@;F76 +F3F7E I:A>7E3>7 BD;57E FA FKB;53>
    5ADD7EBA@6;@9;@F7D@3F;A@3>BD;57E I:;5:3D7F:7@3GFA?3F;53>>KBDA?BF76GBA@E7>75F;A@A8KAGD-+I:A>7E3>7BD;57F;7D 
    (D5:3D6?3KGB63F7EG5:BD;5;@9F;7DE8DA?F;?7FAF;?7 AD3@K5AG@FD;7EADF7DD;FAD;7E@AF5AH7D764KF:7BD;5;@9F;7DE 
    (D5:3D6 I;>> 4K 6783G>F 3BB>K F:7 BDA?BF76 O+ -P 53F79ADK A8 BD;5;@9 I;F:;@ F:7 F;7D KAG E7>75F  "@ EA?7 ;@EF3@57E
    (D5:3D6?3KD75A??7@6>AI7DBG4>;E:76BD;5;@953F79AD;7E8ADB3DF;5G>3DF7DD;FAD;7E 4GFI;>>@AF3BB>KEG5:53F79AD;7EFA
    KAGD*75AD6EI;F:AGFKAGD5A@E7@F 
             4    GEFA?)D;5;@9 0AG?3K3>EAE7F3BG4>;E:76I:A>7E3>7BD;578ADA@7AD?AD75AG@FD;7EF:3F;E@AF3?A@9
    (D5:3D6QEBD;5;@9F;7DE F:AG9:;@EA?753E7EEG5:5GEFA?BD;5;@9?3K;@5GD366;F;A@3>5AEFE I:;5:(D5:3D6?3K5:3D97
    FAKAG "@366;F;A@ KAG35=@AI>7697F:3F67H;3F;A@E8DA?F:7(D5:3D6F;7DE?3KD7EG>F;@BD;5;@96;E5D7B3@5;7EF:3F5AG>6
    6;EDGBFE3>7EA8KAGD*75AD6E;@AF:7D5AG@FD;7E 
             5       +B75;3> 3F;@9 ;E5AG@FE  (D5:3D6 ?GEF A4F3;@ KAGD 5A@E7@F 3E FA 3@K OEB75;3> 63F;@9P ;@ F:7 -@;F76
    +F3F7E F:3F I;>> D7EG>F ;@ 3 67>3K76 B3K?7@F FA KAG 3EI7>>3E3@KEB75;3>BDA9D3?8D779AA6E 3@63@K6;E5AG@FA@-+
    E3>7E9D73F7DF:3@8;8F77@B7D57@F (F:7DI;E7 (D5:3D6?3K9D3@F6;E5AG@FE;@;FEEA>76;E5D7F;A@ "8KAG5A@E7@FFA
    3 EB75;3> E3>7E 6;E5AG@F A@ 3@K G@;FE A8 *75AD6E 8AD I:;5: KAG :3H7 3>D736K D757;H76 B3K?7@F  EG5: 6;E5AG@F I;>> 47
    5:3D976FAKAG;@F:7@7JF3BB>;534>7355AG@F;@9B7D;A6 
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              3     GFAGFE7>7F;A@E (@@A>7EEF:3@F:;DFK 63KEQ@AF;57 KAG?3K;F7?BAD3D;>KEGEB7@6*75AD6E3>7E
    A83B3DF;5G>3DF;F>73OGFAGFP AD;;B7D?3@7@F>K573E7*75AD6E3>7EA83B3DF;5G>3DF;F>73O7>7F76*75AD6P (D5:3D6
    I;>> D753>> 7>7F76 *75AD6E 8AD @;@7  ?A@F:E 8DA? F:7 8A>>AI;@9 O*753>> 'AF;8;53F;A@ 3F7P ; 7  7;F:7D #G@7  F: AD
    #3@G3DK   (D5:3D6I;>>A@>K47D7CG;D76FAD753>>7>7F76*75AD6EFIAF;?7E ; 7 A@AD34AGFF:73BB>;534>7*753>>
    'AF;8;53F;A@3F7E 
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             4    J57EE "@H7@FADK  DA? F;?7 FA F;?7  (D5:3D6 ?3K 67F7D?;@7 ;@ 355AD63@57 I;F: (D5:3D6QE EF3@63D6
    4GE;@7EEBD35F;57EF:73?AG@FA83@K7J57EE;@H7@FADK6GD;@9F:7,7D? 7J57EE;@H7@FADK;E97@7D3>>K5A@E;67D76?AD7
    F:3@3FI7>H7?A@F:EQEGBB>K ADE;J?A@F:EQEGBB>K;@3@3638AD735:5A@8;9GD3F;A@;@(D5:3D6QEBAEE7EE;A@ /;F:;@
    F:;DFK 63KE38F7D(D5:3D6@AF;8;7EKAGA8;FE67F7D?;@3F;A@ KAGI;>>D7?AH7EG5:7J57EE;@H7@FADK;@355AD63@57I;F:
    +75F;A@547>AI +FA5=EG??3D;7EI;>>47GB63F76?A@F:>KA@/AD=EF3F;A@ 
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            5    *7?AH3> 8DA? /3D7:AGE7  /;F:;@ FI7@FK A@7  63KE A8 (D5:3D6QE D7CG7EF KAG ?GEF D7?AH7 AD
    3GF:AD;L7(D5:3D6FAD7?AH7AD67EFDAK 3FKAGD7JB7@E7F:7EFA5=A8GFAGFE 7>7F76*75AD6EAD7J57EE;@H7@FADK8DA?
    (D5:3D6QEI3D7:AGE7E "8KAG6A@AF (D5:3D6:3EF:7D;9:FFAEFAD7AD67EFDAKEG5:EFA5=3@65:3D97KAGF:73BB>;534>7
    EFAD397ADE5D3BB;@95:3D97E47>AI (D5:3D6?3K ;@;FED73EA@34>76;E5D7F;A@ ?3D=3@K*75AD6ED7?AH768DA?(D5:3D6QE
    I3D7:AGE7E 3FKAGD7JB7@E7 EA3EFA6;EF;@9G;E:F:AE7*75AD6E8DA?*75AD6E6;EFD;4GF764K(D5:3D6 
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            6    +:D;@=397 *;E=A8%AEE (D5:3D6I;>>47D7EBA@E;4>78ADE:D;@=397F:3F7J5776EF:D77B7D57@FA83>>
    A8KAGD*75AD6EEFAD76;@(D5:3D6QEI3D7:AGE76GD;@9F:7,7D? GBFAFIA6A>>3DE      B7DG@;F3@6;@@A7H7@F?AD7
    F:3@F:735FG3>G@;F5AEFA8?3@G835FGD7 ;@5>G6;@9B35=39;@9 ,:78AD79A;@93EEG?BF;A@A8D;E=6A7E@AF3BB>KFA*75AD6E
    F:3FKAGI7D7A4>;93F76FAD7?AH78DA?(D5:3D6QEI3D7:AGE7EBD;ADFAF:763F7A8>AEE 
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         +:;B?7@FE 0AG35=@AI>7697F:3FG@;F@G?47DEA8E:;B?7@FE?3KH3DKEA?7I:3F8DA?5GEFA?7DAD67DCG3@F;FK 
    43E76 3?A@9AF:7DF:;@9E A@3H3;>34>7;@H7@FADK 
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         ,;F>7 ,;F>7FA3>>G@;FEA8*75AD6ED7?3;@EI;F:KAG A@5A@E;9@?7@F G@F;>EA>64K(D5:3D6 (D5:3D6 3E5A@E;9@77 
    F3=7EBAEE7EE;A@3@65A@FDA>AH7DF:7G@;FE3FF;?7A867>;H7DKFA(D5:3D6 4GFA@>KF3=7EF;F>7?A?7@F3D;>K3FF:7F;?7A8
    E3>7FA5GEFA?7DE -BA@D757;BFA8G@;FED7FGD@76FA(D5:3D6 F;F>7D7H7DFEFA(D5:3D6?A?7@F3D;>K 3@6F:7@;??76;3F7>K
    435=FAKAG "@3>>7H7@FE (D5:3D635FE3EBD;@5;B3>;@?3=;@9E3>7E3@63557BF;@9D7FGD@E 
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        +3>7E)3DF@7D,7D?E *75AD6E6;EFD;4GF763@6EA>64K+3>7E)3DF@7DE3EEG5:F7D?;E678;@76;@DF;5>7A8F:7
    ?3;@ 4A6K A8 F:;E 9D77?7@F I;>> 47 EG4<75F FA F:7 EF3@63D6 F7D?E 3@6 5A@6;F;A@E 3E I7>> 3E 3BB>;534>7 I3D7:AGE7
    5:3D97EA8EG5:+3>7E)3DF@7DE3E?3K47H3D;768DA?F;?7FAF;?7 
                         
         *7FGD@E (D5:3D6I;>>5:3D97KAGF:7BD;57B3;6AD5D76;F764K(D5:3D6FAF:75GEFA?7DD7FGD@;@93*75AD6 B>GE
    3@K3BB>;534>7I3D7:AGE75:3D97E *75AD6ED7FGD@76FA(D5:3D6?3K47E5D3BB76ADD78GD4;E:763E(D5:3D67>75FE 
    ;@355AD63@57I;F:(D5:3D6QEEF3@63D6BA>;5K (D5:3D6?3K7>75FFA3557BFD7FGD@EA83@K*75AD6E6;EFD;4GF764K
    A?B3@KQEBD;AD6;EFD;4GFAD F:AG9:97@7D3>>K@AF8AD?AD7F:3@F:78;DEFE;J?A@F:EA8F:7,7D? "@355AG@F;@98AD
    D7FGD@EA8EG5:@A@ (D5:3D6*75AD6E 3@K3?AG@FE5D76;F76ADB3;64K(D5:3D68ADEG5:D7FGD@EI;>>D76G57 DAEE+3>7E 
    3@6(D5:3D6I;>>@AF47A4>;93F76FA5D76;FKAG435=8AD3@KBD7H;AGE>K D7F3;@766;EFD;4GF;A@877 
                         
           *7E7DH7E  (D5:3D6 ?3K 7EF34>;E: ?A@F:>K D7E7DH7E 393;@EF *75AD6 D7FGD@E 3@6 5D76;FE  FA 47 676G5F76 8DA?
    B3K?7@FEFAKAG @AFFA7J5776FI7@FK 8;H7B7D57@FA8'7F+3>7E8ADF:7?A@F: (D5:3D6?3K?3;@F3;@735:D7E7DH7
    8AD GB FA E;J  ?A@F:E  3@6 F:7D738F7D >;CG;63F7 F:7 D7E7DH7 3E ;@;F;3>>K 7EF34>;E:76  >7EE 3@K 5D76;FE ;EEG76  7J57BF 3E
    AF:7DI;E7E7F8ADF:;@DF;5>7 47>AI "8 ;@(D5:3D6QE9AA683;F:4GE;@7EE<G69?7@F43E76A@35FG3>D7FGD@E7JB7D;7@57 
    AD +AG@6+53@  7J;EF;@9 D7E7DH7E 3D7 @AF EG88;5;7@F FA A88E7F 3@F;5;B3F76 D7FGD@E  (D5:3D6 ?3K D73EA@34>K ;@5D73E7 F:7
    3?AG@FA8;FED7E7DH7E3@6F:76GD3F;A@A8>;CG;63F;A@B7D;A6E;@355AD63@57I;F:EG5:3EE7EE?7@F                         
                         
          )AEF ,7D?*7FGD@E -BA@3@K7JB;D3F;A@ADF7D?;@3F;A@A8F:7,7D? (D5:3D6?3K4GF;E@AFA4>;93F76FA3557BF
    D7FGD@E A8 *75AD6E EA>7>K 6GD;@9 F:7 )AEF ,7D? *7FGD@E )7D;A6  3E 678;@76 47>AI  38F7D I:;5: KAG 3EEG?7 EA>7
    D7EBA@E;4;>;FK8ADEG5:D7FGD@E (D5:3D6I;>>:3@6>7BAEF ,7D?D7FGD@E3E;@DF;5>734AH7 7J57BFF:3F(D5:3D6D7F3;@E
    F:7D;9:FFAEGEB7@6F:7>;CG;63F;A@A8AGFEF3@6;@9D7E7DH7E3@63BB>KEG5:D7E7DH7E393;@EF5D76;FE;EEG76 8F7DF:77@6
    A8F:7?A@F:8A>>AI;@9F:7)AEF ,7D?*7FGD@E)7D;A6 (D5:3D6I;>>D7@67DKAG38;@3>EF3F7?7@F /;F:;@F:7-@;F76+F3F7E 
    O)AEF ,7D?*7FGD@E)7D;A6P?73@E 63KEAGFE;67F:7-@;F76+F3F7E F:7F7D?D787DEFAF:7>A53>5GEFA?3DKBAEF D7FGD@E
    B7D;A6 ;8>A@97D AD7J3?B>7 F:7>A53>5GEFA?3DKBAEF D7FGD@EB7D;A68AD 7D?3@K;EA@7K73D 
                         
         ;EBAE;F;A@A8"@H7@FADK /;F:;@A@7:G@6D767;9:FK 63KE38F7DF:7,7D? KAGI;>>9;H7(D5:3D6;@EFDG5F;A@E
    5A@57D@;@9F:767>;H7DKFAKAGADKAGD67E;9@77A83>>*75AD6E3@63DFIAD=F:7@;@(D5:3D6QEI3D7:AGE7E +G5:67>;H7DK
    I;>>473FKAGD7JB7@E73@6EG4<75FFAF:7B3K?7@FA83>>AGFEF3@6;@9674FEFA(D5:3D6 4E7@FEG5:;@EFDG5F;A@ (D5:3D6
    ?3KE5D3BEG5:;@H7@FADK 3FKAGD7JB7@E7 
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             3D>K,7D?;@3F;A@ "8F:79D77?7@F;EF7D?;@3F76BD;ADFA;FE@3FGD3>7JB;D3F;A@ (D5:3D6?3KD7CG;D7KAGFAD7?AH7
    3>> *75AD6E 8DA? ;FE I3D7:AGE7E BDA?BF>K G@67D F:7 BDA576GD7E E7F AGF ;@ DF;5>7  34AH7  FA 3EEG?7 ;??76;3F7
    D7EBA@E;4;>;FK8ADD7FGD@E 3@6FAD7BGD5:3E78DA?(D5:3D63@K*75AD6E@AF5AH7D764KD7E7DH7E >>G@E:;BB76AD67DE?3K
    4753@57>76I;F:AGF>;34;>;FK 7J57BFF:3FKAGD7?3;@>;34>78ADF:75AEFA83@K?3@G835FGD;@9F:7@;@BDA57EE (D5:3D6?3K 
    ;8 ;F EA 7>75FE  ;??76;3F7>K 573E7 6;EFD;4GF;@9 F:7 *75AD6E  D7?AH7 8DA? ;FE 36H7DF;E;@9 3@K D787D7@57 FA F:7 *75AD6E AD
    (D5:3D6QE6;EFD;4GFADE:;B 3@6E7@63D753>>@AF;578ADF:7*75AD6E 
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         A AB 6H7DF;E;@9  -BA@ KAGD D7CG7EF  (D5:3D6 ?3K 39D77 FA 4AA= 5A AB 3@6 AF:7D 36H7DF;E;@9 A@ KAGD 47:3>8 
    AEFE?3K475:3D976FAKAG3FF:7F;?7F:736H7DF;E;@9;E4AA=76 0AGD3BBDAH3>A85A AB36H7DF;E7?7@F5:3D97 435=E
    I;>>5A@EF;FGF73557BF3@57A8(D5:3D6QE97@7D3>BA>;5;7E8ADEG5:E7DH;57E 
                         
       &3@G835FGD;@9 -BA@KAGDD7CG7EF3@6;@(D5:3D6QE6;E5D7F;A@D7HA534>7A@F:;DFK 63KEQ@AF;57FAKAG 
    (D5:3D6?3K39D77FABDAH;67?3@G835FGD;@9 B35=39;@9 ;@H7@FADK?3@397?7@F3@6BDA6G5F;A@5A@FDA>E7DH;57E
                         
            3    (D5:3D6I;>>5:3D97KAG?3@G835FGD;@95AEFE ;@5>G6;@95AEFED7>3F;@9FABD7 BDA6G5F;A@17 9 BD7 BD7EE 
    BDAA8E ?3F5:BD;@FE2 BDA6G5F;A@17 9 6;E55:75=E2 3@68D7;9:FA@3OB3EEF:DAG9:P43E;EB>GEF7@B7D57@F  "@F:7
    7H7@FF:3F(D5:3D639D77EFA?3@G835FGD7*75AD6EF:3F(D5:3D6I;>>@AF476;EFD;4GF;@9 (D5:3D6?3KD7CG;D7BD7 B3K?7@F 
                         
           4    0AG3@6(D5:3D6?GFG3>>K67F7D?;@7 F;F>7 4K F;F>73@65A@8;9GD3F;A@ 4K 5A@8;9GD3F;A@ F:7CG3@F;F;7EFA47
    ?3@G835FGD76 !AI7H7D KAGD83;>GD7FAD7EBA@6FA(D5:3D6QEAD67DADD7 AD67DD7CG7EFI;F:;@8;H74GE;@7EE63KEI;>>
    47677?76KAGD3BBDAH3> 5FG3>CG3@F;F;7E?3@G835FGD76?3K47EG4<75FFA?;@ADH3D;3F;A@E 
                         
            5     ADBDA6G5F?3@G835FGD76AD6;EFD;4GF76;@F:7-@;F76+F3F7E KAGI;>>7@EGD7F:3F3>>D7>7H3@F3DFIAD=3@6
    9D3B:;5E8AD<35=7F5AH7DE D73D FD3K53D6E 3@66;E59D3B:;5E;@5>G67F:7>3@9G397O&3@G835FGD764K(D5:3D6@F7DBD;E7E
    '0 "@5 3EFF:+FD77F '7I0AD= '0       P3@6O;EFD;4GF76;@F:7-@;F76+F3F7E4K(D5:3D6@F7DBD;E7E'0 "@5 P
                         
             6    ,A F:7 7JF7@F F:3F (D5:3D6 39D77E FA ?3@G835FGD7 *75AD6E A@ KAGD 47:3>8  (D5:3D6 I;>> 47 7@F;F>76 4GF
    G@>7EE AF:7DI;E7 39D776 ;E @AF D7CG;D76 FA I;F::A>6   A8 F:7 3BB>;534>7 ?75:3@;53> >;57@E7 877E  3@6 FA 3FF7?BF FA
    A4F3;@ 3@6 36?;@;EF7D F:7 3BB>;534>7 ?75:3@;53> >;57@E7E  -@>7EE AF:7DI;E7 39D776 :AI7H7D  F:7 BD;?3DK >;34;>;FK 8AD
    A4F3;@;@93@636?;@;EF7D;@9EG5: >;57@E7ED7?3;@EI;F:KAG ,AF:77JF7@FF:3F(D5:3D66A7E39D77FA3FF7?BFFAA4F3;@
    3@6 36?;@;EF7D EG5: >;57@E7E ;@ B3DF;5G>3D F7DD;FAD;7E  EG5: A4>;93F;A@E I;>> 47 5A@F;@97@F A@ KAG BDAH;6;@9 FA (D5:3D6 3>>
    @757EE3DK 3@6 5ADD75F BG4>;E:;@9 ;@8AD?3F;A@  )>73E7 @AF7 F:3F EG5: E7DH;57E 3D7 @AF 3H3;>34>7 ;@ 3>> F7DD;FAD;7E  3@6 3D7
    5GDD7@F>K@AF3H3;>34>7;@'ADF:?7D;53 
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                    Case 3:24-cv-01068-RAM      Document 1-6 Filed 02/14/24 Page 150 of 187
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                 +7DH;57                                                          )D;57)7D-@;F
                 &;@;?G?;EFD;4GF;A@77                                          
                 *7FGD@E:3@6>;@9                                                  ,IAB7D57@FA8I:A>7E3>7?;@;?G?  
                 )DA6G5FEF;5=7D;@9                                             
                     %347>EGBB>;76A@AGFE;67A8E:D;@=ID3B                       
                     )D;@F 3BB>KG@67D@73F:E:D;@=ID3B; 7 -)                   
                     5:3@97 EF;5=7D
                 783575GFAGFE                                                    
                 )DA6G5FD757;H76AGFE;67E:;BB;@9 D757;H;@9                      B7D;@5;67@FB>GE B7DG@;F;8E:;B?7@F
                 9G;67>;@7E?;EE;@9 ;@5ADD75F)( (% B35=E>;B                   D7CG;D7ED7EB3 D7EADF D74AJ D7B3>>7FBDA6G5F
                 EB3>347>E ;@5ADD75F53DFA@5AG@F ?;J76BDA6G5F                 D7IAD=366;F;A@3>
                 ;@H3>;6 ?;EE;@9-)E 7F5N
                 )DA6G5FE5D3BB;@9                                               
                     ;@;E:769AA6E;@H7@FADK                                      
                     *7FGD@76;@H7@FADK                                            
                 *78GD4;E:D7FGD@EE:D;@=ID3BA@>K                                  7E:D;@=3@6  D7E:D;@=
                 *7FGD@FA"@H7@FADK                                                
                 &3@G3>*78GD4;E:76#7I7>3E7                                      
                 (GF4AG@6AEF*75AH7DK:3D97                                       3@363A@>K
                 )DA6G5FE:;B?7@F8DA?;@H7@FADK3FDF;EF                          :3@6>;@9B>GE 8D7;9:F
                 A?B3@KQE6;D75F;A@FA67EF;@3F;A@AF:7DF:3@3@                  A?7EF;5  ?;@;?G?B7DE:;BFA366D7EE
                 (D5:3D6355AG@F                                                    :3@6>;@9B>GE  8D7;9:F
                                                                                    "@F7D@3F;A@3> ?;@B7DE:;BFA366D7EE
                                                                                    "&,!.&,$**& +'*&"&-*+
                                                                                      *" !,'+,'&$1,!!&$"& !* (($"+
                 G@;FEBGD5:3E764KDF;EFA?B3@K8ADE3>73F                 B7DE;@9>76;E5;8?3@G835FGD764K
                 3DF;EFB7D8AD?3@57H7@G7                                          (D5:3D6
                 J57EE"@H7@FADK:3D97                                           B7D?A@F:B7D7J57EEG@;F
                 ?3LA@&G>F; .;@K>);LL3AJ                                       B7DG@;F
                 66;F;A@3>:3D97435=E                                           )D;57
                 :3@97FA+FD77F3F738F7DBG4>;53F;A@                                B7DE7>75F;A@
                 7J5>G67EH;@K>
                 )DA6G5F+:;B?7@FA8435=AD67DED7EG>F;@98DA?                      B7DG@;FEF3@63D6E:;BB;@9 B7DG@;F
                 >3F767>;H7DKA8@7ID7>73E7;8BDA6G5FEGBB>;76                  63KE:;BB;@9 B7DG@;FAH7D@;9:F
                 4K>347>                                                        E:;BB;@9
                                                                                   
                 - + ):KE;53>*7>73E7+A>;5;F3F;A@E                                8AD38G>>K;@F7D35F;H7D7>73E7B397A@
                                                                                   D7>73E7E F:7AD5:3D6 5A?
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                 +7DH;57                                                     )D;57)7D-@;F
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                 +FA5=&AH7?7@F                                               M  )M   )%)
                 J57EE"@H7@FADK:3D97                                       M   )B7DB3>>7FB7DI77=
                                                                            $$,    -&",+*'++$$'*%,+
                                                                                   "*+, %'&,!+*
                 +5D3BB;@9 !3@6>;@9 ADD7;9:FA8J57EE"@H7@FADK              3F5AEFEFA5=?AH7?7@F8778D7;9:F

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                     Case 3:24-cv-01068-RAM      Document 1-6 Filed 02/14/24 Page 151 of 187
             
                 G@;FEBGD5:3E764KDF;EFA?B3@K8ADE3>7               ))EFA5=?AH7?7@F8778D7;9:F
                 3F3DF;EFB7D8AD?3@57H7@G7
                 *7FGD@E!3@6>;@9                                        
                     A@E;9@?7@F+FA5=*7FGD@                             M  )M   )%)
                     'A@ 5A@E;9@?7@F+FA5=*7FGD@                          M   )M   )%)
                 *78GD4;E:?7@F *7IAD=:3D97E
                     "@>3K +>77H7:3@9767J5>G6;@9?3F7D;3>E             M   )B7DE>77H7
                     3E7:3@976;@5>G6;@9?3F7D;3>E                    M  )B7DG@;F
                     ,D3K:3@97;@5>G6;@9?3F7D;3>E                   M  )FD3K
                     *7B>357+>;B3E7GE;@9EGBB>;76E>;B53E7       M   )B7DE>;B53E7
                     *7B>357+>77H7%)GE;@9EGBB>;76E>77H7            M  )B7DE>77H7
                     *7B>357;E5GE;@9EGBB>;766;E5                    M   )B7D6;E5
                     +:D;@=/D3B*7?AH76                              M  )B7DG@;F
                     +:D;@=/D3B*7?AH76%)                              M   )B7DG@;F
                     +:D;@=/D3B6676                               M  )B7DG@;F
                     +:D;@=/D3B6676%)                               M   )B7DG@;F
                     +F;5=7DBB>;53F;A@@A@ BD75;E;A@7J5> ?3F7D;3>E   M  )B7DEF;5=7D
                     3D5A67+F;5=7DD73F;A@                             M  )B7DEF;5=7D
                     "@E7DF6676>738>7F 6AI@>A3653D6 7F5             M  )B7DF:AGE3@6ADB3DFF:7D7A8 
                                                                       "&!* '3  
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             3BB>;534>7I3D7:AGE75:3D97E;@EG5:5AG@FD;7EI;>>473H3;>34>7A@D7CG7EF 
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             ;F7?E67EFDAK76 D7FGD@76 ADD78GD4;E:76I:7@BAEE;4>7 7EFDG5F;A@ :3@6>;@93@68D7;9:FI;>>475:3D9763F5AEF 
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                 •     F>73EFA@7B7DEA@3>3BB73D3@57E;@3-+3@6 AD)G7DFA*;5A>A53F;A@4KDF;EF8ADGBFAFIA:AGDE 
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                                                                                               Kobalt Music Services America, Inc.
                                                                                                     2 Gansevoort Street, 6th Floor
                                                                                                             New York, NY 10014
                                                                                                         United States of America
                                                                                                           Tel: +1 (212) 247-6204
                                                                                                            www.kobaltmusic.com



                                                                                                   Dated: July 27, 2022


             Real Hasta La Muerte LLC
             f/s/o Emmanuel Gazmey-Santiago p/k/a “Anuel AA”
             c/o Singh, Singh & Trauben, LLP
             400 South Beverly Drive
             Suite 240
             Beverly Hills, CA 90212
             ATTN: Simran Singh, Esq.

             Dear all,

             Reference is made to that certain administration agreement dated as of October 25, 2018 by and between
             Kobalt Music Services America, Inc. (“Kobalt”) and Real Hasta La Muerte LLC f/s/o Emmanuel Gazmey-
             Santiago p/k/a “Anuel AA” d/b/a Gazmey Music Publishing (ASCAP) (“you”), as the same may have been
             amended or modified (the “Agreement”). All terms not specifically defined herein shall have the same
             meaning ascribed to them in the Agreement.

             Notwithstanding anything to the contrary in the Agreement and for good and valuable consideration (the
             receipt and sufficiency of which is hereby acknowledged), the parties hereby agree, with effect from the
             date hereof, to amend the Agreement as follows:

                      1.       The Term shall be extended for a period of three (3) years from September 30, 2022 (i.e.,
                               until September 30, 2025) (such extended period being the “2022 Extension Period”). For
                               the avoidance of doubt, the remaining provisions of paragraph 2(i) of the Agreement shall
                               apply to the 2022 Extension Period.

                      2.       The parties hereby agree that paragraph 2(iv) of the Agreement shall be deleted in its
                               entirety and replaced with the following:

                               “The “Rights Period” shall mean the Term with an additional consecutive five (5) year
                               period. Administrator shall be granted the exclusive rights under this Agreement for the
                               Rights Period in respect of each Composition. For the avoidance of doubt, the Collection
                               Period shall follow the expiration of the Rights Period.”

                      3.       In consideration of your grant of rights herein Kobalt shall, during the Term, pay to you an
                               advance of up to Ten Million U.S. Dollars ($10,000,000) (the “2022 Advance”) which
                               amount is inclusive of a Twenty Nine Thousand Five Hundred U.S. Dollar ($29,500)
                               contribution towards the legal fees of your attorney, Simran Singh, Esq., which amount
                               shall be paid, solely as an accommodation to you, per your irrevocable instructions, directly
                               to Singh, Singh & Trauben, LLP. For the avoidance of doubt, neither Simran Singh, Esq.
                               nor Singh, Singh & Trauben, LLP will be deemed third party beneficiaries under the
                               Agreement nor will they be deemed to have acquired any rights whatsoever as against
                               Kobalt by virtue of the terms of this amendment. The 2022 Advance shall be fully
                               recoupable against all royalties, fees and other monies payable to you pursuant to the
                               Agreement. You give the following specific warranties with respect to the 2022 Advance:

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                               (a)       no less than an average of thirty five percent (35%) of each of the fourteen (14)
                                         compositions which appear on the next forthcoming in-studio full length artist
                                         album recorded and released by Anuel AA (the “Subject Album”) shall be
                                         Compositions under the Agreement;

                               (b)       the Subject Album shall be Fully Commercially Released (as defined below) by
                                         Orchard Enterprises NY, Inc. (“The Orchard”) throughout the United States of
                                         America prior to August 31, 2022;

                               (c)       Kobalt shall be able to collect, from inception, all royalties, fees and other monies
                                         (excluding only the so-called “writer’s share” of public performance income)
                                         arising in the Territory in connection with your share of the Compositions
                                         (including, without limitation, those Compositions embodied on the Subject
                                         Album); and

                               (d)       the gross mechanical royalty rate per unit in respect of the exploitation of your
                                         share of the Compositions in the United States of America and/or Canada shall be
                                         paid at not less than full statutory rate in each case.

                               For the purposes hereof, “Fully Commercially Released” means that the Subject Album:
                               (i) has been made available by The Orchard to the general public via the digital service
                               providers set out in Schedule A attached hereto (“Key DSPs”); and (ii) includes at least
                               one single that is actively promoted by The Orchard to terrestrial “pop” radio and Key DSP
                               playlists in the United States of America, with an accompanying professionally produced
                               music video which is promoted to customary outlets (e.g. VEVO).

                               The 2022 Advance shall be reduced on a pro-rata basis to the extent that any of the
                               warranties set out at paragraphs 3(a) and 3(d) are not accurate and by the amount that
                               Kobalt does not receive to the extent that the either of the warranties set out at paragraphs
                               3(b) and 3(c) are not accurate. You shall indemnify Kobalt against any resulting loss and
                               Kobalt shall have the right to reduce the 2022 Advance and, if necessary, to demand
                               repayment of (and/or offset from monies otherwise payable or creditable to you) such sums
                               as are appropriate in the circumstances (and upon such demand you shall make such
                               payment to Kobalt within twenty (20) business days).

                      4.       The 2022 Advance shall be payable during the Term and as follows:

                               (a)       Five Million Four Hundred Seventy Thousand Five Hundred U.S. Dollars
                                         ($5,470,500) (the “2022 Signing Advance”) shall be payable within fourteen (14)
                                         days of the date of full execution of this amendment (the “Execution Date”).

                               (b)       Twenty Nine Thousand Five Hundred U.S. Dollar ($29,500) U.S. Dollars (the
                                         “2022 Legal Advance”) solely as an accommodation to you shall be payable
                                         directly to the order of Singh, Singh & Trauben, LLP within fourteen (14) days of
                                         the later of:

                                         (I)      the Execution Date; and




             Kobalt – Anuel AA – 2022 Amendment—Final               2
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                                         (II)     Kobalt’s receipt of your attorney’s applicable invoice and your attorney’s
                                                  W9 form.

                               (c)       One Million Five Hundred Thousand U.S. Dollars ($1,500,000) (the “Subject
                                         Album Advance”) shall be payable within fourteen (14) days of the latest of:

                                         (I)      the date that is one (1) year following the Execution Date;

                                         (II)     Kobalt’s receipt of written confirmation that the warranties made in
                                                  paragraphs 3(a), 3(c) and 3(d) above with respect to the Subject Album are
                                                  accurate; and

                                         (III)    Kobalt’s receipt of confirmation from The Orchard that the Subject Album
                                                  has been Fully Commercially Released by The Orchard throughout the
                                                  United States of America (for the avoidance of doubt, the Subject Album
                                                  Advance shall not be paid in the event that this paragraph 4(b)(III) is not
                                                  met).

                                         Notwithstanding anything to the contrary contained in the foregoing, the Subject
                                         Album Advance will be reduced by the amount of any royalties, fees or other
                                         monies which relate to exploitation of those Compositions which appear on the
                                         Subject Album which have been paid out to you between the date of recoupment
                                         of the 2022 Signing Advance and the date on which the Subject Album Advance
                                         would otherwise become due in accordance with paragraph 4(b) above.

                               (d)       Three Million U.S. Dollars ($3,000,000) (the “2022 Recoupment Advance”) shall
                                         be payable within fourteen (14) days of the provision by Kobalt to you (if at all) of
                                         the first accounting statement which shows that the Advance (including, without
                                         limitation, the 2022 Signing Advance, 2022 Legal Advance and Subject Album
                                         Advance) has been seventy five percent (75%) recouped (the “Extension
                                         Qualifying Statement”), provided that such Extension Qualifying Statement is
                                         provided by Kobalt to you within the first twenty four (24) months of the 2022
                                         Extension Period. Notwithstanding the foregoing, Kobalt shall notify you of the
                                         qualification for the 2022 Recoupment Advance (if at all) and you shall have ten
                                         (10) days to provide Kobalt written notice to opt out of the payment of the 2022
                                         Recoupment Advance; provided that if you provide such “opt out” notice, the 2022
                                         Recoupment Advance shall be deemed waived and no longer payable.

                      5.       The 2022 Advance shall be treated as part of the Advance and shall be subject to all terms
                               contained in the Agreement which relate to the Advance, including, without limitation,
                               being fully recoupable from any and all royalties arising under the Agreement. For the
                               avoidance of doubt, (i) no payment of royalties shall be made to you until one hundred
                               percent (100%) of the Advance (including, without limitation, the 2022 Advance) has been
                               recouped by Kobalt out of royalties and other monies accruing to your royalty account
                               under the Agreement; and (ii) the “Qualifying Recoupment Date” shall mean the date of
                               commencement of the Accounting Period in which the accounting statement provided to
                               you in respect of the previous Accounting Period shows that the Advance (including,
                               without limitation, the 2022 Advance) has been recouped by you from royalties and fees
                               arising under the Agreement relating to the exploitation of the Compositions throughout
                               the Territory and not further or otherwise.


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                      6.       The rates in respect of royalties received by Kobalt after the Qualifying Recoupment Date
                               pursuant to Agreement (i.e., the so-called “post-recoupment rates”) shall be deleted from
                               the Agreement and replaced with the following: (A) eighty percent (80%) under paragraphs
                               5(iii)(a), 5(iii)(b)(I), 5(iii)(c) and 5(iii)(d)(I) of the Agreement (i.e., print, mechanical,
                               synchronization royalties and any other income); and (B) sixty percent (60%) under
                               paragraph 5(iii)(f) of the Agreement (i.e., performance royalties). In addition, effective as
                               of the Accounting Period commencing on July 1, 2022 (i.e., Q3 2022), the rates in respect
                               of synchronization royalties pursuant to paragraph 5(iii)(c) of the Agreement received by
                               Kobalt prior to the Qualifying Recoupment Date shall be seventy five percent (75%).

                      7.       The parties hereby agree that all references to “Cover Recordings” and “Co Written
                               Compositions” shall be deleted from the Agreement.

                      8.       You hereby request and authorize that Kobalt, per your revocable instructions and solely
                               as an accommodation to you, pay the Eli Override as directed and defined in Schedule B
                               attached hereto. For the avoidance of doubt, the override letter of direction to Singh, Singh
                               & Trauben, LLP set forth in Schedule Five of the Agreement shall apply to the 2022
                               Advance.

                      9.       Except as set forth herein, the Agreement is unmodified, and is hereby ratified and affirmed
                               in all respects. This amendment may be executed by pdf and the same shall be fully binding.
                               To the extent of any contradiction, ambiguity or conflict between the terms of this
                               amendment and the terms of the Agreement, the terms set out in this amendment will
                               prevail.


             Please sign and return this letter to confirm your agreement to this amendment of the Agreement.

             Yours sincerely,                                            Read and agreed,

             Kobalt Music Services America, Inc.                         Real Hasta La Muerte LLC
                                                                         f/s/o Emmanuel Gazmey-Santiago
                                                                         p/k/a “Anuel AA” d/b/a Gazmey
                                                                         Music Publishing (ASCAP)



             By:_________________________                                By: _________________________
             Name: James Arnay                                           Name:
             Title: Head of Business Affairs                             Title:


                                                                         _____________________________
                                                                         Emmanuel Gazmey-Santiago
                                                                         p/k/a “Anuel AA”, individually




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                                                                 Schedule A

                                                                 Key DSPs

                iTunes
                Apple Music
                Deezer
                Soundcloud
                Spotify
                YouTube
                YouTube Music
                YouTube Premium
                Amazon Music
                Amazon Prime
                Amazon Music Unlimited
                Pandora
                Tencent Music




             Kobalt – Anuel AA – 2022 Amendment—Final              5
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                                                                  Schedule B

                                                        Eli Override Letter Of Direction


                                                                                                  Real Hasta La Muerte LLC
                                                                          f/s/o Emmanuel Gazmey-Santiago p/k/a “Anuel AA”
                                                                                           c/o Singh, Singh & Trauben, LLP
                                                                                                    400 South Beverly Drive
                                                                                                                   Suite 240
                                                                                                    Beverly Hills, CA 90212
                                                                                                  ATTN: Simran Singh, Esq.

             Kobalt Music Services America, Inc.
             2 Gansevoort Street
             6th Floor
             New York, NY 10014
             Attn: Royalty Department

             Date: July 27, 2022

             1.       Reference is made to that certain administration agreement between Kobalt Music Services
                      America, Inc. (“you”) and Real Hasta La Muerte LLC f/s/o Emmanuel Gazmey-Santiago p/k/a
                      “Anuel AA” d/b/a Gazmey Music Publishing (ASCAP) (“me”) dated October 25, 2018, as
                      modified by that certain amendment dated as of the date hereof (the “2022 Amendment”)
                      (collectively, the “Kobalt Agreement”). Subject to the terms hereof, I hereby request and authorize
                      you to make payment of the Eli Override (as defined in clause 2 below) to Eli Entertainment LLC
                      (“Eli Entertainment”). All terms not specifically defined herein shall have the same meaning
                      ascribed to them in the Kobalt Agreement.

             2.       The “Eli Override” shall, unless otherwise advised in writing, mean ten percent (10%) of all
                      royalties, advances and other payments otherwise due and payable to me following the date hereof
                      pursuant to the Kobalt Agreement (for the avoidance of doubt, after the deduction of your
                      commission) from all sources (including, without limitation, ten percent (10%) of the 2022
                      Advance to the extent payable pursuant to the 2022 Amendment).

             3.       Payments to Eli Entertainment pursuant to this authorization shall be made at the same time and on
                      the same basis as payments are rendered to me (i.e., quarterly within sixty five (65) days). For the
                      avoidance of doubt, all such payments will be subject to any recoupment provisions of the Kobalt
                      Agreement and to your indemnity, withholding and related rights as set forth in the Kobalt
                      Agreement.

             4.       Your compliance with this authorization will constitute an accommodation to me alone. All
                      payments to Eli Entertainment under this authorization will constitute payment to me and you will
                      have no liability by reason of any erroneous payment or failure to comply with this authorization.
                      For the avoidance of doubt: (i) Eli Entertainment will not be deemed a third party beneficiary of
                      the Kobalt Agreement; (ii) Eli Entertainment will have no rights whatsoever as against you pursuant
                      to the Kobalt Agreement or otherwise; and (iii) without limiting the foregoing, this authorization
                      may be revoked by me upon written notice to you (and in such event, you will prospectively
                      implement such revocation as promptly as reasonably practicable, as determined by you in your
                      sole good faith business judgment). I will indemnify and hold you, and your affiliates, harmless

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                      from and against any loss, damage and/or expense (including attorney’s fees and costs) by reason
                      of any third party claim (including from Eli Entertainment) related to the subject matter of this
                      letter.

             5.       All monies becoming payable under this authorization will be remitted to Eli Entertainment by
                      electronic transfer into the account the details of which are set out below and will not, for the
                      avoidance of doubt, be accompanied by statements with respect to those payments.

                               Bank Name:           Chase Bank
                               Acct #:              321513589
                               Routing #:           267084131
                               Acct Name:           Eli Entertainment LLC

             6.       Eli Entertainment shall complete a “W9” tax form as set out in the attached Exhibit A hereto and
                      return the same to you at the time of execution of the Kobalt Agreement.

             Yours faithfully,

             Real Hasta La Muerte LLC
             f/s/o Emmanuel Gazmey-Santiago p/k/a “Anuel AA”
             d/b/a Gazmey Music Publishing (ASCAP)



             By:_________________________
             Name:
             Title:




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                                                                 Exhibit A

                                                                 W9 Form




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2019 Frabian Carrion Bank Withdrawals (No Reference)
Request Supporting Documentation / Reference for Accounting
